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           Association of Flight Attendants-CWA
                                AFL-CIO




                  Frontier Airlines
             Flight Attendant Contract


                           2011-2016


                                               FRONTIER AIRLINES (R. BRIGHAM) - 0000815

                                                                            ES 100000796-1
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                                               ME. 25
                                                  DiJOATION

          A.         This Agreement Will becornA:effective on the date of signing and will
                     continue in full fence andeffect until.March 1 2016.and,will reneWitseif
                     without change until eachsucceeding March 1 thereafter unleSswritten
                     notice of an intended .change,is served In accordance With Section -6,1'itie
                     L of the Railway 'Labor Act,lis amended; by eitherberty hereto-at teatt.50
                     days, but no morel-6án 2410ays,prlorto March .1, 2016 or any March       lof
                     any subsequent yeer.

          B.         Notwithstanding peragraph* above, during-the duration of this Agreement
                     shotild OnyrtierAlrliries, Inc.,èam morethan a 5% annual piqt34x profit, after
                     payment of profit sheringpaents,, deny; for any two consecutive years,
                     then the .Association .may -reopen this Agreement for the Iirnited purpose of
                     negotiatingoverretesol-Pey, with thegoal of achieving rtes consistent
                     with peer group (LCC),FlIght Attendants.

          C.         This Agreementshall be effective August:29,2011 and shall remain In full
                     force and effect as outilnedbytheteriniOf this Article.

                     IN WITNESS WH         F, the tigidersigned oartiee;rtaye sighed this
                     Agreement this         daràf October, 2011-

               FOR ASSOCIATION OF FLIGHT
                             -
               ATTENDANTS CWA, AFL-C10                       FOR FRONTIER AIRLINES, INC,




                                                             -LT   .          - .   -




                                                             Ron Henson
                                                             Vice President - Labor:Relations



                                                                  lyn Peter
                EC Pres                                      Sr. Manager of Labor Relations



               Darol Glasscock
               Negotiating Committee Member

               141
               Thera Owens
                      atingeommittee       mber


               Suzann Balzer
                                   /
               AF    A Negotiator




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                                            Memorandum of Understanding
                                                         between
                                     Association of Flight Attendants -CWA, AFL-CIO
                                                                    and
                                                        Frontier Airlines, Inc.

                                    SCHEDULING AMENDMENTS AND CORRECTIONS

      This agreement is made and entered into accordance with the provisions of the Railway Labor
      Act, as amended, by and between Frontier Airlines, Inc. ( "Company ") and the Flight Attendants in
      the service of Frontier Airlines, Inc., as represented by the Association of Flight Attendants -CWA
      (the "Association ").

      The parties agree to the following:

                 CBA Article 5.W.2.h of the collective -bargaining agreement is amended as follows:

                 k         --1#- Creva-   Sshedufiflgis -offa                                           re-he/sáe- departs
                            fef                                 eperts -fer-the- orig+nal-áeparture '



      II.            CBA Article 5.W.3.k.l.m of the collective- bargaining agreement will be amended to read:

                 k.         When a Flight Attendant's originating trip of the day is delayed and he /she is
                            notified prior to leaving for the airport. the trip report time will be modified by
                            Crew Scheduling and the duty day will reflect the new report time.

                 I.         If Crew Scheduling is unable to reach the Flight Attendant before he/she departs
                            for the airport and he /she reports for the original departure time. his /her duty day
                            begins at the originally scheduled report time.

                 m.         A Reroute will be considered an irregular operation if the crew has reported for
                            duty.

      FOR:                                                                     FOR:

      FRONTIER AIRLINES, INC.                                                  ASSOCIATION OF FLIGHT
                                                                               ATTENDANTS -CWA, AFL -CIO



      J
             I   fl n Ç
        calyn Peter
                                  Ç?
                                                                               Kat ie Weis'
      Director, Human Resources                                                MEC President
      and Labor Relations




      CC: Toni Higgins
          Jay Trumble




                                                                                          FRONTIER AIRLINES (R. BRIGHAM) - 0000831

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                                                Letter of Agreement
                                                      between
                                  Association of Flight Attendants -CWA, AFL -CIO
                                                          and
                                                 Frontier Airlines, Inc.

                                 SCHEDULING AMENDMENTS AND CORRECTIONS

      This agreement is made and entered into accordance with the provisions of the Railway Labor
      Act, as amended, by and between Frontier Airlines, Inc. ( "Company") and the Flight Attendants in
      the service of Frontier Airlines, Inc., as represented by the Association of Flight Attendants -CWA
      (the "Association ").

      The parties agree to the following:

                   Article 4.C.2 of the collective-bargaining agreement is amended as follows:


        Scheduled          Minimum Base             Reducible to             Minimum              Reducible to
          Duty                   Rest              (Irregular ops)         Layover Rest          (Irregular ops)
         14 hours or
             less               10 hours               9 hours               9 hours                8 hours*
          Over 14
             hours
                       12 hours **            10 hours"          12 hours"             10 hours`*
                       calendar day
                            1              24 hours every 7    1 calendar day       24 hours every 7
        All cases     every 7 days               days           every 7 days              days
      *Compensatory rest of 10 hours required to follow.
      "Can be scheduled as reduced rest provided compensatory rest of 14 hours is scheduled.


      II.          Article 4.B. of the collective- bargaining agreement is amended to read:

             11.           Provided that the duty period does not exceed sixteen (16) hours, a pairing may
                           include a deadhead or limo back to domicile on the last day of the pairing.

                           a.      Because the Flight Attendant(s) is no longer a required crew member,
                                   the rest requirements of 121.467 do not apply.

                           b.      The Flight Attendant(s) will not be required to be available for
                                   reassignment, junior assignment or any company duty other than the
                                   deadhead or limo back to domicile.

                           c.      If there are no seats available on the scheduled flight and the
                                   deadheading Flight Attendant does not want to occupy the iumpseat, the
                                   Company will provide a hotel room if a rest period is required prior to the
                                   next available flight.

                           d.      The Flight Attendant(s) will have a minimum rest period of twelve (2)
                                   upon return to domicile

      III.         Article 16.B.3. of the collective- bargaining agreement is amended to read:

                   d       Company-Paid Fliaht Pay Loss




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                     The Company will provide up to forty (40) hours of flight -pay loss per bid month
                     to the Association for the purpose of compensating members of the Association's
                     Scheduling Committee. The MEC President shall be responsible for directing the
                     Company how to apply such hours. The hours will only be used for bid pairing
                     and bid run purposes. The Company and Union will mutually agree on
                     participants.

      IV.    Section of this Sideletter of Agreement is a permanent change to the collective -
                     I


             bargaining agreement. Sections II and Ill will apply only for the first three bid periods
             after the Date of Signing of this Agreement (i.e., May, June and July 2012). The parties
             may choose to extend the duration by written agreement.

      FOR:                                                       FOR:

      FRONTIER AIRLINES, INC.                                    ASSOCIATION OF FLIGHT
                                                                 ATTENDANTS-WA, AFL -CIO

                             Dat._) -I     I   G.                                          Date:   5')'( ! o
        calyn Peter                                              K4t,ie eis
      Director, Human Resources                                  MEC President
      and Laoor Relations

                                                             i                C
                                                                 Kimberley Chapu
                                                                                           Date: (0   (!   ¡
                                                                 AFA S - f Negotiator


                                                                                           Date:   6 -2
                                                                 Veda M. Shook
                                                                 International President




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                                     LETTER OF AGREEMENT
                                                  Between
                               FRONTIER AIRLINES, INC.
                                          and the
                                 FLIGHT ATTENDANTS
                                     in the service of
                               FRONTIER AIRLINES, INC.
                                  As represented by the
                   ASSOCIATION OF FLIGHT ATTENDANTS -CAVA, AFL -CIO


               CONTINUOUS DUTY OVERNIGHT (CDO) and FERRY FLIGHTS

      This Letter of Agreement is made and entered into in accordance with the provisions of
      Title II of the Railway Labor Act, as amended, by and between Frontier Airlines, Inc.
      (the Company) and the Flight Attendants in the service of Frontier Airlines, Inc. as
      represented by the Association of Flight Attendants -CWA, AFL -CIO (the Union).

      The undersigned parties agree as follows:

      CONTINUOUS DUTY OVERNIGHT (CDO)

          1.   As is past practice at Frontier Airlines, Inc., a Continuous Duty Overnight (CDO)
               is an overnight with less than contractually required minimum rest and will
               continue to be paid and credited at 6 hours or actual flight time, whichever is
               greater.

          2.   CBA Article 2.17. shall be amended to read as follows:

               CDO (Continuous Duty Overnight/Standup) -A scheduled duty period that
               begins in one Calendar Day and ends in the following Calendar Day, which
               includes an overnight stay out of Domicile that is scheduled for less than
               contractually required minimum rest.

      FERRY FLIGHTS

          3. A Ferry Flight which positions an aircraft to another location and does not carry
             revenue passengers is considered a working segment and will receive full pay and
               credit.

      Entered into this   30 day of July, 2012.
      Frontier Airlines                              AFA -CWAf


      Ja alyn Peter                                  Ve a Shook




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  ,




       Director, Human Resources and   AFA -CWA International President




                                                               -
       Labor Relations


                                       Kathie \ eis
                                       MEC President



                                       Senior Staff Attorney




                                                       FRONTIER AIRLINES (R. BRIGHAM) - 0000835

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                                       ARTICLE 1
                                  RECOGNITION AND SCOPE

        A.       RECOGNITION

                 1.      In accordance with  certification (R -7238) made by the National
                         Mediation Board, the Company hereby recognizes the
                         ASSOCIATION OF FLIGHT ATTENDANTS -CUVA as the duly
                         designated and authorized representative of the Flight Attendants
                         in the employ of the Company for the purposes of the Railway
                         Labor Act, as amended.

                 2.      The Company recognizes the right of Flight Attendants on the
                         Frontier Flight Attendant System Seniority List to perform the
                         Company's flying on the Company's aircraft as specified in this
                         Agreement.

                 SCOPE

                 1.      This Agreement covers all revenue flying performed on Company
                         aircraft by Company Pilots.

                 2.      As used herein, the term "all revenue flying" will include, but not
                         be limited to, all flying over the Company's present or future
                         routes and extensions thereof, and any contract (government,
                         military or commercial) flying, charter flying and any "wet- lease"
                         flying performed by the Company

                 3.      All revenue flying covered by this Agreement will be performed by
                         Flight Attendants whose names appear on the Frontier Airlines,
                         Inc. Flight Attendant System Seniority Lists under the terms and
                         conditions of the Agreement.

        C.       SUCCESSOR

                 1.      The provisions of this Agreement will be binding upon any
                         Successor.

                 2.      The Company will require any successor, assign, assignee,
                         transferee, administrator, executor and /or trustee of the Company
                         ( "Successor ") resulting from the transfer (in a single transaction or

                         in multi -step transactions) to the Successor of the ownership
                         and/or control of all or substantially all of the equity securities
                         and/or assets of the Company (a "Successorship Transaction ") to
                         employ the Flight Attendants on the Frontier Airlines System
                         Seniority List in accordance with the provisions of the Agreement
                         and to assume and be bound by the Agreement.

                 3.      The Company and its Affiliates agree to give written notice of the
                         terms of this Agreement to a proposed Successor, before
                         concluding any Successorship Transaction. The Company agrees
                         that no agreement or other legally binding commitment involving a

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                           Successorship Transaction will be signed or otherwise entered
                           into, unless it is agreed in writing as a material and irrevocable
                           condition of entering into, concluding and implementing the
                           transaction, that this Agreement and recognition of the
                           Association is assumed by the Successor(s), and that the Flight
                           Attendants on the Frontier Airlines Flight Attendants' System
                           Seniority List will be employed in accordance with the provisions
                           of this Agreement. The Company will provide the Association with
                           the details of, and material agreements related to, any such
                           transaction in a timely manner.

        D.       MERGER PROTECTION

                 In the event of a merger between the Company and another air carrier (i.e.
                 the combination of all or substantially all the assets of the 2 carriers) where
                 the pre- merger operations are integrated, the integration will be in
                 accordance with Articles 2, 3, and 13 of the Labor Protective Provisions
                 specified by the Civil Aeronautics Board in the Allegheny- Mohawk merger
                 ( "Allegheny- Mohawk LLP's "). The term merger as used herein means joint

                 action by the 2 carriers whereby they unify, consolidate, merge, or pool in
                 whole or in part their separate airline facilities or any of the operations or
                 services previously performed by them through such separate facilities.

        E.       EXPEDITED ARBITRATION

                 Disputes concerning alleged violation of this Article 1 will be resolved by
                 final and binding arbitration on an expedited basis directly before the Flight
                 Attendants System Board of Adjustment sitting with a neutral member. The
                 dispute will be heard no later than thirty (30) days following the submission
                 to the System Board and decided no later than sixty (60) days after
                 submission, unless the parties agree otherwise in writing.

        F.       DEFINITIONS

                 1.        "Company" means Frontier Airlines, Inc.

                 2.        "Control" means the ownership of more than 50% of the
                           outstanding capital stock of an entity or voting securities
                           representing more than 50% of the total voting power of
                           outstanding securities then entitled to vote generally in the
                           election of such entity's board of directors or other governing
                           body.




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                                             ARTICLE 2
                                            DEFINITIONS

        1.       Active -The time a Flight Attendant is available for Duty Assignment or on
                 paid time off. A Flight Attendant on leave of absence, furlough, or another
                 "no pay" status is not considered active, unless otherwise specified in this
                 Agreement.

                 ADD - To pick up additional trips in order to increase the value of a Flight
                 Attendant's line or to replenish his /her sick bank.

        3.       Affiliate - As used in this Agreement, the term "Affiliate" refers to: any
                 Parent; any Entity that Controls or manages the Company or any Entity that
                 the Company Controls or manages, or; any Entity under Common Control
                 with the Company, or; any other corporate subsidiary, parent or division of
                 the Company, a Parent or any other Affiliate.

                 Agreement (with capital "A') - This Collective Bargaining Agreement (CBA)
                 including any Letters of Agreement or Memorandum of Understanding
                 between the Company and the Union.

        5.       Artificial Credit - Unpaid credit used to adjust or build a schedule due to
                 known absences.

        6.       Association - See Union.

        7.       Automated Bid System - A system that constructs monthly schedules for
                 Flight Attendants based on his/her preference and seniority.

        8.       Available to Assign (AVA) - A Flight Attendant available for assignment or
                 reassignment per the terms of this Agreement.

        9.       Award -An assignment given to a Flight Attendant based on his/her
                 individual seniority and bid preferences, or as otherwise provided in this
                 Agreement, as submitted through the Automated Bid System.

        10.      Base - Any geographic locations designated by the Company where Flight
                 Attendants are stationed and their duty assignments are scheduled to
                 begin and end.

        11.      Bid - Preferences submitted by a Flight Attendant through the Automated
                 Bid System.

        12.      Bid Period - A block of time, usually a calendar month, for which Flight
                 Attendants bid and are awarded schedules. Under no circumstances will a
                 Bid Period be less than 30 days.

        13.      Block Hour/Block Time - The period of time beginning when an aircraft's
                 parking brake is released and the boarding door is closed and ending at
                 Block In.




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        14.      Block In - The time at which an aircraft reaches a destination (generally at a
                 gate), the parking brake is set, and the boarding door is open.

        15.      Calendar day - Beginning at 0001 and ending at 2400.

        16.      Call -out status - A period of time when a Reserve Flight Attendant must be
                 available to receive duty assignments from Crew Scheduling.

        17.      CDO (Continuous Duty Ovemight/Standup) - A scheduled duty period that
                 begins in one Calendar Day and ends in the following Calendar Day, which
                 includes an overnight stay out of Domicile that is scheduled for less than
                 FAR required minimum rest.

        18.      Charter - An offline or online revenue flight that is not a regularly scheduled
                 flight.

        19.      COLA (Company Offered Leave of Absence) - A voluntary unpaid leave of
                 absence for a period of time as offered by the Company and awarded as
                 described in Article 12.D.

        20.      Company - Frontier Airlines, Inc.

        21.      Credit/Credit Time/Credit Hour - The total amount of time added to a Flight
                 Attendants schedule. Includes block time, company business, training, or
                 any other time used for pay purposes.

        22.      Day off - A calendar day off free of any duty.

        23.      Deadhead - Transportation at Company direction to or from a duty
                 assignment.

        24.      Debrief - The time allowed for completing post flight duties.

        25.      Declared Irregular Operations (DIO) - A short -term event including weather,
                 airport closure, etc. that significantly disrupts or that is predicted to
                 significantly disrupt at least 25% of the total daily system flight segments.

        26.      Domicile - See Base.

        27.      DROP - The removal of flight(s) from the Flight Attendant's schedule.

        28.      Duty Assignment- The assignment of trip or other work by the Company.

        29.      Duty Period/Duty Time - All time a Flight Attendant is on duty, commencing
                 with report for duty and terminating when a Flight Attendant is released
                 from duty.

        30.      Emergency Leave - Unpaid time off for unavoidable serious circumstances
                 up to 3 days with the approval of Inflight management.

        31.      Ferry - A flight that does not transport revenue passengers used to
                 reposition an aircraft to where it is needed.


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        32.      Flight Attendant - An employee of the Company whose name appears on
                 the Flight Attendant Seniority List as defined by Article 10 of this
                 Agreement, and whose duties include the performance of inflight and
                 ground cabin services.

        33.      Flight Attendant Commuter (FAC) - A Flight Attendant who lives in a
                 different city other than his/her assigned base and commutes to base via
                 air.

        34.      Furlough - The involuntary removal of a Flight Attendant from active duty as
                 a Flight Attendant due to a reduction in force.


        35.      GO - Frontier Airlines, Inc., General Offices in Denver.

        36.      Grievance - A complaint against the Company or another department that
                 alleges contract violations or unfair disciplinary action.

        37.      Ground Time - The amount of time between flight segments.

        38.      International Flight- Any flight operating to or from a city outside the United
                 States of America.

        39.      Irregular Operation - Flights that are delayed or do not operate in
                 accordance with the published schedule because of circumstances such as
                 weather, maintenance, Air Traffic Control, acts of terror, security breaches
                 or other similar circumstances.

        40.      Job Share - As described in Article 5.E.7., a position offered for one bid
                 period when overstaffing occurs to allow Flight Attendants to work low -time
                 hours.

        41.      Junior Assignment - An involuntary duty assignment given to a Flight
                 Attendant on a scheduled day off.

        42.      Layover - An overnight rest period outside the Flight Attendant's base.

        43.      UkeTrip - A replacement trip due to a cancellation, schedule change, or an
                 administrative error. The replacement trip must fall within the following
                 guidelines: Report time no more than 1 hour prior to the original report time
                 and a release time of no more than 3 hours after the original release time
                 for a "Reschedule" or 2 hours after the original release time for a
                 "Reroute ".

        44.      Line - A bid period award built in accordance with this Agreement that
                 consists of assigned trips, days off, and pre -award requests.

        45.      Line Holder - A Flight Attendant who has been awarded a line.

        46.      Longevity - the period of time commencing on the Flight Attendant's date of
                 hire (as a Flight Attendant) which shall begin on the first day a Flight
                 Attendant is scheduled to and reports to the Company's Flight Attendant
                 training program and continuing while the Flight Attendant is active, except
                 where specifically stated otherwise in this Agreement.

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        47.      Low -time - As described in Article 5.1 a position granted for a defined period
                 of time to Flight Attendants who will be awarded between 37:30 and 58
                 hours and may work up to 59:59 hours per bid period.

        48.      Mixed Line - A bid period award built in accordance with this Agreement
                 that consists of trips, blocks of reserve days, days off, and pre -award
                 requests.

        49.      Month - A calendar month.

        50.      Open lime - Trips or portions of trips that are unassigned or un- awarded
                 with which Flight Attendants may ADD, or SWAP.

        51.      Positive Contact - A live telephone or in- person conversation between a
                 Flight Attendant and the Company.

        52.      Pre -award - Request submitted prior to a bid period to accommodate pre -
                 planned absences including, but not limited to: vacation, scheduled
                 training, Company business, Union days, and jury duty.

        53.      Ready Reserve (RR) - A period of time as defined in this Agreement when a
                 Reserve Flight Attendant is required to be on reserve at his/her base airport
                 or another base airport.

        54.      Red -eye - Any Duty Period, other than a CDO, that reports prior to and
                 releases after, or the entire Duty Period occurs between, 0100 and 0300
                 Local Base Time.

        55.      Release - Time when a Flight Attendant is relieved from duty.

        56.      Report Time - The time a Flight Attendant is scheduled to report for a flight
                 assignment, training, or other Company-assigned duty.

        57.      Reroute - A change to a trip after 1800 the day prior to initial trip report.

        58.      Reschedule - A change to a trip before 1800 the day prior to an initial trip
                 report.

        59.      Reserve - A Flight Attendant who was awarded a reserve line.

        60.      Reserve day - A calendar day when a Reserve Flight Attendant is available
                 for duty assignment.

        61.      Reserve Line - A bid period award built in accordance with work rules of
                 this Agreement consisting of Reserve days, days off and pre -award
                 requests.

        62.      RGS - Recurrent Ground School code for the automated bid system.

        63.      RON - Remain overnight.

        64.      Segment/Leg -A flight between cities that may or may not terminate in
                 base.

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        65.      Seniority/Seniority Date - The length of service with the Company as a Flight
                 Attendant.

        66.      Short Cali - A notification from Crew Scheduling to a Reserve Flight
                 Attendant that requires the Flight Attendant to report for a duty assignment
                 no later than 2 hours from the time of the call.

        67.      SWAP - A trip swap with available Open Time via the automated bid system.

        68.      Time Zones - Unless otherwise specified all times listed in this agreement
                 are Eastern Time.

        69.      TRADE - An exchange of flying, vacation or reserve days/duty periods (or
                 other activities as allowed by this Agreement) between two Flight
                 Attendants via the automated bid system.

        70.      Transition - The period of time when trips may overlap bid periods.

        71.      Trip/Sequence/Pairing - A segment or series of segments over one or more
                 days that begin and end in a Flight Attendant's base.

        72.      Union - Association of Flight Attendants - CWA, AFL -CIO

        73.      VAC - Vacation code for the automated bid system.

        74.      Vacancy - Open Flight Attendant positions at a specified Base.

        75.      Wet Lease - An Agreement between the Company and another air carrier in
                 which the Company provides aircraft(s) and crew(s) to the other air carrier.




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                                                 ARTICLE 3
                                               COMPENSATION

        A.       HOURLY RATE


                 Year of Service                Hourly Rate          ,   Time and a Half Rate
                       0 -1                       $19.52                       $29.28
                         1 -2                     $21.15                       $31.73
                         2 -3                     $24.13                       $36.20
                         3 -4                     $25.37                       $38.06
                         4 -5                     $26.85                       $40.27
                         5 -6                     $28.20                       $42.30
                         6 -7                     $30.09                       $45.14
                         7 -8                     $31.58                       $47.38
                         8 -9                     $32.64                       $48.96
                        9 -10                     $34.05                       $51.07
                        10 -11                    $35.08                       $52.62
                        11 -12                    $36.13                       $54.19
                        12 -13                    $37.21                       $55.82

                 1.             Flight Attendant pay is based on the hourly rates listed above.

                             Flight Attendant hourly rate is paid for hours flown plus credit time
                             per bid period. Schedules will be evaluated upon completion of
                             the bid period.

                 3.             Flight Attendants will be paid actual or scheduled block time,
                                whichever is greater, for segments flown.

                                Flight Attendants will be paid at their hourly rate for total bid
                                period block hours up to 86 hours.

                 5.             Flight Attendants will be paid 1.5 times the hourly rate for total bid
                                period block hours over 86.

                             Time may be dropped to a minimum of 60 hours, coverage
                             permitting. Time may not be dropped below 60 hours unless
                             approved by Inflight Management, or otherwise provided for by
                             this Agreement. Hours dropped by a Flight Attendant will not be
                             paid.

                 7.             Flight Attendants on Reserve will be paid based on a 75 -hour
                                guarantee.

                 8.          Flight Attendant Line Holders will be paid based on hours flown,
                             except as otherwise provided by this Agreement. Additional credit
                             time will be paid at the applicable rate.

                 9.          There is no line guarantee in effect for Line Holders.

                 10.            Flight Attendants will be paid on the 5th and 20th of each month.

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                          (If the 5th or 20th falls on a Saturday, Flight Attendants will be
                          paid on the Friday before. If the 5th or the 20th falls on a Sunday,
                          Flight Attendants will be paid on the Monday after). Any
                          unforeseen circumstances that would cause a change to this
                          policy will be published in a memo.

                 11.      The check on the 5th of the month includes 37:30 hours plus per
                          diem for the previous bid period. The check on the 20th includes
                          the remainder of the hours flown in the previous bid period plus
                          any adjustments from the previous bid period (e.g., over time,
                          sick, vacation).

        B.       AUTOMATED BID SYSTEM COST

                 In order to access the Automated Bid System services from a personal
                 computer, a Flight Attendant must submit a payroll deduction form to
                 payroll allowing $4.00 per pay period to be deducted from his/her paycheck
                 for the Automated Bid System expenses. To access the Automated Bid
                 System services at no charge, a Flight Attendant must use a Company
                 authorized computer either at DIA operations or at the GO.

        C.       EXPENSES AWAY FROM BASE (PER DIEM)

                 1.       The Company will pay directly for any hotel room required away
                          from base.

                 2.       Per diem will be paid from 1 hour prior to scheduled departure at
                          the beginning of the trip to 15 minutes after actual or scheduled
                          block in at the end of the trip, whichever is greater. For
                          international flights, per diem ends 30 minutes after the actual or
                          scheduled block -in at the end of the trip, whichever is greater.

                 a        Per diem stops at block -in plus 15 when there is a cancellation of
                          a flight while in the base and resumes the next day at check -in
                          when the trip is continued.

                          Per diem runs continuous when the cancellation is at an
                          outstation until block -in plus 15 at base. Per diem runs
                          continuous when there is cancellation in the base but the rest of
                          the trip continues that same day.

                          Example: Trip comes in to DEN from OMA, and next segment is
                          DEN /ABQ and back to DEN then on to MDW for a RON. The ABQ
                          portion gets cancelled, but the MDW portion is scheduled to fly.
                          Per diem continues without interruption.

                          Per diem stops at block -in plus 15 when a flight is cancelled in
                          base and Crew Scheduling releases the Flight Attendant(s) until a
                          specified time later that same day, a legal rest period, whereupon
                          the Flight Attendant(s) will be rescheduled for another flight later
                          that day.



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                         Example: Trip comes in to DEN from OMA and has SF0 turn. The
                         SF0 turn is cancelled. The crew is released by Crew Scheduling for
                         a specified period of time and rescheduled to return and do an
                         LAX turn later that day. Per diem stops after OMA at block -in plus
                         15 and resumes at check -in for the rescheduled flight(s).

                         Any time a cancellation leads to a release from duty, per diem is
                         not paid.

                 7.      A Flight Attendant required to be out of his/her base for Company -
                         assigned business will be paid per diem for the actual hours spent
                         away from base.

                 8.      Per diem will be paid at $1.85 per hour.


        D.       PAID TIME OFF

                 1.      Company designated absences will be paid at hourly straight time
                         rate according to established credit values and applies to 60 -hour
                         minimum or job share minimum: Vacation, Company Business,
                         Union Business, Funeral Leave, Recurrent Training, Jury Duty, and
                         any other absence approved for protection by management.

                 2.      Flight Attendants required to testify in court, on scheduled
                         workdays, on behalf of Frontier Airlines will be pay protected for
                         the court day according to section K below.

                         Flight Attendants on paid time off or approved leave may not pick
                         up trips during these absences except for awarded vacation.

                 4.      Sick leave is pay protected for all dropped time if the Flight
                         Attendant has sick time accrued, unless the dropped time was
                         Open Time picked up during an awarded vacation period. Sick
                         time is paid at hourly straight time rate.

                 5.      Reserves are not given credit time for cancellations.

        E.       RESCHEDULE /REROUTE PAY

                 1.      In the event that the Company cancels or revises a flight schedule
                         for operational or marketing purposes, the Flight Attendant will be
                         subject to reassignment per "Reschedule" or "Reroute"
                         parameters as set forth in this Agreement.

                 2.      Any changes prior to 1800 (base local time) the day before the
                         original flight will be coded as AVA on the Flight Attendant's
                         schedule. The AVA code does not count toward premium pay.

                 3.      If the change occurs after 1800 (base local time) the day prior to
                         the original flight, then the change will be coded as PAY and this
                         time will be credited toward premium pay.

                 4.      Changes may occur either prior to original trip start or during mid-

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                           sequence after a trip has already begun.

        F.       PARKING

                 1.        The Company will provide the cost of parking in the Flight
                           Attendant's home base. The Company will not be required to pay
                           for parking at more than 1 location per Flight Attendant.

                           Paying for parking at a location other than the Flight Attendant's
                           base will be required only when such employee parking is
                           available and only to the extent of what the parking would have
                           cost at the Flight Attendant's base.

                 TRAINING PAY

                           Flight Attendants attending recurrent training will be paid 1 hour
                           of flight pay for every 2 hours in class. Flight Attendants will be in
                           class for 9 hours to equal 4:30 hours pay. In addition, Flight
                           Attendants will be paid 1:30 hours for the 3 -hour computer -based
                           training.

                 2.        All non -classroom recurrent training completed throughout the
                           year will be paid during the month the Flight Attendant attends
                           his/her training.

                 3.        Additional required training during the year will be paid at 1 flight
                           hour per 2 hours training, up to a maximum of 4 pay hours per
                           day.

        H.       HOLIDAY PAY

                 1.        Frontier recognizes three premium paid Company holidays per
                           year: Memorial Day, Thanksgiving Day, and Christmas Day. Flight
                           Attendants who fly on these holidays will receive time and a half
                           pay (or double time if flying over 86 hours for the bid period) for
                           those segments of which any portion is actually flown on the
                           holiday. Holiday pay is calculated separately from other flight time
                           during the bid period and does not apply towards monthly total.

                           In addition to premium pay, a Flight Attendant may purchase up to
                           two round -trip Buddy Passes for each of the above -mentioned
                           holidays the Flight Attendant was on duty.

                 3.        Frontier also recognizes four non -premium paid Company holidays
                           per year: New Year's Day, Independence Day, Labor Day, and the
                           Friday following Thanksgiving Day. Flight Attendants who are
                           working (including scheduled RON, flying, or scheduled Ready
                           Reserve shift) on these non -paid holidays will receive free of
                           charge two round -trip Buddy Passes. Passes will be good for 1
                           year from the date of that holiday.

                 4.        Cancelled flights on the holiday are paid at the hourly straight time
                           rate.

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        I.       JUNIOR ASSIGNMENT PAY

                 1.      Flight Attendants who are junior assigned will be paid time and a
                         half (1.5) of their hourly rate per scheduled block hour of the
                         assigned trip.

                 2.      Junior assignment pay is calculated separately from other flight
                         time during the bid period and does not apply towards monthly
                         total.

       J.        DEADHEAD PAY (CREDIT ADDED TO MONTHLY BLOCK TOTAL)

                 1.      Deadhead pay is 50% of the actual or scheduled block hours,
                         whichever is greater. Reserve Flight Attendants do not receive
                         deadhead pay unless their monthly flight time is over 75 hours.

                 2.      While deadheading, Flight Attendants will receive free DIRECTV.

        K.       COMPANY BUSINESS PAY

                 1.      Company Business is considered a duty assignment other than
                         training or flight -related functions. Company Business would
                         include administrative meetings not disciplinary in nature,
                         Company sponsored team meetings, or any other Company
                         required duty that is not voluntary.

                 2.      Flight Attendants removed on scheduled workdays will be pay
                         protected for scheduled flight hours dropped and paid at hourly
                         straight time rate.

                 3.      Flight Attendants assigned Company Business on a scheduled day
                         off will be paid 1 hour of flight pay for every 2 hours worked.

                 4.      Per Diem is not paid for Company Business in base. A Flight
                         Attendant required to be out of his /her base for Company
                         Business will be paid per diem for the actual hours spent away
                         from base unless Company pays for meals and hotel.

        L.       IRREGULAR OPERATIONS PAY

                         An irregular operation occurs when there is an unforeseen
                         operational stoppage, delay, or disruption of service. This will
                         include extended aircraft mechanical conditions that require
                         cancellations, delays, and /or diversions; extreme weather
                         requiring cancellation, delays, and /or diversions; and any act of
                         terror or security breaches causing cancellation, delay, and /or
                         diversion. In such cases the Flight Attendant will be pay protected
                         for any or all cancelled trips. If the Flight Attendant is
                         subsequently reassigned, he/she will be paid for cancelled flight
                         or reassigned trip, whichever is greater.

                 2.      If such cancellations cause the Flight Attendant to remain at an
                         outstation into a day off for an entire calendar day, the Flight
                         Attendant will be compensated with 4 hours of credited time for


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                         that calendar day in addition to the time for the cancelled
                         segment(s). The Flight Attendant will also receive pay credit for the
                         flight home once he/she is rerouted to return to base.

                         Example: A Flight Attendant is on a 4 day trip. On day 4 the last
                         leg from LAS to DEN cancels due to a blizzard in DEN and the
                         Flight Attendant is not able to return to base until day 6. In this
                         example, pay credit is received for the cancelled leg on day 4, a
                         pay credit of 4 hours is received for the calendar day on day 5,
                         and pay credit for the return flight home is received for day 6. The
                         value of the pay credit on day 6 will be determined based on
                         whether the Flight Attendant works or deadheads on the flight
                         (50% for deadheading).

                 3.      A request for the 4 hours of compensation must be submitted in
                         writing to the Payroll by the last calendar day of the month in
                         which the irregular operation occurred.

                 4.      If the Flight Attendant returns home on a day off, he/she will be
                         credited for the scheduled or actual flying time, whichever is
                         greater. If he/she deadheads home he/she will receive deadhead
                         credit.

                 5.      Any pay issues not submitted by the Flight Attendant to the Payroll
                         by the last day of the fiscal year will mean the forfeit of any such
                         pay.




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                                      ARTICLE 4
                          HOURS OF SERVICE AND CREW LEGALITY

        A.       POLICY

                 Crew legality as defined by the FARs is the shared responsibility between
                 the Flight Attendant and the Company's Crew Scheduling Department. It is
                 the Flight Attendant's responsibility to bring any legality problems he/she is
                 aware of to the Company's attention. Crew Scheduling will make the final
                 determination of whether a Flight Attendant is legal to fly and will assume
                 responsibility for the decision.

        B.       DUTY TIME LIMITATIONS

                 1.       A Flight Attendant will be scheduled in accordance with Federal
                          Aviation Regulations (FARs).

                 2.       A Flight Attendant will not be scheduled for more than   14 hours on
                           duty for regularly scheduled flying. A scheduled duty period may
                           be scheduled to exceed 14 hours by increasing the number of
                           Flight Attendants on the crew (FAR 121.467).

                 3.       A Flight Attendant is not considered to be scheduled on duty in
                           excess of duty period limitations if the flights to which the Flight
                           Attendant is assigned are scheduled and normally terminate
                           within the limitations but due to circumstances beyond the control
                           of the certificate holder, such as adverse weather conditions, are
                           not at the time of departure expected to reach their destination
                           within the scheduled time (FAR 121.467).

                 4.       Irregular operations may cause the duty day to be extended
                          beyond scheduled hours, but the duty day will not exceed 16
                          hours. Exception: may exceed 16 hours enroute if the flight can
                          reasonably expect to depart the gate prior to 16 hours in order to
                          return a crew to base and to avoid a cancellation at an outstation.
                          If a Flight Attendants duty day exceeds 16 hours, the following
                          rest period will be increased per the table below based upon the
                          length of the actual duty day. It will be the Flight Attendants
                          responsibility to contact Crew Scheduling within 2 hours of duty
                          release to request that his /her additional rest time is scheduled
                          and any required adjustments to the next duty are made. Any trip
                          segment that they may be unable to fly as a result of the
                          additional duty time and rest period will be pay protected by the
                          company. The Flight Attendant will pick up any remaining
                          segments after the additional base rest is completed.

                           If Actual Duty exceeds 16 hours, minimum layover rest will be 12
                           hours and reducible to 10 hours.. If rest is reduced,
                           compensator,' rest of 14 hours must be provided.




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                                    Actual Duty Day                   Base Rest

                                 16:01 - 17:00 Hours                       12
                                 17:01 - 18:00 Hours                       14
                                 18:01 - 19:00 Hours                       16
                                 19:01 - 20:00 Hours                       18
                                 Over 20:01 Hours                          20

                     6.           A Hight Attendant will be replaced in base upon reaching 12 hours
                                  on duty unless the remaining flight legs can be completed within
                                  14 hours. Crew scheduling will evaluate the Flight Attendant's
                                  duty time.

                                  A required training session, Company Business, or an additional
                                  required preflight training briefing before or after a trip will be
                                  treated as an extension of the duty period and subject to
                                  established duty limits and rest requirements. A day of Recurrent
                                  Training (8 hours or more) must be followed by a normal 10 -hour
                                  rest before the next flight assignment.

                     8.           It is the Flight Attendant's responsibility to notify Crew Scheduling
                                  of any work -related circumstances (e.g., excessive hours due to
                                  irregular operations) that may impair his/her ability to perform
                                  required duties. If a Flight Attendant is removed from duty due to
                                  fatigue, he /she will not be credited (paid) for the flight hours
                                  removed.

                     9.           For domestic flights, a Flight Attendant's duty period ends 15
                                  minutes after scheduled block -in or actual block -in, whichever is
                                  greater.

                     10.          For international flights, a Flight Attendant's duty period ends 30
                                  minutes after scheduled block -in or actual block -in, whichever is
                                  greater.

        C.           REST LIMITATIONS

                     1.           A Flight Attendant's rest periods begin when he/she is released
                                  from duty and end at the next report time.

                     2.           Rest period minimums are required as per the following:

             Scheduled      I   Minimum Base           Reducible to             Minimum          Reducible to
                Duty                 Rest             (Irregular ops)       Layover Rest        (Irregular ops)
              Under 14
                                  10 hours                9 hours               9 hours            8 hours*
                hours
             14 hours or    1-^
                             12 hours **                10 hours **          12 hours **         10 hours **
               longer
                                1 calendar day      24 hours every 7 1 calendar day 24 hours every
              All cases
                                 every 7 days            days         every 7 days      7days_
                * Compensatory rest of 10 hours required to follow.
               ** Can be scheduled as reduced rest provided compensatory rest of 14 hours is scheduled.

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                         A Flight Attendant must be given a minimum scheduled rest
                         period of 9 consecutive hours between duty at outstations and 10
                         hours of rest between duty periods in base. In an irregular
                         operation, Crew Scheduling can reduce the 9 -hour rest period in
                         an outstation to 8 hours rest between duty periods, provided
                         compensatory rest does not apply. In an irregular operation, Crew
                         Scheduling can reduce the 10 -hour rest period in base to 9
                         consecutive hours between duty periods, provided compensatory
                         rest does not apply

                         A minimum reduced rest period of 8 hours may be scheduled at a
                         layover city to accommodate the daylight savings time change
                         transition.

                 5.      When a crew member is on legal rest at a layover station, and
                         Crew Scheduling must contact them for a schedule adjustment,
                         they will make every effort to do so in the first 2 hours or the last 2
                         hours of the rest period.

                 6.      Except as otherwise provided by this Agreement, a Flight
                         Attendant must receive at least 10 hours rest in base between
                         each trip (including ADD/SWAP /TRADE) and /or 8 hour or longer
                         training event. A Flight Attendant may not waive this requirement.

                 7.      The required 24 -hour rest period will be 1 calendar day at base.
                         As a result of irregular operations, a rest period beginning no later
                         than 0200 to the following 12 midnight will meet the 1 calendar
                         day requirement. At no time will a Flight Attendant be scheduled
                         for less than the FAA -mandated 24 hour break in any seven
                         consecutive days.

                         For the definition set forth in paragraph 7 above to apply, the
                         following conditions must be met:

                         a.        Release time on the 6th day is scheduled prior to
                                   midnight;

                                   Because of a delay (irregular ops), the Flight Attendant
                                   returns to base after midnight into a scheduled day off;

                         c.        The Flight Attendant is released from duty no later than
                                   0200. If released after 0200, another calendar day off
                                   will be given prior to the next trip report and will be pay
                                   protected. The trip may be split to provide the calendar
                                   day;

                         d.        The Flight Attendant has a consecutive 24 -hour break
                                   within 7 consecutive days.

                         A Flight Attendant will be scheduled with a minimum of 1 calendar
                         day off in base during every 7-day period. A Flight Attendant MAY


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                         NOT request to use a 24 -hour break in a layover station to meet
                         the 24/7 FAR rest requirement.

                 10.     In an irregular operation, Crew Scheduling may use a 24 -hour
                         break, in or out of base, to satisfy the 24/7 rest requirement.

                 11.     Reduced rest cannot be scheduled below any applicable
                         compensatory rest.

                 12.     Base trip report time is scheduled for 60 minutes prior to
                         departure time of the first segment and cannot be reduced to
                         accommodate rest requirements. Report time for a Reserve on a
                         short call -out may be adjusted.

                 13.     A Flight Attendant in an irregular operation that results in a base
                         rest below the minimum 9 hours or less than 24 hours rest in a 7-
                         day period will be required to contact Crew Scheduling to ensure
                         proper rest is scheduled. To resolve the rest conflict:

                         a.       Crew Scheduling will remove and release the Flight
                                  Attendant from the least amount of time in the trip that
                                  will allow the reduced rest requirement to be met.

                         b.        If no portion of the trip can be removed to ensure legal
                                   rest, Crew Scheduling will remove the trip and assign the
                                   Flight Attendant to an alternate trip per reassignment
                                   parameters. If no trip is available, Crew Scheduling will
                                  release the Flight Attendant from the first day and assign
                                  Available per AVA rules for any subsequent day(s).

                         c.       The Flight Attendant may request to be removed from
                                  the trip and waive the credit. Release will be determined
                                  by Crew Scheduling and be based upon adequate
                                   reserve staffing.

                 14.     While on a RON no Flight Attendant may board a flight for personal
                         reasons with the intent to leave the assigned RON city without
                         prior permission granted from Crew Scheduling. A captain's
                         permission to travel from the RON city is not a substitute for Crew
                         Scheduling approval. In all cases. the Captain must be given
                         immediate contact information (e.g.. cell phone number) should
                         the Flight Attendant choose to RON in a location other than the
                         crew hotel.

                 15.     In the event a Flight Attendant intentionally builds a schedule with
                         a software system in use by the Company resulting in less than a
                         calendar day off in 7 days, the Company will remove flying from
                         the Flight Attendant's schedule to ensure a calendar day off and
                         the Flight Attendant will not be pay protected for such flying.

        D.       REPORT TIME LIMITATIONS

                 1.      Report time is not scheduled less than 60 minutes prior to

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                         departure in base. Report time may be increased for charter
                         operations in base and layover stations.

                 2.      For trip report in base, Flight Attendant must check in on
                         Company-provided computers in designated airport location(s).
                         Under no circumstances is another employee allowed to check in
                         for a crewmember (exception being Crew Scheduling). Doing so
                         may result in corrective action.

                 3.      All Flight Attendants will be provided with an individual Company
                         log-on and check-in ability. It is the Flight Attendant's responsibility
                         to retain his/her log -on once established. If log -on or password is
                         lost, the Flight Attendant should contact IT help desk with
                         sufficient time prior to scheduled check -in should there be
                         difficulties with the Flight Attendant password or system log -on.

                 4.      If the computer system is down the Flight Attendant will need to
                         contact Crew Scheduling to check -in.

                 5.      In domestic layover station, report time to the gate is not less than
                         45 minutes prior to departure.

                 6.      In an international layover station, report time to the ticket
                         counter is not less than 1 hour 15 minutes prior to departure.

                 7.      Report time may be reduced to allow for adequate crew rest in a
                         layover station per this Agreement. At no time will a reduced
                         report time infringe upon the rest period required by FARs.

                         A line- holding Flight Attendant who is unable to report for work
                         due to illness or off-duty injury must notify Crew Scheduling at
                         least 2 hours prior to trip report time.

                 9.      A Reserve Flight Attendant called out for a flight assignment with a
                         2 -hour short call must report within the required time from the
                         initial call.

                 10.     A Flight Attendant who checks in less than     20 minutes after report
                         time will remain scheduled to work the trip.

                 11.     A Flight Attendant who checks in 20 minutes or more after trip
                         report time may be placed by Crew Scheduling back on the
                         missed portion of his/her trip with the concurrence of Inflight
                         management and the Flight Attendant. This decision will be based
                         on factors such as available replacement staffing or possible
                         delay impact. The Flight Attendant will only be paid for the portion
                         of the trip he/she works.

                 12.     A Flight Attendant scheduled to deadhead from base will       report in
                         CrewTrac no later than 60 minutes prior to departure and will
                         report to the gate no later than 30 minutes prior to departure.



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                 13.     A Flight Attendant scheduled to deadhead from an outstation will
                         report to the gate no later than 30 minutes prior to departure.

                 REPORT TIME TO THE AIRCRAFT

                         Report time to the aircraft is 45 minutes prior to departure or as
                         soon as the aircraft arrives at the gate if less than 45 minutes.

                         During a turn of 45 minutes or less, Flight Attendants should
                         remain on the aircraft to prevent boarding/departure delays.

                 3.      Flight Attendants reporting to the aircraft less than 30 minutes
                         prior to departure may be replaced.

                 4.      Flight Attendants arriving late on inbound flights should report to
                         the new aircraft as soon as possible upon arrival.

        F.       RULES GOVERNING PAIRING AND SCHEDULE CONSTRUCTION

                 1.      A minimum of 11 days free of duty will be scheduled in every
                         Reserve line.

                 2.      A minimum of 10 days free of duty will be scheduled in every line
                         constructed in the Automated Bid System.

                 3.      A Flight Attendant will not be scheduled for more than 14 hours on
                         duty for regularly scheduled flying.

                 4.      Scheduled hours on duty may be extended by increasing the
                         number of Flight Attendants on the crew (FAR 121.467)

                 5.      Crew Planning will build trips with a minimum of 9 consecutive
                         hours of scheduled rest at outstations. To accommodate the
                         change from Standard Time to Daylight Savings Time, trips that
                         would otherwise be scheduled for normal rest may be scheduled
                         with a minimum of 8 consecutive hours of scheduled rest at
                         outstations on the overnight of the daylight savings time change.

                 6.      The Automated Bid System will not create lines with less than 10
                         consecutive hours of rest at base.

                 7.      In an irregular operation, Crew Scheduling may choose to use a
                         24 -hour break in or out of base to satisfy the 24/7 rest
                         requirement.

                 8.      For purposes of the Automated Bid System, a calendar day off in
                         base during every 7 -day period will be required. A Flight Attendant
                         may not waive this requirement




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                 CREW ACCOMMODATIONS

                 1.      For any Flight Attendant who has more than 4 hours scheduled
                         ground time at a layover station, he/she will be provided an
                         individual hotel room by the Company. This includes while a Flight
                         Attendant is in training away from their base. Hotel rooms will not
                         be provided at base.

                         Flight Attendants on the Hotel Committee will work with the
                         Company and the Pilot Hotel Committee to select hotels for
                         layover stations that can best meet the needs of the crew as well
                         as the financial needs of the Company. The Company makes the
                         final decision regarding hotel decisions with crew member input.




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                                     ARTICLE 5
                         CREW PLANNING AND CREW SCHEDULING

        A.       GENERAL ITEMS

                 1.      Crew Scheduling is responsible for daily operational support.
                         Responsibilities include but are not limited to:

                         a.       Operational reassignments

                         b.        Reserve assignments

                         c.        Legality monitoring

                         d.        Processing sick calls

                         e.        Ensure coverage of daily flight schedule

                         f.        Irregular operations

                 2.      Crew Scheduling is available 24 hours per day, 7 days a week.

                 3.      Crew Planning is responsible for administrative support.
                         Responsibilities include but are not limited to:

                         a.        Preferential bidding

                         b.       Automated bidding functions including Open Time and
                                  trade board bidding Vacation award and vacation slide

                         c.       Administrative processing of Pre -awarded Absences
                                  including Training, Committee Meetings

                         d.        Building Reserve lines for new hire Flight Attendants
                                   upon completion of training

                         e.        Post-bid marketing and charter changes

                         All telephone conversations between Crew Scheduling and Flight
                         Attendants will be recorded. Recordings will be kept for a
                         minimum of 60 days. Access to recorded conversations will be
                         limited to Inflight Management and Crew Scheduling/Crew
                         Planning management. In the event of a dispute, a Flight
                         Attendant and /or the Union may submit a written request to the
                         Company to review any applicable telephone recordings. The
                         review will be conducted in the presence of the Flight Attendant
                         and/or Union representative, Inflight and Crew Scheduling/Crew
                         Planning management.




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        B.        BID PERIOD TIME TABLE (EASTERN TIME)

       NOTE: All times will be considered Local Headquarters Time (IND) unless otherwise
        noted


                         Date                 Time                        Event
                 4th day of the month         1400        Pre -award bid period closes.
                 No later than the 5th
                                              1400        New base awards posted
                   day of the month
                No later than the 6th of                  Monthly bids open and are posted
                                              1400
                       the month                          (including pre-awards)
                                                          Credit Balancing starts - Company 1
                 7th day of the month         1400        may adjust schedules below 60
                                                          _credit hours
                 8th day of the month         1400        Credit Balancing ends
                                                          Medical release is required no later
                11th day of the month         1700        than 1700 to bid for the upcoming
                                                          bid period.
                12th day of the month         1400        Bids close.
                16th day of the month         1400        Bid awards are posted.
                16th day of the month         1600        Reserve mixed line bidding begins
                                                          View schedule in the Automated Bid
                17th day of the month         1400        System. Reserve and Mixed lines
                                                          close.
                                                          Reserve and Mixed Lines posted in
                18th day of the month         1400        the Automated Bid System.
                                                          Recurrent Training trades open.
                                                          TradeBoard opens for Line Holders
                18th day of the month         1400        and 'Reserves - including split trip
                                                          trades.
                                                          Daily Open Time begins - DROP/
                19th day of the month         1400
                                                          SWAP/ADD only - no splits
                21st day of the month         1400        Base vacancy bid opens
                22nd day of the month         1400        Pre -award bid period opens.
                                                          Daily Open Time Split and
                                                          TradeBoard Split for the current bid
                26th day of the month         1400
                                                          period close. Daily Open Time Split
                                                          for the new bid period begins.
                28th day of the month         1400        Base vacancy bid closes

        NOTE: To prevent any conflict with the preferential bidding process, trip trade and
        Open Time requests to ADD or SWAP duty periods on the Flight Attendant's schedule
        for the last 6 days of the bid period will not be allowed between 1100 on the 10th
       and 1400 on the 18th.

        C.        ELIGIBLE TO BID

                  1.        Flight Attendants are considered eligible to bid unless they have
                            beer granted Company approved leaves (LOA, MED, FMLA, OJI,
                            etc.) or removed for Company Business.

                  2.        Flight Attendants who are ineligible to bid due to any medical

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                         reason must submit a doctor's release prior to being considered
                         eligible to bid. The release must be from the same doctor who
                         removed the Flight Attendant from flight status or from a Frontier -
                         designated doctor.

                         The doctor's release must be received no later than 1700 on the
                         11th of the month prior to the bid period, releasing the Flight
                         Attendant back to work no later than the 15th day of the bid
                         period.

                         NOTE: Artificial credit of 2:30 hours per day will help establish the
                         bid award block hours. Flight Attendants are not paid for Artificial
                         credit.

                 4.      Flight Attendants who receive a doctor's release after the 11th at
                         1700 will be considered available for flight status and will be
                         expected to fly no less than the number of hours designated by
                         the following chart.

                 5.      The Flight Attendant must bid for Open Time on the Automated
                         Bid System or contact Crew Scheduling to be assigned an AVA
                         schedule of a minimum of 4 days per week (credit value 4 hours a
                         day if he/she doesn't fly). Time picked up through the TradeBoard
                         does not count toward the minimum required hours.

                 6.      Flight Attendants whose return requires a re -entry drug test may
                         not pick up trips from Daily Open Time Live or the Automated Bid
                         System TradeBoard prior to clearance.

                 7.      Reserves who return from leave will be given a Reserve schedule
                         based on remaining days in the month and follow all Reserve
                         rules. For the purposes of this paragraph a Reserve is any Flight
                         Attendant who would have held a Reserve line if they had been
                         eligible to bid for the applicable bid period.




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        D.       RETURNING FROM LEAVE MID MONTH

                                           Required Minimum Hours    Required Minimum Hours
                 Remaining Days
                                                 for Full -time            for Low -time
                          1                          2:06                       1:21
                          2                         4:18                        2:41
                          a                         6:24                        4:01
                          4                         8:36                        5:22
                          5                        10:42                        6:04
                          6                        12:54                        8:03
                          7                        15:00                        9:23
                          8                        17:06                       10:43
                          9                        19:18                       12:04
                         10                        2 1:24                      13:24
                          11                       23:36                       14:45
                          12                       25:42                       16:05
                          13                       27:54                       17:25
                          14                       30:00                       18:46
                          15                       32:06                       20:18
                          16                       34:18                       21:27
                          17                       36:24                       22:47
                          18                       38:36                       24:12
                          19                       40:42                       25:28
                          20                       42:54                       26:05
                          21                       45:00                       28:09
                          22                       47:06                       29:29
                          23                       49:18                       30:49
                          24                       51:24                       32:10
                          25                       53:36                       33:30
                          26                       55:42                       34:51
                          27                       57:54                       36:11
                      28 or More                   60:00                       37 :31

        E.       INITIAL BID

                 1.           Detailed Initia( Bidding,Information

                              For the most current information about bidding rules and
                              techniques, a Flight Attendant should referto
                              www.MyFrontier.org/inflight/prefbid /index.asp or another
                              Company designated website. Web page information is updated
                              monthly with bidding tips, most common mistakes and other
                              items which will provide assistance in the bidding process.

                 2.           Bid Packet

                              The Company will publish paper bid packets on a monthly basis
                              and make them available in the crew ,room. Bid packets will be
                              made available to all Flight Attendants by 1400 on the 6th day of
                              each month.

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                         Bid Closing

                         It is the responsibility of the Flight Attendant to bid in the
                         Automated Bid System. All formal bidding will be submitted on the
                         Automated Bid System no later than 1400 on the 12th day of the
                         month. The Company does not accept bids by faxes, e-mail or any
                         other means.

                 4.      Bidding Timeline

                         a.        Bids will open on the 6th at 1400.

                         b.        Bids will close on the 12th at 1400.

                         c.        Bids will be posted on the 16th by 1400.

                         d.        Reserve awards will be posted on the 18th by 1400.

                         e.        For the initial bid, a Flight Attendant must have a
                                   minimum of 1 calendar day off in base during every 7-
                                   day period.

                 5.      Misbidding

                         Each Flight Attendant will be accountable for bidding correctly. In
                         the event he /she fails to bid (including the default bid), there are
                         trips left, and the Flight Attendant is senior enough to hold a line,
                         the Automated Bid System will build a line for the Flight Attendant.
                         If there are not enough trips to fill a line then the Flight Attendant
                         will go on Reserve for the misbid.

                         Mixed Lines

                         Flight Attendants awarded Reserve status during the monthly bid
                         will normally have the opportunity to participate in a secondary bid
                         for Mixed Lines.

                         Job Shares

                         a.        The Automated Bid System allows Flight Attendants to
                                   work low time. Frontier will offer this option in months
                                   when overstaffing occurs.

                         b.        A Flight Attendant interested in a job share must submit
                                   a request via email to Inflight by the published time and
                                   date.

                         c.        Job shares will be granted in seniority order.

                         d.        Flight Attendants awarded a job share will build a line in
                                   the Automated Bid System of 37:30 to 58:00 hours.


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                         e.        A Flight Attendant who is awarded a job share line may
                                   trade or SWAP trips but may not exceed 58:00 hours or
                                   go below 37:30 hours.

                         f.        It is the Flight Attendant's responsibility to ensure
                                   his/her monthly credit hours do not go above 59:59 or
                                   fall below 37:30 hours. Failure to do so may result in
                                   disciplinary action.

                 8.      Automated Bid System Errors

                         If an error is made within the Automated Bid System and a Flight
                         Attendant is not awarded a trip that he/she should have been
                         given, he/she has the following options:

                         a.        The Flight Attendant will be offered a like trip if it is
                                   available in Open Time. Trips will not be split. The Flight
                                   Attendant will be pay protected for the greater of the
                                   trips;

                         b.        If no like trip is available, the Flight Attendant may be
                                   considered AVA based on the trip that he/she should
                                   have been awarded;

                         c.        The Flight Attendant may choose to accept Reserve for
                                   the days in question; or

                                   The Flight Attendant may decline all of these options,
                                   forfeit the compensation and add to the schedule from
                                   Opentime or the TradeBoard.

        F.       PRE -AWARD PERIOD

                 1.      Pre -awards must be submitted via the Automated Bid System on a
                         monthly basis from the 22nd at 1400 to the 4th at 1400 (e.g.,
                         March 22nd - April 4th for the May bid period).

                 2.      Requests submitted for pre-awards include the following: vacation
                         slides, Recurrent Training and other scheduled training, scheduled
                         Company Business, Union Business and jury duty. Company
                         Business pre-planned meetings that are not blocked for an entire
                         day in the Automated Bid System will allow for a Flight Attendant
                         to fly that day, as long as it does not conflict with the Company
                         Business time

                 3.      Any trips on Company Business meeting days must meet the 14
                         hour duty day limitations. The 10 hour rest rule does not apply
                         except before and after the maximum 14 hour duty day.

                         It will be the Flight Attendant's responsibility to bid correctly to
                         ensure that all legalities are met; should a trip violate any
                         scheduling/FAA legality rules, the trip will be removed and will not
                         be pay protected. Should the Flight Attendant request the day off,


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                         Company Business day, and the system awards them a trip in
                         error, they will be pay protected for the trip/portion of the trip that
                         needs to be removed to make them legal for the Company
                         Business. All other legal portions of the trip will be flown, that do
                         not fall on the Company Business day.

                         Pre -awards are awarded by seniority except vacation slides, which
                         will be granted according to Article 10.F.

                 6.      Each pre -award request must be submitted separately.

                 7.      Requests asking the Company/Crew Planning to pick any date for
                         the award will not be granted.

                 8.      If a Flight Attendant submits a pre-award request for any planned
                         absence (e.g., vacation, recurrent training), he/she must verify
                         that this request is listed in the Automated Bid System before
                         entering his/her bid. If the Flight Attendant does not find the pre -
                         award request, he/she must contact Crew Planning by 1700 on
                         the 11th. Any problem arising after the Bid Award will be handled
                         to eliminate the conflict as if the pre -award had been granted.

                 9.      Pre -awards requests will be processed according to the following
                         priority:

                         a.          Vacation;

                         b.          Training;

                         c.          Company Business;

                         d.          Union Business.

                 10.     Company training events are presented throughout the year and
                         attendance is a requirement of the job. The Company may assign
                         individuals to specific months to attend this training, and Flight
                         Attendants will be notified by Company email of their designated
                         month. Flight Attendants will then be able to bid for their assigned
                         month in the Automated Bid System between 1400 on the 22nd
                         and 1400 on the 4th (e.g., March 22 to April 4 for May training).
                         All training events are awarded via the Automated Bid System in
                         seniority order.

                 11.     Bidding fora training event:

                         a.          Changes to the designated month must be approved by
                                     the Inflight Training Administrator prior to bid opening on
                                     the 22nd of the month.

                         b.          Flight Attendants will bid for multiple programs /days in
                                     order of preference.

                         c.          Awards are published in the Automated Bid System at

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                                   1100 on the 4th.

                                   Awarded training events will be noted in the Automated
                                   Bid System.

                         e.        Training events require a scheduled 10 hour rest in base
                                   prior to and following the event. In the case of an
                                   irregular operation, this rest may be modified as
                                   provided by this Agreement.

                         f.        Once awarded, training events may not be dropped, but
                                   may be traded in accordance with the provisions of this
                                   Agreement.

        G.       TRANSITION

                 1.      If a trip from the previous bid period ends on a day in the new bid
                         period, but the Flight Attendant is legal to start a trip on that same
                         day it arrives in base, the Automated Bid System will allow the
                         Flight Attendant to bid or assign trips starting after the arrival time
                         with respect to legalities.

                 2.      Flight hours flown for the new bid period from the previous bid
                         period's trip will be credited to the new bid period's total block
                         hours for credit purposes.

                 3.      In the event that a trip of the preceding bid period falls into the
                         new bid period, the Flight Attendant will complete the trip. When it
                         is time for a Flight Attendant to bid for the new bid period, he /she
                         will not be able to bid those days of the new bid period in the
                         Automated Bid System. Those days will automatically be blocked;
                         therefore, there will not be a transition conflict.

                 4.      If a transition trip overlaps an awarded vacation day, the Flight
                         Attendant may slide his/her vacation during the pre -award period
                         to resolve the conflict.

                         If a transition trip overlaps an awarded vacation day(s) and the
                         Flight Attendant chooses not to slide his /her vacation, the
                         overlapping portion of the trip will be dropped without pay if the
                         trip can be split in base. Otherwise, the entire trip will be dropped
                         to resolve the conflict, and the Flight Attendant will not be pay
                         protected.

        H.       CDOS AND RED -EYE TRIPS THAT SPAN BID PERIODS

                         CDOs will be credited 3 hours for the present bid period and 3
                         hours for the new bid period.

                         If a Flight Attendant checks in for a red -eye trip on the last day of a
                         bid period that is scheduled to depart before 2359 (base local
                         time) of the bid period and is still flying into a new bid period, the


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                         block hours for that leg will be credited to the prior bid period's
                         hours. Any legs flown after the red -eye within the same sequence
                         will be credited to the following bid period as carry -in.

        I.       RESULTS PAGE/PRE-AWARDS

                 1.      Reviewing results page is the Flight Attendant's responsibility,
                         which includes but is not limited to:

                         a.        Carry -In.

                                   Example: Any trip that carries into the new bid period
                                   that conflicts with a pre- awarded, preplanned absence
                                   or any given credit for those hours will be dropped but
                                   not pay protected.

                         b.        Vacation.

                         c.        Recurrent training.

                         d.        Company Business.

                 2.      Parameters

                         All administrative parameters are subject to the Company's
                         discretion and operational necessity.

                 3.      Vacation Awards And Slides

                         a.        A Flight Attendant may slide his/her vacation period plus
                                   or minus three calendar days from the first day of the
                                   awarded period. A Flight Attendant will not be permitted
                                   to slide a vacation period between individual bid periods.

                                   Vacation periods start on the first day of the listed dates
                                   in this Agreement unless the Flight Attendant exercises
                                   the slide option in the Automated Bid System.

                         c.        A Flight Attendant who intends to slide his/her vacation
                                   period will do so during the pre -award period. Crew
                                   Planning will not add, change or cancel any slide
                                   request.

                         d.        Vacation slide requests are processed prior to the
                                   processing of training, Company Business and Union
                                   Business requests.


       J.        LOW-TIME FLIGHT ATTENDANTS

                 1.      General

                         Inflight will offer low -time Flight Attendant positions. A bid will be

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                         distributed stating the timeline for application, the number of low -
                         time Flight Attendant positions that will be offered, and the
                         duration of the low -time period. The low -time positions will be
                         awarded in Seniority order. The following will highlight the low -time
                         Flight Attendant position requirements and benefits:

                 2.      Eligibility

                         a.            A Flight Attendant is eligible for the low -time position if
                                       he/she has been active for a minimum of 6 months, and
                                       is not on Reserve status.

                         b.            Any Flight Attendant interested in the low -time position
                                       must follow all procedures for application /acceptance
                                       that are supplied in the bid instructions.

                         c.            Flight Attendants must be active at the point of the start
                                       date of the program to be eligible to apply.

                         d.            Any Flight Attendant who is awarded a low -time position
                                       will be required to commit to the position for the entire
                                       term of the defined period of time.

                         e.            Flight Attendants will only be awarded a vacancy transfer
                                       while on low -time if the Company has posted for low -time
                                       vacancy transfers.

                         Reversion from Low -Time Status

                         a.            If at any time during the low -time period a Flight
                                       Attendant's seniority falls within the bottom 15% of the
                                       seniority list within his/her base (i.e. projected to enter a
                                       Reserve status), the Company may, at its sole discretion,
                                       revert the Flight Attendant back to full -time status for the
                                       remainder of the term of the program.

                         b.            Should a life changing event occur (as defined by the
                                       Company's employee benefits policy), a Flight Attendant
                                       may request to be returned to full -time status provided
                                       the Company has vacancies for full -time positions.
                                       Should a Flight Attendant request to invoke this
                                       provision and return to full -time status, he /she should
                                       contact Inflight Management for vacancy information.

                         Low -time Hours and Scheduling Requirements

                         a.            Any Flight Attendant who is awarded a low -time position
                                       must fly between 37:30 and 59:59 hours per monthly
                                       bid period. Flight Attendants awarded a part time
                                       position will build a line in the Automated Bid System of
                                       37:30 to 58:00 hours. A Flight Attendant who is awarded
                                       a part time line may TRADE or SWAP trips in the



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                              Automated Bid System, but may not exceed 58:00 hours
                              or go below 37:30 hours.

                              The Company may increase the low -time base to 47:30
                              hours up to three times per year and with prior
                              notification based on seasonal operational necessity.
                              Conditions that must be met pertaining to the 37:30
                              base, (e.g. paragraphs i, k, m,) will apply to the 47:30
                              base in designated months.

                         c.   If a Flight Attendant's projected credit value for the
                              current bid period is less than 37:30 hours, the
                              Company may adjust the Flight Attendant's schedule to
                              bring the line value above 37:30 hours through credit
                              balancing. If the Company opts to use credit balancing,
                              the schedule will be adjusted between 1200 on the 7th
                              and 1200 on the 8th of the month. Credit Balancing may
                              include any of the following:

                              {i)        Adding trips to the schedule from Open Time
                              (ii)       Swapping trips on the schedule for trips in
                                         Open Time
                              (iii)      Assigning AVA days to the schedule

                              If the Company assigns AVA days during the Credit
                              Balancing process, these AVA days will be credited 4
                              hours or the value of the actual trip flown, whichever is
                              greater. The availability window for the AVA days will be
                              from 0001 until 2400 on each of the assigned AVA days.

                         e.   At the conclusion of each bid period the Company will
                              calculate accumulated credit for each Flight Attendant,
                              including actual credit and artificial credit. If a Flight
                              Attendant's total bid period credit is less than 37:30
                              hours the Flight Attendant will be denied access to the
                              Automated Bid System Open Time or the TradeBoard for
                              three subsequent bid periods. During this three month
                              penalty period the Flight Attendant will not be permitted
                              to participate in any voluntary ADD/DROP /SWAP
                              processes and must fly his /her line as awarded in the
                              Automated Bid System.

                         f.   If the Flight Attendant is awarded a Reserve line through
                              the Automated Bid System, then that bid period will not
                              be counted as one of the three bid periods for purposes
                              of this penalty.

                         g.   If a Flight Attendant is awarded a Reserve line while in
                              the low -time program, he/she will be blocked from
                              participating in any open -time processes in the
                              Automated Bid System.



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                         h.        In the event that a Flight Attendant goes over the 59:59
                                   hour maximum part time credit window due to irregular
                                   operations (weather, mechanical, declared irregular
                                   operations, etc.), there will be no penalty to the Flight
                                   Attendant in these situations.

                                   Any Flight Attendant who accepts a low -time position
                                   must work a minimum of 540 flight hours (or as dictated
                                   by Federal Legislation) during the 12 month period prior
                                   to their anniversary date to receive a year's service
                                   toward retirement benefits. Anything less will result in a
                                   1/2 year's service towards retirement.

                 5.      Benefit Changes for Low -Time Flight Attendants

                         Benefit                       Change from Full -Time Status
                         Sick                          50% Accrual
                         Vacation                      50% Accrual
                         Uniform Allowance             50% Accrual
                         Buddy Passes                  1/2 of a Full -Time Employee
                         Health Benefits               See Company policy
                         Dental Vision                 See Company policy

                         NOTE: All low -time Flight Attendants will bid in the Automated Bid
                         System each bid period. Also, all low -time Flight Attendants will
                         have access to Open Time and the TradeBoard just as all full-time
                         Flight Attendants.

        K.       OPEN TIME

                 1.      All available Open Time will be available to view and print in the
                         Automated Bid System.

                 2.      A Flight Attendant may bid in Daily Open Time Live via the
                         Automated Bid System to ADD/DROP/SWAP trips within their
                         base.

                 3.      All manual Open Time and Trip Trade processing (e.g., split trips)
                         will be processed between the hours of 0900 -0100.

                 4.      A Reserve is eligible to bid for trips in Daily Open Time Live within
                         their base following the terms outlined in this Agreement.

                 5.      Daily Open Time Live trips may be split for the current bid period
                         through 1400 on the 26th of the month. Daily Open Time Live
                         trips may be split for the next bid period on the 26th of the
                         previous month at 1400. See Bid Period Timetable.

                 6.      TradeBoard trips may be split for the current bid period through
                         1400 on the 26th of the month. TradeBoard splits for the next bid
                         period will begin on the 18th of the previous month at 1400. See
                         Bid Period Time Table.



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                 7.      For purposes of adding Open Time and trades to an existing trip
                         on a Flight Attendants schedule, there will be a minimum of 60
                         minutes scheduled connect time in base between flights. The 60
                         minutes does not include any scheduled briefing or debriefing
                         time. For international flying, the minimum connect time is
                         increased to 75 minutes. The minimum connect time for Open
                         Time purposes may be increased as operational needs require.

                         Example: A trip ends in DEN with a flight from SLC which is
                         scheduled to arrive at 1400. A Flight Attendant scheduled for this
                         trip would be allowed to trade/ pick up another trip which is
                         scheduled to depart to MCI at 1500 on the same day. If the MCI
                         flight was scheduled to depart at 1459, this request would be
                         denied since the minimum connect time of 60 minutes would not
                         be satisfied.

                 8.      A Flight Attendant is responsible for checking Open Time
                         responses in the Automated Bid System. Approved bids will be
                         considered confirmation of awards unless otherwise described in
                         this Agreement.

                 9.      If a Flight Attendant goes on OJI, FMLA, medical, or maternity
                         leave during any given bid period and is not able to complete
                         his/her bid period, his/her remaining trips will be placed in Open
                         Time for all eligible Flight Attendants to bid.

                 10.     Pay -protected trips dropped for Company Business may be
                         assigned to Reserves to prevent excessive cost to the Company.

                 11.     The Company may put Ready Reserve shifts into Open Time
                         These days may be bid on as any other open trip and will be
                         credited as outlined in the Reserve section.

                 12.     For purposes of ADD /SWAP requests, a minimum of 1 calendar
                         day off scheduled in base during every 7 -day period will be
                         required. A Flight Attendant may not waive this requirement.

                 13.     If the Automated Bid System allows an approval of a transaction
                         that contradicts these rules, the Company will not pay protect the
                         Flight Attendant.

                 14.     AVA DROPS will be processed in the Automated Bid System and
                         be based on staffing. A drop request will require the drop of all
                         continuous AVA days that originated from the same multiday trip.
                         Credit for AVA days will not be pay protected if dropped.

                 15.     AVA SWAPS for Open Time will be processed in the Automated Bid
                         System. A swap request will require the drop of all continuous AVA
                         days that originated from the same multiday trip. The SWAP
                         request must meet minimum staffing and rest requirements.
                         Credit from AVA will not be pay protected if the Flight Attendant
                         opts to SWAP it for a trip in Open Time.


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                 16.     AVA cannot be split for DROP /SWAP purposes.

                 17.     A Flight Attendant may add a trip adjacent to AVA status as long as
                         duty and calendar day limits are not exceeded based on the
                         combination of the trip's duty day and the scheduled AVA
                         availability.

                 18.     In no case will the Flight Attendant be paid for both the AVA and a
                         trip picked up in Open Time if the AVA trip and an added trip would
                         have resulted in a conflict.

                 19.     An Open Time trip cannot be split to accommodate AVA SWAP
                         requests.

        L.       OPEN TIME - MINIMUM CREDIT REQUIREMENTS

                 1.      At the completion of each Bid Period each Flight Attendant must
                         accumulate a minimum of 60 credit hours. At no time will a Flight
                         Attendant be allowed to drop below 45 credit hours, except as
                         provided for in this Agreement. For purposes of the credit
                         calculation described in this paragraph, artificial credit will be
                         applied to unpaid absences. The value of such unpaid absences
                         will be determined based on the "Returning from Leave Mid
                         Month" table in paragraph 5.D above. Any artificial credit applied
                         as outlined here will not be included in the actual pay calculation
                         for the bid period.

                 2.      If a Flight Attendant's projected credit value for the current bid
                         period is less than 60 hours, the Company may adjust the Flight
                         Attendant's schedule to bring the line value above 60 hours
                         through Credit Balancing. If the Company opts to use Credit
                         Balancing, the schedule will be adjusted between 1400 on the
                         7th and 1400 on the 8th of the month. Credit Balancing may
                         include any of the following:

                         a.          Adding trips to the schedule from Open Time

                         b.          Swapping trips on the schedule for trips in Open Time

                         c.          Assigning AVA days to the schedule

                 3.      If the Company assigns AVA days during the Credit Balancing
                         process, these AVA days will be credited 4 hours or the value of
                         the actual trip flown, whichever is greater. The availability window
                         for the AVA days will be from 0001 until 2400 (base local time) on
                         each of the assigned AVA days.

                         At the conclusion of each bid period the Company will calculate
                         accumulated credit for each Flight Attendant including actual
                         credit and artificial credit as described above. If a Flight
                         Attendant's total bid period credit is less than 60 hours the Flight

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                         Attendant will be denied access to the Automated Bid System
                         Open Time or the TradeBoard for three subsequent bid periods.
                         During this penalty period the Flight Attendant will not be
                         permitted to participate in any voluntary
                         ADD /DROP/SWAP /TRADE processes and must fly his/her line as
                         awarded in the Automated Bid System. If the Flight Attendant is
                         not awarded a regular line through the Automated Bid System
                         then that bid period will not be counted as one of the three bid
                         period for purposes of this penalty.

                 5.      In the event a Flight Attendant falls below the 60 or 37:30 hour
                         requirement two consecutive bid periods in a row, the three bid
                         period penalty period does not start over. It runs concurrent with
                         the previous bid period's penalty.

                         Example: If FA Julie fell below 60 hours in June and she also fell
                         below 60 hours in July, she would be restricted from the
                         Automated Bid System for Daily Open Time and the TradeBoard
                         for the bid periods of August, September, October, and November.

        M.       DAILY OPEN TIME LIVE (FIRST-COME FIRST -SERVED)

                 1.      All available Open Time will be displayed in the Automated Bid
                         System. A Flight Attendant may submit requests in the Automated
                         Bid System to modify his/her schedule using ADD /DROP/SWAP
                         with Open Time on a first -come first -served basis.

                 2.      It is the Flight Attendant's responsibility to enter or remove an
                         Open Time request in the Automated Bid System. Crew Scheduling
                         and/or Inflight Management will not enter, modify, or remove any
                         request in the Automated Bid System for a Flight Attendant.

                 3.      Because trips that must be modified (irregular ops, sick calls mid -
                         trip, schedule changes, etc.) are temporarily dropped into Open
                         Time in order for Crew Planning/ Scheduling to make the
                         adjustment, it is possible that a trip may appear to be available for
                         ADD /DROP/SWAP when that is not the case. If a Flight Attendant
                         is awarded one of these trips, Crew Planning/Scheduling may
                         reverse the Automated Bid System award. This does not
                         constitute an error on the part of Crew Planning/ Scheduling, and
                         the Flight Attendant will not be pay-protected.

        N.       TIMELINE

                 1.      Open Time Live will begin at 1400 on the 19th of each month and
                         will be available through 1400 on the next to last day of the bid
                         period. To prevent any conflict with the preferential bidding
                         process, trip trades and Open Time requests to add or swap duty
                         periods on the Flight Attendant's schedule on the last 6 days of
                         the bid period will not be allowed between 1100 on the 10th and
                         1400 on the 18th.


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                 2.      Unassigned trips will remain in Daily Open Time Live and available
                         for ADD /SWAP requests until 1400 the day prior to the trip report.

                 3.      Unlimited requests for Daily Open Time Live are allowed until
                         1400 the day prior to trip report. (For next day requests, Open
                         Time closes at 1400 the day prior to the trip start).

                 4.      Reserve coverage for carryover trips will not be available until
                         after the next bid period's Reserve lines are posted at 1400 on
                         the 18th.

        O.       DROPS, ADDS, SWAPS AND SPLITS

                 1.      Open Time trips may only be split into two parts. The split must
                         begin and end in base. A Flight Attendant may not split one day
                         trips.

                         A Flight Attendant may SWAP a portion of a trip for an entire trip or
                         entire trip for a portion of a trip. A Flight Attendant may not SWAP
                         a portion of one trip for a portion of another trip.


                 3.      Requests must be in compliance with duty and rest limitations as
                         established by this Agreement.

                 4.      Minimum reserve staffing requirements will be set by the
                         Company on a monthly basis for each day in the bid period.
                         Weekends (Friday -Sunday), holiday periods, and the first and last
                         3 days of each bid period will have a higher reserve staffing
                         minimum. DROPS will not be approved if the days impacted are at
                         or below established minimum staffing requirements when the
                         DROP request is processed.

                 5.      For purposes of DROP /SWAP in Open Time Live, the Company
                         must consider staffing minimums on all days included in the trip.

                         Example: If a Flight Attendant requests to drop a trip that reports
                         at 1800 on the 23rd and releases at 0100 on the 25th, the
                         Automated Bid System will consider staffing requirements for
                         each day the trip touches, the 23rd. 24th, AND 25th.

                         No SWAPS are allowed between bid periods.

                         Example: If a Flight Attendant is trying to SWAP a trip in May,
                         he/she must pick up a trip in May. The Flight Attendant cannot
                         pick up a trip in June.

                 IRREGULAR OPERATIONS

                 1.      At the discretion of the Company, during irregular operations,
                         Flight Attendants may pick up Open Time trips after 1400 the day
                         prior to a trip. The cut off time for picking up these trips will be
                         three hours prior to the report time of the open trip. After that


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                         point, open trips will be assigned to the next legal and available
                         Reserve Flight Attendant pursuant to the Reserve assignment
                         procedures of this Agreement,

                 2.      Flight Attendants will only be able to request a trip ADD over the
                         phone by calling Crew Scheduling. These will be awarded on a
                         first come, first served basis. DROP /SWAP will continue to be
                         pursuant to the terms contained in this Agreement. Flight
                         Attendants will be notified when this provision is in effect via the
                         Automated Bid System ticker message, an update to the Crew
                         Scheduling phone greeting, and, if possible, a notice on the
                         Inflight homepage of MyFrontier.org.


        Q.       TRIP TRADES

                 1.      A Flight Attendant may trade any trip on his/her current schedule
                         with another Flight Attendant. Requests must be in compliance
                         with duty and rest limitations as established by this Agreement.

                 2.      The TradeBoard will open at 1400 on the 18th. Whole trip trades
                         must be submitted by 2000 the day prior to trip report. Split trips
                         must be submitted by 1400 the day prior to trip report.

                         TradeBoard split closes for the current bid period at 1400 on the
                         26th of the month.

                         All trip trades will be completed via the Automated Bid System
                         TradeBoard or TradeBoard Split.

                         Line holders and Reserves are eligible for trip trades. Reserves
                         using the trip trade process will be subject to limitations set forth
                         by this Agreement.

                         One-way trip trades must also be submitted via the Automated Bid
                         System TradeBoard.

                 7.      Unlimited trip trading between Flight Attendants is available
                         through the Automated Bid System TradeBoard for full and partial
                         trips within the parameters set forth in this Agreement or, the
                         FARs.

                 8.      The Flight Attendant is responsible for entering or removing,a trip
                         trade request in the Automated Bid System. Neither Crew
                         Scheduling nor Inflight Management will enter, modify, or remove
                         any request in' the Automated Bid System for a Flight Attendant.

                         No trades are allowed between bid periods.

                         Example: If a Flight. Attendant is trying to trade a trip in May,,
                         he/she must trade for a trip in lMay. The Flight Attendant cannot
                         trade a trip in June.


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                 10.     To prevent any conflict with the preferential bidding process,
                         TRADE requests on the last 6 days of the bid period will not be
                         allowed between 1100 on the 10th and 1400 on the 18th.

        R.       TRADE BOARD TRANSFER

                 1.      At 1400, any DROP request on the TradeBoard for the following
                         day may be transferred by the Company to Aggressive Reserve
                         Open Time or assigned during the Reserve Trip Assignment
                         process. The approval of these requests will be reflected in the
                         Automated Bid System and based on, but not limited to, available
                         staffing, length of trips, and operational factors.

                 2.      Flight Attendants will be responsible to check for approved
                         requests in the TradeBoard Folder on the Automated Bid System
                         after 2000 the day prior to the trip report time.

        S.       ADMINISTRATIVE AND/OR DAILY OPEN TIME ERRORS

                 1.      If Crew Planning/Scheduling or Inflight Management makes an
                         administrative error, or an error in Daily Open Time Live or Daily
                         Open Time Split, and a Flight Attendant is removed from, or not
                         awarded, a trip he/she should have been given, he /she has the
                         option of the following:

                         a.        The Flight Attendant will be offered a like trip if it is
                                   available. The like trip will be based on the Reschedule
                                   or Reroute parameters set forth in this Agreement,
                                   whichever is applicable. The Flight Attendant will be pay
                                   protected for the greater of the trips.

                         b.        If no like trip is available, the Flight Attendant may be
                                   considered AVA.

                         c.        The Flight Attendant may refuse the like trip or the AVA
                                   and receive no compensation.

                         It is the Flight Attendant's responsibility to bring an error to the
                         attention of Crew Planning/Scheduling for review as soon as
                         he/she discovers the error. If the error is not brought to the
                         attention of the Company in a timely manner, the Company may
                         not be able to rectify the error and the Flight Attendant may forfeit
                         any applicable pay protection.

                         Example: On August 1st a Flight Attendant submits a request to
                         add a trip on August 15th. The trip is awarded incorrectly to
                         another Flight Attendant. The Flight Attendant who should have
                         been awarded the trip discovers this error on August 2nd but does
                         not contact Crew Planning regarding the error until August 15th -
                         1 hour prior to the scheduled report time of the trip. In this case
                         there is no guarantee that the Company can rectify this error.

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                          If the ADD /DROP /SWAP/TRADE conflicts with any of the terms
                          outlined in this Agreement, the Flight Attendant will not be pay
                          protected for the trip.

       T.        NON- AWARDED OPEN TIME TRIPS

                 Non -awarded Open Time trips will be awarded in the following order:

                 1.       Available to Assign (AVA).

                 2.       Reserve Flight Attendants (RSV).

                 3.       Willing to Fly (WIL).

                 4.       Junior Assignment (JRA) of Reserves and Line Holders.

                 5.       Any Frontier employee who is Flight Attendant qualified and
                          current to perform Flight Attendant duties, including supervisors,
                          instructors, and managers.

        U.       WILLING TO FLY LIST (WIL)

                          The Company will maintain a Flight Attendant's WIL status in
                          CrewTrac.

                          A Flight Attendant will contact Crew Scheduling by phone to
                          request that he/she be added to Will Fly status. Crew Scheduling
                          will place the WIL code on the Flight Attendant's line for each date
                          he/she is available. Requests will only be taken once a bid period
                          is available in CrewTrac. The Flight Attendant will also be
                          responsible to contact Crew Scheduling to be removed from WIL.

                 3.       Open trips will be offered in seniority order to those Flight
                          Attendants on WIL status.

                 4.       If the Flight Attendant cannot be contacted, Crew Scheduling will
                          attempt to contact the next WIL Flight Attendant in seniority order,
                          based on legality for the trip and number of days the Flight
                          Attendant is available for WIL.

                 5.       Crew Scheduling will make an attempt to contact the Flight
                          Attendant at up to two phone numbers, provided two are
                          available.

                 6.       A Flight Attendant will have the option to pass on the assignment.


                 7.       A Reserve is eligible for WIL on days off.




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        V.       JUNIOR ASSIGNMENT (JRA)

                 1.      JRA will be the last resort for Crew Scheduling.


                 2.      JRA will be completed in reverse order of seniority.

                 3.      A Flight Attendant on vacation will not be JRA'd.


                         JRA'd Flight Attendants will not be assigned more than one night
                         away from base.

                         A Flight Attendant may request to remain on a trip that involves
                         more than one night away from base.

                         JRA'd Flight Attendants will be compensated at one and a half
                         times his/her hourly rate. No additional day off will be given in lieu
                         of a JRA.

                         Flights that were originally scheduled to depart before midnight
                         but do not, due to irregular operations, are not considered to be a
                         JRA and will not be paid at JRA pay.

                 8.      A Flight Attendant will not be JRA'd more than once during a bid
                         period unless the Flight Attendant agrees to the assignment. If the
                         company attempts to JRA a Flight Attendant while he /she is
                         operating an assignment accepted through the Willing to Fly
                         provisions of this Article, the Flight Attendant may decline the JRA.

                 9.      Before the Company begins to JRA, Crew Scheduling may ask any
                         Flight Attendant to volunteer for the open trip.

                 10.     If Crew Scheduling is in a JRA position, the Crew Schedulers must
                         identify themselves and state, "We are Junior Assigning Flight
                         Attendants for          and we have reached your name on the
                         Junior Assign List."

                 11.     Prior to canceling a flight, the Company will contact any Frontier
                         Company employee who is FAA-qualified and current to perform
                         Flight Attendant duties.

                 12.     Days worked by such Frontier Company employees will be
                         considered duty for legality purposes.

                 13.     The Company will maintain a JRA log including a minimum of the
                         following information:

                         a.          Flight Attendant's Name;

                         b.          Seniority Number;

                         c.          Telephone Numbers Contacted;



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                         d.        Beginning and End Time of JRA Process;

                         e.        Result or Response; and

                         f.        Name of Crew Scheduler processing the JRA list.

                 14.     If a Reserve Flight Attendant calls to request a release from duty
                         while Crew Scheduling is Junior Assigning, he /she cannot be JRA'd
                         without his/her consent during that phone call.

        W.       SCHEDULE CHANGES/REASSIGNMENTS

                 1.      General

                         a.        In the event that the Company cancels or revises a flight
                                   schedule for operational or marketing purposes, the
                                   Flight Attendant will be subject to reassignment per
                                   Reschedule or Reroute parameters as set forth in this
                                   section.

                         b.        A Flight Attendant reassigned from his/her regularly
                                   scheduled assignment will receive the greater of the
                                   original scheduled assignment or actual reassignment
                                   for flight time pay and credit.

                         c.        Any change that causes an illegality or conflict with the
                                   next trip or a training event on a Flight Attendant's line
                                   will be adjusted. Crew Scheduling will determine where
                                   the adjustment will be made to remove the conflict. The
                                   Flight Attendant will be pay protected for the adjustment
                                   resulting from a Reschedule or Reroute.

                         d.        A Reserve Flight Attendant who picks up a trip on his/her
                                   day(s) off will be considered a "Line Holder" for any
                                   schedule changes or irregular operations that may
                                   impact the trip.

                         e.        If a trip modification involves only a flight number
                                   change where no destinations or scheduled arrival or
                                   departure times are modified, the Company is not
                                   required to contact the Flight Attendant to advise of this
                                   change.

                 2.      Reschedule

                         a.        "Reschedule" is defined as a change to a trip prior to
                                   1800 (base local time) the day before an initial trip
                                   report.

                         b.        "Initial Trip Report" is defined as the day and report time
                                   for the first day of a single or multiday trip.


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                         c.   A Flight Attendants availability will begin 1 hour prior to
                              original trip report and will end no more than 3 hours
                              after the original scheduled trip release time, not to
                              exceed duty limitations.

                         d.   To be considered a Reschedule, the trip change and an
                              attempt to notify the Flight Attendant must be made no
                              later than 1800 (base local time) the day prior to Initial
                              Trip Report.

                         e.   If the Flight Attendant desires to keep the revised trip,
                              he/she may opt to accept a Reschedule with a
                              report/release time earlier/later than the limitations in
                              this provision.

                         f.   If a Reschedule requires a Flight Attendant to report
                              earlier than originally scheduled, Crew
                              Planning/Scheduling will make all reasonable efforts to
                              notify the Flight Attendant in a timely manner. Upon
                              receipt of a message regarding the Rescheduling, the
                              Flight Attendant is responsible for confirming the
                              message in a timely manner. If Crew Scheduling has not
                              received confirmation from the Flight Attendant at least
                              three hours prior to the new scheduled report time, the
                              Flight Attendant will be removed and replaced on the trip
                              until such point that it passes through base. The Flight
                              Attendant will not be paid for the lost flight segments.

                              Example: A Flight Attendant is scheduled for a charter
                              pairing on the 15th of the month. On the 1st of the
                              month, a Reschedule occurs and the report time is
                              adjusted from 1100 to 1015. Over the next two weeks,
                              Crew Planning leaves multiple messages for the Flight
                              Attendant at both contact numbers provided. The Flight
                              Attendant personally receives these messages but does
                              not confirm them with Crew Planning/Scheduling. At
                              0715 on the 15th, this Flight Attendant will be removed
                              from this trip and the trip will be assigned to another
                              Flight Attendant to ensure an on -time operation.

                         g.   For charter flying, a Flight Attendant's availability will
                              begin 2 hours prior to original trip report and end no
                              more than 5 hours after original trip release. All changes
                              to charter trips will fall under this section, regardless of
                              the time the change is made.

                         h.   If Crew Scheduling is unable to reach the Flight
                              Attendant before he/she departs for the airport and
                              he/she reports for the original departure time, his/her
                              duty day begins at the originally scheduled report time

                              A Reschedule is not considered an irregular operation.



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                         Reroute

                         a.        "Reroute" is defined as a change to a trip after 1800
                                   (base local time) the day prior to initial trip report.

                                   A Flight Attendant's availability will end no more than 2
                                   hours after the original scheduled trip release time.

                         c.        If a Flight Attendant has reported for a trip in base and
                                   his/her scheduled flight has been cancelled prior to
                                   report time, the Flight Attendant will be available for
                                   reassignment provided notification of the assignment is
                                   made within one hour of scheduled report time. The
                                   reassignment will be for a flight that is scheduled to
                                   depart within three hours of the original departure time
                                   of the cancelled flight.

                         d.        If a Flight Attendant has reported for a trip and after
                                   report his/her scheduled flight is cancelled, the Flight
                                   Attendant will be available for reassignment provided
                                   notification of the assignment is made within one hour
                                   of the time of the flight's cancellation or within one hour
                                   of the Flight Attendant's inbound arrival time if operating
                                   from an outstation. The reassignment will be for a flight
                                   that is scheduled to depart within three hours of the
                                   original departure time of the cancelled flight.

                         e.        In an operational Reroute,    if a flight is cancelled and
                                   there is no other Frontier flight available to return the
                                   crew (working or deadhead status) to base within the 2-
                                   hour limit, the crew will be assigned on the next
                                   available Frontier flight.

                         f.        If the next available Frontier flight is not scheduled to
                                   operate until the following calendar day and the crew is
                                   not required to operate that flight, then an alternate
                                   carrier may be considered for an earlier deadhead return
                                   to base.

                         g.        A crew swap for operational needs will be considered a
                                   Reroute.

                         h.        Crew Scheduling will attempt to notify a Flight Attendant
                                   of any change to a trip as soon as possible. If a Flight
                                   Attendant sees a change to his/her schedule or
                                   encounters an irregular operation, but has not been
                                   notified the Flight Attendant must contact Crew
                                   Scheduling for possible reassignment.

                                   If a trip modification involves only a flight number
                                   change with no destination or scheduled arrival or


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                                  departure times modified, the Company is not required
                                  to contact the Flight Attendant to advise of this change.

                                   If the Flight Attendant desires to keep the revised trip,
                                   he/she may opt to accept a "Reroute" with a
                                  report/release time earlier/later than the limitations in
                                  this provision.

                         k.       When a Flight Attendant's originating trip of the day is
                                  delayed and he/she is notified of the delay prior to
                                  leaving for the airport, the trip report time will be
                                  modified by Crew Scheduling and the duty day will reflect
                                  the new report time.

                         I.       A Reroute will be considered an irregular operation if the
                                  crew has reported for duty.

                 4.      Notification Of A Flight Attendant

                         a.       Crew Scheduling will call up to two of the Flight
                                  Attendant's phone numbers available in CrewTrac (or
                                  replacement software) to notify him /her of a change to
                                  his/her schedule. If it is necessary to contact a Flight
                                  Attendant during a FM required minimum rest period,
                                  Crew Scheduling may make one phone call attempt to
                                  each contact number listed by the Flight Attendant.

                         b.        In base, a Flight Attendant will not be called or paged
                                  between 2130 -0630 (base local time) except when the
                                  Flight Attendant must be contacted immediately due to
                                  one of the following:

                                  (i)        Emergency;

                                  (ii)       To prevent an operational issue;

                                  (iii)      Junior assignment;

                                  (iv)       Reserve as required by this Agreement.

                         c.       On a layover, a Flight Attendant will not be called or
                                  paged between 2130- 0630 (base local time) except
                                  when the Flight Attendant must be contacted
                                  immediately due to one of the following:

                                  (i)        Emergency;

                                  (ii)       To prevent an operational issue;

                                  (iii)      Reserve as required by this Agreement.

                         d.        During a layover, Crew Scheduling will attempt to limit


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                                    calls to the first two hours or the last two hours of the
                                    layover, unless required to do otherwise due to the
                                    reasons outlined above.

                         e.         If a message is left at a Flight Attendants phone contact
                                    number, it is the Flight Attendants responsibility to make
                                    positive contact with Crew Scheduling to verify change(s)
                                    to his /her schedule.

        X.       AVAILABLE TO ASSIGN (AVA)

                 1.      If the entire trip is cancelled, the Flight Attendant will be placed on
                         Available to Assign (AVA) status.

                 2.      Assignment will be based on Reroute or Reschedule parameters,
                         whichever is applicable. In addition:

                         a.         No Red -Eye/CDO pairing will be assigned, unless the
                                    original pairing contained a Red-Eye /CDO. Exception:
                                    AVA assigned as part of an Award when no trip had
                                    originally been on the Flight Attendant's schedule.

                         b.         There will be no pairing assigned that includes a sit time
                                    in excess of 3 hours in length, unless this sit time was
                                    part of an original pairing that was published in the
                                    monthly bid package or the sit time is part of a pairing
                                    that was created by a Flight Attendant through an Open
                                    Time or trade transaction.

                         All Flight Attendants on AVA status will be available for assignment
                         in a junior to senior order, after number of days and time available
                         are considered.

                 4.      The Flight Attendant will be required to call to verify
                         reassignment/release for each calendar day of AVA status. This
                         call must be made between 1700 and 1800 base local time the
                         day prior to each day of AVA status.

                         Example: If a two-day trip reporting on the 21st and releasing on
                         the 22nd is cancelled, and notification given per "Reschedule"
                         parameters, the Flight Attendant must call in for
                         reassignment/release between 1700 and 1800 base local time
                         on the 20th and 21st. If the Flight Attendant is released they will
                         be pay protected for the original trip credit.

                         A Flight Attendant on AVA status will be assigned prior to a
                         Reserve.

                         If the Flight Attendant does not want to remain on AVA status,
                         he/she may request to DROP/SWAP AVA through the Automated
                         Bid System.




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       Y.        DOUBLE COVERED

                 1.      If more than one Flight Attendant is assigned the same trip and
                         position and neither Flight Attendant has been notified of the
                         double assignment before report, the most senior Flight Attendant
                         has the option to fly the trip or be displaced. The displaced Flight
                         Attendant will be pay protected for flight hours lost.

                         If more than one Flight Attendant is awarded the same trip and
                         position and the error is discovered prior to report, Crew
                         Scheduling must offer a like trip to the Flight Attendants. The
                         Flight Attendant first awarded the trip has the first option of the
                         following:

                         a.         Fly the awarded trip as scheduled;

                         b.         Fly a like trip and receive compensation for the greater
                                    of the two trips;

                         c.         Refuse to fly either trip and receive no compensation; or

                         d.         Be assigned AVA as detailed under Reschedule.

                 3.      The second Flight Attendant has the option of 2.b -d above only
                         when the first Flight Attendant has chosen to fly the awarded trip.

        Z.       EQUIPMENT DOWNGRADE

                 1.      When a flight on an A320 is downgraded to an A319 or A318, the
                         Company, at its sole discretion, will exercise one of the following
                         options:

                         a.         Operate the A319 or A318 with four working Flight
                                    Attendants to maintain schedule integrity and /or
                                    necessary crew routing.

                         b.         Remove an extra Flight Attendant from the trip and
                                    reassign him or her to another trip employing
                                    Reschedule or Reroute parameters, whichever Is
                                    applicable. The Flight Attendant to be reassigned will be
                                    determined as follows:

                                    (i)       If all Flight Attendants are on a single pairing,
                                              the opportunity for reassignment will be offered
                                              in seniority order to the Flight Attendants on
                                              the pairing carrying the surplus position, with
                                              the three most senior Flight Attendants having
                                              the right of refusal. The junior Flight Attendant
                                              will be reassigned if the three more senior
                                              Flight Attendants pass on the reassignment.

                                    (ii)      If a Flight Attendant was added to the pairing


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                                             from a different pairing, the added Flight
                                             Attendant will be reassigned.

                         If there is no need to leave the A319 or A318 with four working,
                         crewmembers or there are no reassignment options available, one
                         Flight Attendant will be released from duty and pay protected. The
                         Flight Attendant to be released will be determined in the same
                         manner as 1.b of this section.

                 3.      If any of the above provisions are exercised and there is a
                         resulting vacancy in the FA, FB, or FC positions, the Flight
                         Attendant originally assigned to the FD position will fill that vacant
                         position.

        M.       DISPLACEMENT

                 1.      A Flight Attendant displaced by a Company employee who is FAA -
                         qualified and current to perform Flight Attendant duties will be pay
                         protected for any trip or part of trip from which he/she is removed.
                         The Company will notify the displaced Flight Attendant as soon as
                         possible of the displacement.

                         A displaced Flight Attendant will be released from duty and may
                         be offered any available Open Time by Crew Scheduling. The
                         displaced Flight Attendant may.accept or decline the Open Time
                         offer.

        BB.      DECLARED IRREGULAR OPS

                         A Declared Irregular Operations (D10) 'is defined as any short -term
                         event such as weather or airport closure that significantly disrupts
                         or that is predicted to significantly disrupt at least 25% of the total
                         daily system flight segments. A DIO may be declared by the VP of
                         Flight Operations or the Director of.System Operations Control (or
                         a position they report to) based on a known or predicted event.


                         This provision is intended to provide the Company greater
                         flexibility to operate during, and reestablish normal scheduled
                         operations after, a DIO. Notice of the beginning and the end of a
                         DIO will be included as a CrewTrac message to all Flight
                         Attendants. Any DIO will also be posted on MyFrontier.org.

                 3.      During a DIO, Crew Scheduling will be allowed reasonable relief
                         from Reschedule and Reroute limitations as necessary to conduct
                         operations and to reestablish normal scheduled operations.

                         During a DIO, information for Flight Attendants will be posted at
                         www.MyFrontier.org \departmen'ts \inflight (if not on the myfrontier
                         home page). Flight cancellations will be posted at
                         www.FrontierAirlines.com, but crews must receive notification
                         through Crew Scheduling.



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                 5.      During a DIO and recovery, a Flight Attendant who is sent to a
                         Crew Hotel and remains an extended period of 8 hours and 15
                         minutes or more, beyond block -in will be considered to be
                         released to rest until reassignment. 24 hours at rest in an out-
                         station or in base will meet FAR requirements for the 24 hours in
                         7 days.


                         Example: A crew scheduled for a DFW turn is sent to the hotel in
                         DFW at 2000 because the return segment is cancelled due to DIA
                         closure. The crew begins normal lay -over rest (though they are not
                         released from reassignment). They are reassigned at 1800 the
                         second day to depart at 0600 the third day. This crew has had
                         legal rest as well as a 24 in 7 break for purposes of legality.

        CC.      DEADHEADING (DH)

                 1.      A deadheading Flight Attendant is one who is flying positive space
                         on duty to or from a working assignment.

                 2.      In uniform


                         a.        Should not call undue attention to himself/herself, but
                                   may engage in personal endeavors (reading, writing
                                   letters, etc.); use discretion if seated on jumpseat in view
                                   of passengers.

                         b.        May sleep in an assigned passenger seat but may never
                                   sleep on the jumpseat.

                         c.        Must not consume alcohol.

                                   A deadheading Flight Attendant is not considered to be
                                   part of the minimum crew; therefore, the deadheading
                                   Flight Attendant must not interfere (unless specifically
                                   requested) in any aspect of the operation.

                 3.      Out of uniform:

                         a.        Must wear business attire appropriate for representing
                                   the Company.

                                   All other rules apply as stated above.

                         A Flight Attendant scheduled to deadhead from base will report 60
                         minutes prior to departure in CrewTrac (or replacement software)
                         and will report to the gate 30 minutes prior to departure.

                 5.      A Flight Attendant scheduled to Deadhead from an outstation will
                         report to the gate 30 minutes prior to departure.

                 6.      A Flight Attendant may be assigned, in reverse seniority order, the
                         Flight Attendant jumpseat if the flight is full and revenue


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                         passengers will be left behind. If the flight is full but only non -
                         revenue passengers will be left behind, then the deadheading
                         Flight Attendant may occupy thejumpseat at his/her discretion.

                         A Flight Attendant who is required by the Company to deadhead to
                         or from any station for the purpose of covering or returning from a
                         flying assignment will be credited with 50 percent of the
                         scheduled flight time of the deadhead trip. This provision will also
                         apply when deadheading is by surface transportation and made in
                         lieu of air transportation as though the deadheading were
                         performed by air transportation.

                 8.      Deadhead time will be included in duty time. A Flight Attendant
                         may not deadhead during any rest break required by crew
                         legalities.

                 9.      A Flight Attendant deadheading at the end of a trip for the
                         purpose of returning to his/her base will be scheduled on the first
                         scheduled Company flight. A Flight Attendant must contact Crew
                         Scheduling to be released from duty if the Flight Attendant alters
                         or deviates from the original deadhead flight assignment.

                 10.     Deviation from Scheduled Deadheads

                         A Flight Attendant may deviate from Scheduled Deadheads under
                         the provisions below. If the Flight Attendant deviates from the
                         Scheduled Deadhead, the Flight Attendant will be responsible for
                         arranging his /her own transportation.

                         a.        Lineholders - Outbound from Base

                                   (i)        A Flight Attendant scheduled to Deadhead on
                                              the first leg of a Sequence will call Crew
                                              Scheduling no less than 24 hours in advance
                                              to notify them that they will not be taking the
                                              Deadhead flight.

                                   (ii)       Following the initial notification, a Flight
                                              Attendant scheduled to Deadhead on the first
                                              leg of a Sequence will call Crew Scheduling to
                                              check -in at least 3 hours but no more than 4
                                              hours prior to the scheduled departure of the
                                              Deadhead leg.

                                   (iii)      The Flight Attendant is also responsible for
                                              reporting to Crew Scheduling from his/her
                                              scheduled operating flight at the gate of
                                              departure at least 1 hour, but no more than 2
                                              hours prior to scheduled departure for the first
                                              operating leg_ For International flights, the
                                              check -in will be at least 1 hour and 15 minutes
                                              but no more than 2 hours and 15 minutes prior


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                                        to scheduled departure for the first operating
                                        leg.

                              (iv)      The Flight Attendant must contact Crew
                                        Scheduling as soon as possible if the Flight
                                        Attendant encounters any delays that might
                                        affect the Flight Attendant's check -in time for
                                        the operating flight.

                              (v)       Should a Flight Attendant decide to deviate
                                        from his/her scheduled deadhead, the
                                        deadhead leg will be removed and not paid.
                                        This will postpone the duty time and the Flight
                                        Attendant's per diem until his/her actual duty
                                        period begins.

                              (vi)      A Flight Attendant may be required to come to
                                        base if that Flight Attendant has been
                                        Rescheduled or Rerouted.

                         b.   Lineholders - Inbound to Base

                              (I)       If a Flight Attendant, scheduled to Deadhead
                                        on the last leg of a Sequence, intends not to
                                        Deadhead to base, the Flight Attendant will call
                                        Crew Scheduling in advance. The Flight
                                        Attendant will not be reassigned during this
                                        notification call to Crew Scheduling except to
                                        work the Deadhead leg.

                              (ii)      Flight Attendants electing to take an on -line
                                        flight other than their originally scheduled
                                        Deadhead flight may travel on a space -
                                        available basis in accordance with Company
                                        policy. Should a Flight Attendant decide to
                                        deviate from his/her scheduled deadhead, the
                                        deadhead leg will be removed and not paid.
                                        This will also end the Flight Attendant's per
                                        diem.

                         c.   Reserve Flight Attendants

                              (i)       A Reserve Flight Attendant may alter or deviate
                                        from the original deadhead flight assignment
                                        only if the deadhead is the final leg of a trip
                                        and he/she has previously contacted Crew
                                        Scheduling.

                              (ii)      Should a Reserve Flight Attendant decide to
                                        deviate from his /her scheduled deadhead, the
                                        deadhead leg will be removed and not paid.
                                        This will also end the Flight Attendant's per


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                                              diem.

                                   (iii)      If a Reserve Flight Attendant chooses to
                                              deviate from the original assigned deadhead
                                              assignment, he /she is responsible for his/her
                                              own travel and is still considered to be on duty
                                              at the arrival time of the originally scheduled
                                              deadhead flight unless released by Crew
                                              Scheduling.

                                              Example: Flight Attendant Jenny is on
                                              Reserve. She was scheduled for a Kansas City
                                              overnight with a deadhead home the next
                                              afternoon at 1615. Jenny would like to come
                                              home immediately after arriving in Kansas City.
                                              She contacts Crew Scheduling and invokes her
                                              option to deviate from her assignment. Jenny
                                              will be released and allowed to travel home
                                              and will be placed back on duty (Reserve) the
                                              following day at 1700 when she was originally
                                              scheduled to arrive at her base.

        DD.      CHARTER FLYING

                 1.      "Charter Flying" refers to a duty period that includes one or all of
                         the following:

                         a.        Scheduled service required to position to /from a charter;

                         b.        Aircraft ferry flights required to position to /from a
                                   charter;

                         c.        A charter flight.


                         Charter flying may exceed duty limitations given the crew
                         complement satisfies FAR requirements (FAR 121.467).

                 3.      All schedule changes made to charter flying will fall under the
                         "Reschedule" provision of this section, regardless of the time
                         made.

                 4.      Charter flying is client driven not schedule driven, so wait times
                         may be extended.

                 5.      Inflight works with the charter client to plan and provide food and
                         beverage selections on a charter flight. Inflight may provide flight -
                         specific instructions for in- flight service. Flight Attendants working
                         a charter flight must follow the instructions provided.


                 6.      The same FARs and Inflight procedures as scheduled service are
                         in effect for charter flights. Required announcements, compliance
                         checks, etc., must be performed along with any additional


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                         instructions.

                 7.      The Onboard Charter Coordinator (OCC) provided by Frontier acts
                         as a liaison between the client and Frontier to facilitate
                         communication and handle issues that may arise. Not all charter
                         flights require an OCC.

                 8.      Premium Service

                         a.        For charter flights requiring premium service, an
                                   additional Flight Attendant may be assigned

                         b.        Flight Attendant must be premium service qualified and
                                   in good standing.


                         c.        Premium service qualified Flight Attendants will receive
                                   written notification of upcoming charter trips for that bid
                                   period.

                         d.        Premium service qualified Flight Attendants must
                                   provide written notification to Inflight by the deadline.

                         e.        Trips are awarded based on seniority. Trips are assigned
                                   before bids close.




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                                      ARTICLE 6
                              RESERVE FLIGHT ATTENDANTS

        A.       RESERVE FLIGHT ATTENDANTS - GENERAL

                 1.      General Guidelines

                         a.       A "Reserve" is an active Flight Attendant with assigned
                                  days on call but no assigned line of flying.

                         b.       Reserve lines will be constructed with two or more
                                  consecutive days off. A Reserve may choose to waive
                                  down to a single day off via the Automated Bid System
                                  during the Reserve Automated Bid System process. Crew
                                  Planning may adjust a Reserve to a single day off only
                                  for transition periods.

                         c.       Reserve Flight Attendants will be on -call 24 hours,
                                  midnight to midright, as indicated by "R ", "RSV" or
                                  "RSN" (RSN - for Mixed Line holders) on his/her
                                  schedule, unless released by Crew Scheduling.

                         d.       Reserve lines will be constructed with a minimum of
                                  three consecutive "R" days unless adjusted by Crew
                                  Resources for transition periods, which could result in a
                                  single day of Reserve duty.

                         e.       Reserve lines will be constructed with Recurrent Training
                                  as a pre -planned absence and will count toward the 75
                                  hour guarantee_ Recurrent Training must be scheduled
                                  adjacent to a group consisting of three or more
                                  consecutive Reserve days either prior to a block of
                                  Reserve days or following a block of Reserve days.
                                  Recurrent Training will not be scheduled in the middle of
                                  a block of Reserve days or scheduled to create a stand-
                                  alone Reserve day. Reserves attending Recurrent
                                  Training require a minimum of 10 hours rest in base
                                  before and after Recurrent Training.

                         f.       A minimum of 11 days free from duty will be scheduled
                                  in every Reserve line per bid period. A Flight Attendant
                                  awarded a Mixed Line will be scheduled with a minimum
                                  of 10 days free from duty.

                         g.       A Reserve Flight Attendant may be assigned scheduled
                                  and non -scheduled trips as well as Ready Reserve duty.

        B.       CONTACT AND REPORT TIME GUIDELINES

                 1.      A Reserve  Flight Attendant will ensure that Crew Scheduling has
                         reliable contact telephone number(s) for all periods of Reserve
                         and must be available for contact at all times while on Reserve


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                          status, unless released by Crew Scheduling. The contact phone
                          number must have voicemail capability.

                 2.       A Reserve  Flight Attendant must be able to report to the crew
                          lounge or the aircraft, as assigned by Crew Scheduling, within two
                          hours.

                          In the event the Reserve Flight Attendant is left a message while
                          on call -out status, he/she must respond to Crew Scheduling within
                          15 minutes. A Reserve Flight Attendant who fails to respond within
                          15 minutes will be listed as Unable To Contact. If the initial
                          notification attempt was for a short call, the two -hour report time
                          begins at the time Crew Scheduling made the initial call, not at the
                          callback time. The Reserve Flight Attendant is responsible for
                          making the original two -hour report time.

        C.       AGGRESSIVE RESERVE ASSIGNMENTS

                 NOTE: All times will be considered Local Headquarters Time (IND) unless
                 otherwise noted.

                 1.       From 1500 to 1800 all open trips that report on the following
                          calendar day will be made available for bidding in the Aggressive
                          Reserve Folder in the Automated Bid System. Aggressive Reserve
                          awards will be processed prior to the normal Reserve assignment
                          process and will be awarded on a first -requested, first -awarded
                          basis. Aggressive Reserve requests are time -stamped in the
                          Automated Bid System and will be processed in order of the
                          earliest time- stamp to the latest time -stamp.

                          A Reserve Flight Attendant can only bid Aggressive Reserve trips
                          that fall within their available Reserve days. Trips will be awarded
                          on a first -requested, first -awarded basis to Reserve Flight
                          Attendants whose days of availability match the length of the trip.
                          However, a trip may be awarded to a Reserve Flight Attendant that
                          is shorter than the length of available days based on, but not
                          limited to, operational factors and available staffing.

                          Crew Scheduling may deny an Aggressive Reserve bid if the
                          assignment of the trip will result in a Reserve having a projected
                          credit of more than 75 hours for the bid period. This excludes
                          Mixed Line Flight Attendants.

                          A Reserve assignment for the current day will take precedence
                          over an Aggressive Reserve award.

                          Reserves may use the Aggressive Reserve process to combine
                          open trips with an existing assignment. Minimum connection time
                          (60 minutes for domestic; 75 minutes for international) will apply
                          when combining Open Time trips.

                 6.       Reserve Flight Attendants will be responsible to check responses


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                         (Approval /Denial) in the Aggressive Reserve Folder on the
                         Automated Bid System. Approved /Denied bids (Trip, Ready
                         Reserve, Reserve No -Fly Days, etc.), will be published by Crew
                         Scheduling in the Automated Bid System, and will be considered
                         confirmation of awards/denials. All release time requirements will
                         apply.

                 7.      Crew Scheduling may deny an Aggressive Reserve bid if the bid
                         does not satisfy all duty and rest requirements.

                 8.      Trips not awarded through Aggressive Reserve will be assigned
                         through the Trip Assignment Process below.

        D.       TRIP ASSIGNMENT PROCESS

                 1.      Reserve assignments are made based on, but not limited to,
                         accrued bid period credit, days available, Ready Reserve shifts
                         worked during the bid period, and Flight Attendant legality. If
                         multiple Flight Attendants match a trip length (e.g. four days of
                         availability for a four -day trip) the Flight Attendant with the lowest
                         accrued bid period credit will usually receive the trip. A Reserve
                         Flight Attendant's credit calculation will not include any credited
                         time picked up on a Reserve's days off. However, the credit time
                         will include accrued bid period paid days such as Vacation, Sick,
                         Funeral, Jury, Company Business, Union Business and Recurrent
                         Training or other scheduled training.

                         Reserves will be provided as much advance notification of
                         assignments as possible. Reserve assignments for the following
                         day will begin after 1800 (base local time).

                         When a Reserve Flight Attendant is on a day off and needs to be
                         given an assignment for the next day, Crew Scheduling will
                         attempt to contact the Flight Attendant by phone during the hours
                         of 1400 -2300 (base local time).

                         a.        The Flight Attendant is not required to answer the phone
                                   but is responsible for the assignment given.

                         b.        If the Flight Attendant chooses not to return a call from
                                   Crew Scheduling prior to the Reserve day beginning at
                                   0001, Crew Scheduling will notify the Reserve while
                                   he/she is on call -out status.

                         When a Reserve is on a legal rest and needs to be given a new
                         assignment, Crew Scheduling will attempt to contact the Flight
                         Attendant during the first two hours or last two hours of the rest
                         period, unless there is an emergency or operational necessity.

                         A courtesy telephone call from Crew Scheduling during a rest
                         period or day off does not constitute an interruption of a Reserve's
                         rest.


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                         Reserves will not be able to make requests to Crew Scheduling
                         involving specific assignment preferences such as layovers, types
                         of trips, or Ready Reserve shifts, with the exception of requests
                         submitted during the Aggressive Reserve process.

                 7.      A Reserve may not drop or trade a trip assigned by Crew
                         Scheduling.

        E.       RED -EYE ASSIGNMENTS

                 1.      A Reserve   Flight Attendant will be released to 12 hours free from
                         duty when inbound from a red -eye flight into home base. The
                         Reserve Flight Attendant should remind Crew Scheduling that
                         he/she completed a red -eye flight when he/she calls to be
                         released from duty so that the appropriate rest time can be
                         reflected in CrewTrac (or replacement software). A Reserve Flight
                         Attendant will not be assigned to a flight following a red -eye flight
                         unless it is part of the original trip pairing.

                 2.      The Company will not assign a Reserve Flight Attendant to a red-
                         eye flight after an AM Ready Reserve assignment or a previous
                         trip that returns prior to 1400 the same day (base local time),
                         unless the assignment will prevent a Junior Assignment.

        F        READY RESERVE (AIRPORT STANDBY)

                 1.      Ready Reserve shifts will usually be scheduled for six hours and
                         may be adjusted to eight hours as required by operational or
                         staffing needs. Shift start and end times may be adjusted to
                         accommodate schedule changes. Reserve Flight Attendants will
                         submit Ready Reserve shift preferences for the following day in
                         the Automated Bid System Aggressive Reserve Folder between
                         1500 and 1800 and assignments will be based on a first -
                         requested, first -awarded basis for those Flight Attendants who will
                         be assigned Ready Reserve. At no time will a Flight Attendant be
                         assigned a Ready Reserve shift that results in a legality conflict.

                         A Flight Attendant assigned to sit Reserve in another base will be
                         paid per diem as well as provided hotel accommodations when
                         sitting multi -day Reserve assignments. These Reserve
                         assignments will not exceed 6 consecutive days from report to
                         release at his/her base. All work rules applicable to Reserve Flight
                         Attendants apply when assigned Reserve shifts out of base.

                         Ready Reserve shifts will be designated in CrewTrac (or
                         replacement software) as follows:

                         a.          RSA - AM shift
                         b.          RSB - Mid -day shift
                         c.          RSC - PM shift
                         d.          RSD - Night Shift



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                         Ready Reserve shifts will be paid at a 1 -for -2 value (one Credit
                         Hour for every two hours on Ready Reserve). If a Ready Reserve is
                         released early or extended, the credit for the shift will reflect the
                         change. If a Ready Reserve is given a trip while sitting a Ready
                         Reserve shift, the release time and shift credit will be adjusted to
                         reflect an updated 1-for -2 credit and an end time of 0:01 minute
                         prior to the report of the trip assignment. The Ready Reserve will
                         receive both the Ready Reserve shift credit in addition to any flight
                         time flown that day.

                         Example: A Ready Reserve sits six hours in the crew lounge but is
                         not given an assignment. The Ready Reserve is released for base
                         rest and is given three hours credit toward the guarantee for the
                         bid period.

                         Example: A Ready Reserve receives a call from Crew Scheduling
                         for a 1000 report time, flying an ATL turn worth six hours of credit.
                         The Ready Reserve started the day at 0700 and will receive 1:30
                         credit for their Ready Reserve shift from 0700 to 1000, as well as
                         six hours credit for the ATL turn.

                         Example: A Ready Reserve is scheduled to sit for six hours and is
                         released after five hours to crew rest for an early trip the next day.
                         The Reserve will receive 2:30 of credit for actual sit time.

        G.       RELEASE FROM DUTY

                 1.      A Reserve Flight Attendant completing any Reserve assignment
                         will contact Crew Scheduling before leaving the airport for release
                         or reassignment.

                         Reserves will be released from on -call duty after a flight
                         assignment based on the duty day as follows:

                         a.        When the last duty period of an assignment is less than
                                   10 hours, the Reserve will be: given an additional flight
                                   or Ready Reserve assignment; placed back on -call; or
                                   released.

                                   When the last duty period of an assignment is 10 hours
                                   or more, the Reserve will be released to rest or to days
                                   off, except in irregular operations situations.

                 3.      Reserves will be released from Reserve status until report time of
                         their next assignment upon notification of that assignment, based
                         on when the assignment reports the next day. If an assignment for
                         the next day reports before 1200 (base local time), the Reserve
                         will be released at the time of notification until the report time. If
                         the assignment for the next day reports on or after 1200 (base
                         local time), the Reserve will be released at 2359 (base local time)
                         until the report time.



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                         A Reserve returning from a flight assignment at 1600 (base local
                         time) or later on the last day of a block of Reserve days will be:
                         given another flight assignment or Ready Reserve assignment; or
                         released into days off. A Reserve will not be placed back on -call. It
                         will remain the Reserve's responsibility to contact Crew
                         Scheduling for release.

                 5.      A Reserve Flight Attendant who has not been called on his/her
                         last day of a block of Reserve days may call Crew Scheduling after
                         1800 (base local time) to be released into his /her days off.

                 SCHEDULE ADJUSTMENTS

                         Reserve Flight Attendants are able to pick up Open Time and
                         utilize the Flight Attendant TradeBoard. Reserve Flight Attendants
                         will also be permitted to sign up for Will -Fly (WIL) status provided
                         all rest requirements are met.

                 2.      Reserve Flight Attendant Open Time Procedures

                         a.        Reserve Flight Attendants picking up Open Time will be
                                   required to have a minimum 10 hour rest period
                                   before/after any trip report/release. A Reserve must also
                                   be scheduled to have a calendar day off in any seven -
                                   day period. All trip additions are subject to all rest
                                   requirements as set forth by this Agreement and the
                                   FARs.

                         b.        Requests for trips that add duty periods for the last six
                                   days of a bid period will not be allowed until 1400 on the
                                   18th.

                         C.        Reserves will be paid at straight time rate for hours
                                   picked up on days off in addition to their 75 -hour
                                   guarantee. Should a Reserve fly more than 86 hours, the
                                   overtime rate (1.5) will be paid for the hours beyond 86.
                                   Credit for Ready Reserve shifts will apply towards the 86
                                   hours.

                         d.        A Reserve Flight Attendant, on his/her last day of a
                                   Reserve period, who has picked up a trip for the
                                   following day that causes a 10 -hour rest violation, will
                                   not be pay protected for the trip or any portion of the trip
                                   that makes them illegal. The Reserve Flight Attendant
                                   will complete any portion of the added trip that is legal.

                         e.        Reserve Flight Attendants who ADD/SWAP a non -
                                   Reserve trip from Open Time will be considered a Line
                                   Holder for any schedule changes or irregular operations
                                   during that trip.




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                 3.      Reserve Flight Attendant TradeBoard Procedures:

                         a.       Reserve Flight Attendants picking up trips off the Flight
                                  Attendant TradeBoard will be required to have a
                                  minimum 10 hour rest period before /after any trip
                                  report/release. A Reserve must also be scheduled to
                                  have a calendar day off in any seven -day period. All trip
                                  additions are subject to all rest requirements of this
                                  Agreement.

                         b.       Requests for trips that add duty periods for the last six
                                  days of a bid period will not be allowed until 1400 on the
                                  18th.

                         c.       Reserves will be paid at straight time rate for hours
                                  picked up on days off in addition to their 75 -hour
                                  guarantee. Should a Reserve fly more than 86 hours, the
                                  overtime rate (1.5) will be paid for the hours beyond 86.
                                  Credit for Ready Reserve shifts will apply towards the 86
                                  hours.

                         d.       A Reserve Flight Attendant, on his/her last day of a
                                  Reserve period, who has picked up a trip for the
                                  following day that causes a 10 -hour rest violation, will
                                  not be pay protected for the trip or any portion of the trip
                                  that makes them illegal. The Reserve Flight Attendant
                                  will complete any portion of the added trip that is legal.

                         e.       A Reserve Flight Attendant wanting to trade a Reserve
                                  day must have at least one other Reserve day
                                  before/after the Reserve day being traded. The Reserve
                                  day trade cannot result in a single Reserve day. All
                                  Reserve Trades must be Reserve day for Reserve day.

                         f.       Reserve Flight Attendants who ADD /TRADE a non -
                                  Reserve trip from the TradeBoard will be considered a
                                  Line Holder for any schedule changes or irregular
                                  operations during that trip.

                         g        Reserve Flight Attendants may trade Reserve days only
                                  with other Reserve Flight Attendants or Mixed Line
                                  holders.

                 4.      Reserve Day Drop (No -Fly)

                         a.       On days of sufficient reserve coverage, the Company
                                  may offer Reserve No -Fly Days (RNF). Reserve Flight
                                  Attendants will submit a bid for a RNF in the Aggressive
                                  Reserve Folder in the Automated Bid System. Bids will
                                  only be considered for a single Reserve period for the
                                  following calendar day. Awards will be on a first -
                                  requested, first- awarded basis. Reserve Flight


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                                   Attendants awarded a RNF will lose the four hours credit
                                   for the dropped Reserve day.

                                   The approval/denial of any bids will be based on
                                   staffing, any potential system disruptions, and the ability
                                   to retain an adequate number of Reserves that are
                                   available for multi -day trips.

                         c.        A maximum of three RNFs may be awarded to any
                                   Reserve Flight Attendant in each bid period. A Flight
                                   Attendant will be considered notified of a RNF if the drop
                                   request is marked approved in the Automated Bid
                                   System. A Reserve Flight Attendant approved a RNF will
                                   not be released until 2359 (base local time), the end of
                                   the current Reserve period, unless released by Crew
                                   Scheduling.

                                   Example: Sally P. has placed a request in Aggressive
                                   Reserve for a RNF day for tomorrow. At 1800, Crew
                                   Scheduling approves the request. Sally P. is still on
                                   Reserve for the remainder of today. Crew Scheduling
                                   calls Sally P. at 1900 for a Stand -up that night. Sally P.
                                   must take the trip, as today's operation takes
                                   precedence over tomorrow. Sally P.'s RNF day will now
                                   be removed.

                                   Example: Johnny W. has placed a request in Aggressive
                                   Reserve for a RNF day for tomorrow. At 1800, Crew
                                   Scheduling approves the request. Johnny W. is still on
                                   Reserve for the remainder of today. At 2100, Johnny W.
                                   calls Crew Scheduling to be released for the day and
                                   they approve that request. Johnny W. will be released for
                                   the remainder of the night and will have a RNF day the
                                   next day.

        I.       SHORT CALL LIST

                 1.      Reserves will have the daily option of placing themselves on a
                         Short Call List (to be assigned for call -outs two hours or less) via a
                         telephone call to Crew Scheduling. The Reserve Flight Attendant
                         will inform Crew Scheduling of their desire to be on the Short Call
                         List by stating, "(Flight Attendant name and Employee Number) -           I




                         would like to be placed on the Short Call List for today." Crew
                         Scheduling may assign these Flight Attendants out of assignment
                         order. Ifa Reserve is given an assignment based on this
                         preference and criteria, the Reserve may not reject the
                         assignment.

                 2.      All Contact and Report Time Guidelines will apply to a Short Call
                         assignment.

                         Example: Mary calls Crew Scheduling at 1000 and says: "This is
                         Mary Smith, employee number 9999, and would like to be
                                                                       I




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                         placed on the Short Call List for today." Crew Scheduling calls
                         Mary at 1230 and tells her that they have a trip for her that
                         departs two hours from the time of the phone call. Mary is
                         required to take the trip and will need to report within two hours of
                         the original call from Crew Scheduling.

       J.        MIXED LINES

                 1.      General Guidelines

                         a.       Flight Attendants awarded Reserve status during the
                                  monthly bid will have the opportunity to participate in a
                                  secondary bid, called Mixed Lines, when offered by the
                                  Company. Mixed Lines will be built by the Company and
                                  will have a credit value of at least 75 hours. Mixed Lines
                                  may not be offered every bid period. When the Company
                                  builds Mixed Lines, they may be built in one of the
                                  following ways:

                                  (i)         Mixed Lines may contain any combination of
                                              trips and Reserve days; or

                                  (ii)        Mixed Lines may contain only trips.

                                   Each Reserve day on a Mixed Line will carry a minimum
                                  credit value of 4 hours.

                         c.       Mixed Lines will be built by Crew Resources and will be
                                  posted in the Automated Bid System as a secondary bid
                                  after the initial Automated Bid System award and before
                                  the Reserve line award, when available. Mixed Line
                                  bidding will open each month on the 16th day at 1600.
                                  Bidding will conclude on the 17th day at 1400 each
                                   month.

                         d.       Mixed Lines will be constructed with a minimum of 40
                                  credited trip hours. Reserve days will be added to bring
                                  the Mixed Line value to a minimum of 75 credit hours.
                                  Reserve days for Mixed Lines will have a value of four
                                  hours each. When a Mixed Line Flight Attendant is
                                  assigned trips on Reserve days, pay protections apply
                                  only to the block of Reserve days, not single days of
                                   Reserve.

                                  Example: Mary has a block of three RSN days worth 12
                                  hours total. Crew Scheduling assigns her a three -day trip
                                  worth 15 hours total, but the first day of the trip is only
                                  worth 2:30. Mary will be credited the full 15 hours of the
                                  trip and no further pay protections are necessary
                                  because the trip was worth more than 12 hours of RSN
                                  time for all three RSN days.

                                   Example: Johnny also has a block of three RSN days.

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                              Crew Scheduling assigns him a two -day trip worth 7:17
                              and he stayed at home on the third RSN day. Johnny is
                              pay protected 43 minutes since the original value of his
                              two RSN days was eight hours. He still receives four
                              hours credit for the third RSN day in this block because
                              he sat at home waiting to be assigned.

                         e.   A transition conflict is any interference or illegality from
                              the current bid period to the following bid period.
                              Transition conflicts for Mixed Line holders will be
                              resolved in the following manner:

                              (i)       If a trip that begins in the current bid period
                                        conflicts with another trip in the following bid
                                        period, the transition conflict will be resolved
                                        by dropping the minimum amount of time
                                        necessary to resolve the conflict or illegality.
                                        This adjustment will be made in the following
                                        bid period rather than the current bid period
                                        and such adjustment will be made at the
                                        beginning or end of a trip. The Flight Attendant
                                        will not be pay protected for the time dropped.

                                        Example: Mary has a trip that reports on the
                                        last day of the current bid period and returns
                                        on the second of the following bid period.
                                        Mary's Mixed Line award for the following bid
                                        period begins with a two -day trip that reports
                                        on the first. Mary will be removed from the
                                        entire two -day trip, as it returns on the second,
                                        prior to the arrival of her four -day trip from the
                                        previous bid period. Mary lost 10 hours as a
                                        result of the removal. She is still at 65 hours so
                                        no adjustment needs to be made to her bid
                                        period.

                              (ii)      If a trip that begins in the current bid period
                                        conflicts with a scheduled Reserve day in the
                                        following bid period, the transition conflict will
                                        be resolved by adjusting the Reserve code to
                                        begin immediately following the debrief of the
                                        trip. After completing the transition trip, the
                                        Mixed Line Flight Attendant will call Crew
                                        Scheduling before leaving the airport for a
                                        Reserve assignment or release. A Reserve
                                        assignment or release will be based on the
                                        duty day upon completing the carry-over trip:

                                        a)   If the duty day is less than 10 hours, the
                                             Flight Attendant will be: given a flight
                                             assignment or Ready Reserve assignment;
                                             placed on -call; or released. The Flight


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                                                  Attendant will be pay credited for the
                                                  greater of the flight time flown or 4.0
                                                  hours.

                                            b)    If the duty day is 10 hours or more, the
                                                  Flight Attendant will be released to rest or
                                                  to days off, except in irregular operation
                                                  situations. The Flight Attendant will be pay
                                                  credited for the greater of the flight time
                                                  flown or 4.0 hours.

                                                  Example: Mary has a trip that reports on
                                                  the last day of the current bid period and
                                                  returns on the second of the following bid
                                                  period. Marys Mixed Line award for the
                                                  following bid period begins with Reserve
                                                  days scheduled on the second and third.
                                                  Mary must call Crew Scheduling before
                                                  leaving the airport to be released or given
                                                  an assignment. She's been on duty for
                                                  less than 10 hours so Crew Scheduling
                                                  may assign her: to another trip or Ready
                                                  Reserve; Reserve status; or release her to
                                                  rest. Mary has already flown three hours
                                                  on the second so her pay credit for the day
                                                  depends on any additional assignments. If
                                                  she is released from Reserve status, she
                                                  will receive four hours of pay credit for the
                                                  day.

                         f.       It is the Mixed Line Flight Attendant's responsibility to
                                  ensure he /she is above 60 credit hours by the end of
                                  the bid period. Flight Attendants may call Crew Planning
                                  before the 7th of the month to request Reserve days be
                                  added to their schedule to bring them above 60 hours. If
                                  the Flight Attendant falls below 60 hours, Crew Planning
                                  may balance the Flight Attendant on the 7th of the month
                                  by adding or swapping trips and/or adding additional
                                  Reserve days.

                         Mixed Line Non -Reserve Day Guidelines

                         a.       Mixed Line Flight Attendants may not end the bid period
                                  below 60 credit hours.

                                  Mixed Line Flight Attendants have full access to all Open
                                  Time processes and Trip Trades.

                         c.       Mixed Lines will initially be built to a minimum credit of
                                  75 hours. The minimum 75 credit hours will include trip
                                  credit, Reserve day credit, and any applicable absence
                                  credit.


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                                  All applicable rules pertaining to Line Holders will apply
                                  to Mixed Line Flight Attendants when not on a Reserve
                                  day.

                         Mixed Line Reserve Day Guidelines

                         a.       Mixed Line Flight Attendants will be on call 24 hours,
                                  midnight-to- midnight, as indicated by "RSN" on his /her
                                  schedule, unless released by Crew Scheduling.

                         b.       Rules governing ADD/SWAP /TRADE adjacent to any
                                  Reserve days will apply.

                         c.       Only credit time on RSN days and applicable absence
                                  credit will count towards the Reserve credit calculation
                                  and the assignment of Mixed Line Flight Attendants on
                                  RSN days.

                         d.       All other Reserve rules will apply to Mixed Line Flight
                                  Attendants on their Reserve days.

                         e.       A Mixed Line holder may trade Reserve days only with
                                  Reserves or other Mixed Line holders. All Reserve Trades
                                  must be Reserve day for Reserve day.

                 4.      Mixed Line Vacation

                         a.       Flight Attendants will receive paid vacation. Flight
                                  Attendant vacation awards will be granted in seniority
                                  order. Flight Attendants will bid vacation based on their
                                  projected accrual as of December 31st.

                         b.       The number of guaranteed days off in the bid award will
                                  be prorated during bid periods with pre- awarded
                                  absences (vacation, etc.). (See the Reserve FA Absence
                                  Proration Table below.)

                         c.       Accrued but unused vacation will be paid in the event of
                                  furlough, retirement, or termination according to the
                                  terms of this Agreement. If any vacation days are not
                                  scheduled to be used by December 31st of the current
                                  year, they will be paid no later than January 21st of the
                                  next consecutive calendar year. Unused vacation for the
                                  current calendar year cannot be carried over into the
                                  next calendar year.

                                  Crew Planning will handle all vacation records and will
                                  administer the vacation bidding process via the
                                  Automated Bidding System.

                         e.       All vacation days are earned based on accrual rate.


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                                  Accrual rate increases on the Flight Attendant's 5- and
                                  10 -year Company anniversary dates. All vacation earned
                                  in the current year is taken next year.


                         f.       Mixed Line Flight Attendants may slide their vacation, a
                                  maximum of three days, during the pre -award period.
                                  Vacation slides may not be between bid periods.

                         g.       If Mixed Line Flight Attendant has a transition trip that
                                  overlaps an awarded vacation day(s) and the Flight
                                  Attendant chooses not to slide his/her vacation, the
                                  overlapping portion of the trip will be dropped without
                                  pay if the trip can be split in base. Otherwise, the entire
                                  trip will be dropped to resolve the conflict, and the Mixed
                                  Line Flight Attendant will not be pay protected.

                         h.       The credit value for each day of vacation will be 3 hours
                                  per vacation day.

        K.       RESERVE LINE VACATION

                 1.      Reserve Flight Attendants will receive paid vacation. Flight
                         Attendant vacation awards will be granted in seniority order. Flight
                         Attendants will bid vacation based on their projected accrual as of
                         December 31st.

                         Number of guaranteed days off in bid award will be prorated
                         during bid periods with pre -awarded absences (vacation, etc.)

                         Accrued but unused vacation will be paid in the event of furlough,
                         retirement, or termination according to the terms of this
                         Agreement. If any vacation days are not scheduled to be used by
                         December 31st of the current year, they will be paid no later than
                         January 21st of the next consecutive calendar year. Unused
                         vacation for the current calendar year cannot be carried over into
                         the next calendar year.

                 4.      Crew Planning will handle all vacation records and will administer
                         the vacation bidding process via the Automated Bid System.

                         All vacation days are earned based on accrual rate. Accrual rate
                         increases on the Flight Attendant's 5- and 10- year Company
                         anniversary dates. All vacation earned in the current year is taken
                         next year.

                 6.      Flight Attendants may slide their vacation, a maximum of three
                         days, during the pre -award period. Vacation slides may not be
                         between bid periods.

                 7.      The credit value for each day of vacation will be 3 hours per day.




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        L.           RESERVE FLIGHT ATTENDANT ABSENCE PRORATION TABLE

                     NOTE: Awarded Days Off does NOT include Vacation Days, etc.




                              30 -DAY MONTH                                   31-DAY MONTH
                     TOTAL                AWARDED                    TOTAL               AWARDED
                DAYS ABSENT                  DAYS OFF             DAYS ABSENT            DAYS OFF
                         1                     11                      1                      11
                      2 -4                     10                     2-4                     10
                      5 -6                      9                     5 -7                    9
                      7 -9                      8                     8 -9                    8
                   10 -12                       7                    10 -12                   7
                   13 -15                       6                    13 -15                   6
                   16 -17                       5                    16 -18                   5
                   18 -20                       4                    19 -21                   4
                   2 1 -23                      3                    22 -23                   3
                   24 -25                       2                    24 -26                   2
                   26 -28                                            27 -29                   1
                   29 -30                       0                    30 -31                   0

                Example: John Q Reserve Flight Attendant has seven days of vacation (Total
                Absence Days) in a bid period that is a 30 -day Month. According to the
                proration chart, John will get seven days of Vacation in his bid and will receive
                eight additional awarded days off.

        M.           RESERVE CODES

                     NOTE: Reserve codes are subject to change.


              Code              Definition       Description
                                                    Reserve day 0000 -2359 (base local time) unless
               RSV              Reserve -
                                                    adjusted by Crew Scheduling due to assignment or
             and /or R         Normal Line
                                                    legalities.
                                                    Reserve day on a Mixed Line 0000 -2359 (base
                              Mixed Line FAs
               RSN                                  local time) unless adjusted by Crew Scheduling
                              Reserve Days
                                                    due to assignment or legalities.
                                                    Reserve shift at the airport on immediate standby
                             Ready Reserve -
               RSA                                  status during the AM hours. This counts as duty for
                                                    legality purposes.
                                                    Reserve shift at the airport on immediate standby
                             Ready Reserve -
               RSB
                                   MID
                                                                               /
                                                    status during the late AM early PM hours. This
                                                    counts as duty for legality purposes.
                                                    Reserve shift at the airport on immediate standby
                             Ready Reserve -
               RSC                                  status during the PM hours. This counts as duty for
                                                    legality purposes.
                                                    Reserve shift at the airport on immediate standby
                             Ready Reserve -
               RSD                                  status during the late PM hours. This counts as
                             Stand-up/Red-Eye
                                                    duty for legality purposes.


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                                                Day off from Reserve, bid via the Aggressive
                           Reserve No-fly
             RNF                                Reserve Process. A maximum of three RNF days
                                 Day
                                                may be awarded per Reserve Flight Attendant.
                                               In Reserve Awards on the Automated Bid System '
                          Required Day Off
                                               th|nind|oa1esu required day off due tnlegalities.
                                                In Reserve Awards on the Automated Bid System,
             ^              Pre-assigned        this indicates a work day that has been pre-
                 W.
                             Work Day           awarded prior to the Reserve bid Includes
                                                Recurrent Training, Company Business, etc
             ^                                  In
                     V'
                      ,
                            Vacation Day
                                               this indicates a Vacation Day.
                                               In Reserve Awards on the Automated Bid System,'
             '''
                                               this is
                                 Off
                                               of the required days off.
                                               In Reserve Awards on the Automated Bid System,
             'L'',          Pre-assigned        thioindiomtaanon`workdayondroquireddayo
                                                                     day,
                               Leave           off will be prorated. (See the Reserve Flight
                                               AttendantAbsence Proration Table above).
                                               In Reserve Awards on the Automated Bid System,
             ^P"
                          Transition Pairing   this indicates a work day, but it may not exceed six




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                                            ARTICLE 7
                                            TRAINING


        A.       CLASSROOM REQUIREMENTS

                 1.       Due to FAA classroom content restrictions, Inflight Training must
                          operate under strict attendance policies. The following policies
                         apply to all required training events.

                          Class begins promptly at the published start time

                          If a Flight Attendant arrives to training up to 9 minutes late,
                          he/she will be allowed to stay in class, but may be subject to
                          discipline.

                 4.      If a Flight Attendant arrives to training 10 or more minutes late,
                         he/she will be dismissed from class, re- scheduled for another
                         training date on a day off, and may be subject to discipline.

                 REQUIREMENTS FOR ATTENDING RECURRENT TRAINING

                 Online Exam:

                 1.      All Flight Attendants must successfully pass Recurrent Training
                          exam before attending class.

                         Exam will be posted on the Company's computer based training
                         website by the 5th of the month prior to attending Recurrent
                         Training. First attempt of the exam is offered online. If a Flight
                         Attendant fails the online exam, a second attempt will be
                         conducted using a paper test. The Flight Attendant must contact
                         Inflight Training to schedule a retake of a failed online
                         examination. If the second attempt is unsuccessful, the Flight
                         Attendant will be separated from company.

                 3.      If a Flight Attendant attends class without taking or passing the
                         exam, the Flight Attendant will be dismissed from class, re-
                         scheduled for another training date on a day off, and may be
                         subject to discipline.

        C.       TRADING RECURRENT TRAINING DATES

                 1.      The Inflight Training department will handle all qualification
                         training records and Crew Planning will administer the training
                         bidding/trading process via the Automated Bid System.

                 2.      A Flight Attendant may trade a scheduled recurrent training date
                          with any open recurrent date or with another Flight Attendant.
                          Requests must be in compliance with duty and rest limitations as
                          established by this Agreement and FARs.

                         TRADE/SWAP of Recurrent Training dates starts at noon on the


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                         18th of the month prior to attending class. TRADES /SWAPS are
                         allowed until 72 hours prior to scheduled Recurrent Training date.
                         TRADE /SWAP requests are made via the Automated Bid System.

                 4.      Two options are available for trading a scheduled recurrent
                         training date:

                         a.           Trade with open class slots: Trades are granted only if
                                      space is available in the requested class date and
                                      awarded first come, first serve via the Automated Bid
                                      System.

                         b.           Trades with another Flight Attendant: All Recurrent
                                      Training trades will be completed via the Automated Bid
                                      System.

                 5.      Line Holders and Reserve Flight Attendants are eligible for
                         Recurrent Training trades. Reserves using the Recurrent Training
                         trade process will be subject to the limitations set forth in this
                         Agreement, as well as the limitations outlined above.

                 6.      Neither Crew Scheduling/Crew Planning, nor Inflight Management
                         will enter, modify or remove any request in the Automated Bid
                         System for a Flight Attendant.

                 7.      Notifications of status of trades will be reflected in the Automated
                         Bid System as well as CrewTrac (or replacement software).

                 8.      Trades must be made on scheduled days off and all legalities
                         must be met.

                         All Recurrent Training trades must be done in the bid period of the
                         Flight Attendant's Recurrent Training event. Recurrent Training
                         trades cannot take place from one bid period to another.

        D.       TRAINING OUT-OF -BASE

                 1.      Travel to a training event away from a Flight Attendant's base will
                         be positive space must ride.

                 2.      The Company is solely responsible for arranging travel for any
                         Flight Attendant attending a training event away from his/her
                         base. The Company will consider any personal schedule conflicts
                         brought to its attention by the Flight Attendant regarding the day
                         of travel and will make an effort to work with the Flight Attendant
                         arrange an accommodating travel itinerary for the scheduled day
                         of travel.




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                                           ARTICLE 8
                                           SICK LEAVE

        A.       ACCRUAL

                 1.      Sick leave will accrue at the rate of 3.87 hours per month while
                         the Flight Attendant is on active service. This accrual for full -time
                         Flight Attendants is equal to 8 days for a full year of service.

                         Sick leave is not accrued while on furlough or leave of absence.

                 3.      Sick leave accrual will be reduced by 50% each month that a
                         Flight Attendant elects to job share, and during all months a Flight
                         Attendant is on low -time status.

                 4.      A Flight Attendant will accrue a maximum of 696 hours.


                         Earned but unused sick leave will not be paid in the event of
                         furlough, retirement, or termination of employment, whether
                         voluntary or involuntary, but will be retained while a Flight
                         Attendant is on approved leaves of absence or furlough.

                 6.      Accrued sick leave is the manner in which an employee is paid
                         when unable to work due to illness or injury. Accrued sick leave
                         does not guarantee leave approval.


        B.       USE OF SICK LEAVE

                 1.      Sick leave will be deducted from the Flight Attendant's bank on a
                         one -for -one basis for each block hour, or portion thereof, missed
                         because of illness or injury. If sick leave taken exceeds a Flight
                         Attendant's bank of sick hours, he/she may take credit time from
                         his/her vacation bank (each vacation day will be applied to sick
                         leave in three hour increments).

                 2.      A Flight Attendant who wishes to apply hours from his/her
                         vacation bank to sick leave must submit such request in writing to
                         payroll (or as otherwise specified by the Company) by the last
                         calendar day of the month. When all accrued days are exhausted,
                         the Flight Attendant may be placed on unpaid medical leave. If the
                         illness is covered by the Family and Medical Leave Act, the Flight
                         Attendant must use all available sick accrual.

                         A Flight Attendant may not use company pass benefits (including
                         pass riders) while on sick leave without management approval.

        C.       REPLENISHMENT OF SICK BANK

                 1.      A Flight Attendant may replenish his /her sick leave bank by
                         picking up Open Time, unless he/she subsequently drops, or calls
                         in sick for, that Open Time.



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                         A Reserve Flight Attendant may only replenish his /her sick leave
                         bank by picking up Open Time on a scheduled day off, or by
                         adding a Reserve block to the beginning or end of an already
                         scheduled Reserve block, provided the additional Reserve block is
                         within the duty time and rest limitations of this Agreement and the
                         FARs.

                 3.      Replenishment of sick leave bank will be on a one -for-one basis
                         for each block hour flown. or portion thereof, that the Flight
                         Attendant designates in accordance with this Article. Open Time
                         that is picked up and subsequently replaced with Company
                         Business may also be used to replenish the sick leave bank.

                 4.      If a Flight Attendant wishes to replenish his /her sick leave bank,
                         he/she must do so within the next two full Monthly Bid Periods of
                         using such sick leave.

                         Example: Bill calls in sick for a 6 hour trip on July 10. If he wishes
                         to replenish his sick bank, he must do so no later than the end of
                         September (i.e. the next two full Monthly Bid Periods following July
                         are August and September).

                 5.      A Flight Attendant must designate to payroll the sick date(s) for
                         which the Flight Attendant wishes to apply picked up Open Time
                         by the end of the Monthly Bid Period in which he /she picked up
                         the Open Time.

                         Example: Same facts as above. Bill picks up an 8 hour turn on his
                         day o ff on August 12. Bill must contact payroll by August 31 to
                         designate these hours to replenish his sick bank for the hours
                         deducted on July 10. Payroll will apply 6 of the 8 hours to
                         replenish Bill's sick bank, and the remaining two hours will be
                         credited to his regular paycheck.

                         Example: Jenny calls in sick for three Reserve days in February.
                         Twelve hours will be deducted from her sick bank (four hours per
                         day). She picks up an 8 hour two -day trip on her days off in March.
                         She must contact payroll no later than March 31 if she wishes to
                         apply those 8 hours to replenish 8 of the 12 sick bank hours
                         deducted for her February sick call.

        D.       SICK CALLS

                         A Flight Attendant who is unable to report for work because of
                         illness or off-the-job injury will notify Crew Scheduling as soon as
                         possible.

                 2.      If a Flight Attendant is not able to contact Crew Scheduling,
                         he/she may leave a message but must have positive contact with
                         Crew Scheduling prior to his/her flight.




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                         A 2 -hour notice prior to report time is required when calling in sick
                         as a Line Holder or as a Reserve who has previously been given a
                         trip assignment and 3 -hour notice for a Reserve Flight Attendant
                         who has not been previously assigned a trip.

                 4.      All calls must be made to Crew Scheduling. A Flight Attendant on
                         Reserve duty will notify Crew Scheduling at the start of his/her
                         duty day, not at the time of trip notification. If a Reserve is calling
                         in sick on a day off for the following day (and has not previously
                         been given a flight assignment), the Reserve FA has until 2200
                         (base local time) to call in. A Reserve Flight Attendant may be
                         subject to discipline if he/she refuses an assignment due to
                         illness during the actual Reserve period.

                 5.      If a Flight Attendant becomes too ill to complete his /her trip and
                         must call in sick at an outstation, he/she is responsible for
                         notifying both Crew Scheduling and the captain as soon as
                         possible, preferably at least 2 hours prior to report time.

                 6.      If a sick call is either an OJI, or one of extreme circumstances, or
                         could create any form of liability against the Company, the Flight
                         Attendant is responsible to seek medical attention at the request
                         of his /her Inflight Manager. If Frontier management requires the
                         Flight Attendant to seek medical attention due to OJI or extreme
                         circumstances, the Company will cover the medical fee.

                 7.      Crewmembers who become ill /injured at an outstation and cannot
                         complete their schedule will be listed as positive space on the
                         next available Frontier flight out (the crewmember will not bump
                         revenue passengers).

                         When a Reserve Flight Attendant calls in sick, he/she must call
                         and advise Crew Scheduling the number of Reserve days he /she
                         is expected to miss due to illness, but not to exceed the number of
                         Reserve days remaining it their current or upcoming block of
                         Reserve days. A Line Holder need only call in prior to each new trip
                         when on sick leave.

                 9.      Line Holding Flight Attendants who are removed from a trip or a
                         portion of a trip due to illness will not have the ability to rejoin the
                         portion of the trip previously called in sick for or `ball in well."
                         However, Line Holding Flight Attendants may call in sick for a
                         portion of a trip if the Flight Attendant reasonably expects to be
                         able to return to duty from illness during the duration of the trip. If
                         a Flight Attendant chooses to call in sick for a portion of a trip, the
                         removal must be for an entire duty day and must begin and end in
                         base except in cases in which the Flight Attendant is sick in an
                         outstation.

                 10.     Flight Attendants will only have the opportunity to split a trip due
                         to illness once. Any subsequent sick calls for the same trip will


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                         result in the remainder of that trip dropped in its entirety as sick.

                 11.     A Flight Attendant who has completely recovered from an illness,
                         but is unable to rejoin their original trip due to the above
                         provision, may pick up Open Time if available to replace his/her
                         original trip.

                         Example: Bob has a four day trip and needs to be removed from
                         the trip due to illness. He has the following options: Call in sick for
                         the entire four day trip and not have the ability to rejoin the trip if
                         he is feeling better later and be charged sick leave for the hours
                         missed; or call in sick for a portion of the trip as he feels he will be
                         better by day two of the trip. In this case he will be removed from
                         the first turn and overnight of his trip as sick and rejoin the trip at
                         the first point it reenters base on day two. Bob will be charged sick
                         leave for those hours he missed. Bob will not be able to rejoin the
                         trip at any point during the first duty day, nor will he be able to call
                         in sick for just the first turn as the sick call must be for an entire
                         duty day.

                         NOTE: For the purposes of this example, the sick call was
                         recovered on day two. Flight Attendants may choose to recover
                         the trip on any day of a trip as long as the entire duty day and
                         subsequent days are recovered.

                         Example: Bob has a four day trip and needs to be removed from
                         the trip due to illness. He opts to call in sick for the first duty day
                         and recover the trip on the second duty day. Later that night Bob
                         is not getting better and needs to call in sick for the next duty day.
                         Because trips may only be split due to illness once, the remaining
                         three days will be marked as sick and Bob will not be able to
                         rejoin the sequence if he is feeling better on day three. Bob may
                         pick up Open Time over the final two sick days of the original
                         sequence to save his sick bank.

        E.       SICK LEAVE PAY POLICY

                 1.      Sick time will be paid at a straight hourly rate. Sick time will not be
                         included in the overtime for those who fly over 86 hours.

                 2.      If a Flight Attendant has submitted his /her resignation and calls in
                         sick within the two week period prior to the resignation date, a
                         valid doctor's note will be required in order for the Flight Attendant
                         to receive sick pay and remain eligible for rehire.

                 VERIFICATION OF ILLNESS/INJURY

                         At the Company's discretion, a Flight Attendant may be required to
                         produce a physician's note documenting illness or injury. The
                         note, when required, will state:

                         a.        The date of illness:


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                         b.       Date and time of examination;

                         c.       Medical release to return to work without restriction.

                  2.      Duringa period (e.g., Christmas Holidays, Superbowl weekend)
                          when all Flight Attendants are required to present a doctor's note
                          for sick calls, prior notice will be given.

                  3.      Frontier may request that a Flight Attendant be seen by Frontier's
                          designated physician to ensure fitness for duty. The cost of this
                          examination will be borne by Frontier.




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                                          ARTICLE 9
                                          VACATION


        A.       GENERAL

                 1.      Flight Attendants will receive paid vacation. Flight Attendant
                         vacation awards will be granted in seniority order. Flight
                         Attendants will bid vacation based on their projected accrual as of
                         December 31st.

                         Number of guaranteed days off in bid award will be prorated
                         during bid periods with vacation days. See Inflight website or
                         company provided preferential bidding info website for
                         Vacation /Days Off Proration table.

                 3.      Accrued but unused vacation will be paid in the event of furlough,
                         retirement, or termination according to the terms of this
                         Agreement. If any vacation days are not scheduled to be used by
                         December 31st of the current year, they will be paid no later than
                         January 21st of the next consecutive calendar year. Unused
                         vacation for the current calendar year cannot be carried over into
                         the next calendar year.

                 4.      Crew Planning will handle all vacation records and will administer
                         the vacation bidding process via the Automated Bid System.

                 5.      If a Flight Attendant changes base, any scheduled unused
                         vacation period is forfeited. Forfeited vacation periods must be
                         replaced from Flight Attendant Vacation Open Time in the
                         Automated Bid System for the new base.

        B.       ACCRUAL

                 1.      Vacation days will be accrued in the current calendar year to be
                         taken in the following calendar year according to the following
                         rates:

                         a.       A Flight Attendant who, as of December 31 of any year,
                                  has less than 1 calendar year of active service with the
                                  Company will be entitled to vacation days on the basis of
                                  .58 calendar days per pay period.

                         b.       A Flight Attendant who has completed 1 year or more of
                                  active service with the Company but less than 5 years of
                                  active service will accumulate vacation days on the basis
                                  of .58 calendar days per pay period, or 14 days per year.

                         c.       A Flight Attendant who has completed 5 years or more of
                                  active service but less than 10 years of active service
                                  with the Company will accumulate vacation days on the
                                  basis of .88 calendar days per pay period, or 21 days per
                                  year The Flight Attendant will accumulate 14 days plus

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                                  the additional time earned with the higher accrual after
                                  the completion of 5 years.

                                  A Flight Attendant who has completed 10 years or more
                                  of active service with the Company will accumulate
                                  vacation days on the basis of 1.17 calendar days per pay
                                  period, or 28 days per year. The Flight Attendant will
                                  accumulate 21 days plus the additional time earned with
                                  the higher accrual after the completion of 10 years.

                         Vacation accrual will not continue during periods of leave without
                         furlough.

                 3.      Vacation accrual will be reduced by 50% each bid period that a
                         Flight Attendant elects to job share, and during all bid periods a
                         Flight Attendant is on low -time status.

                 4.      The credit value of a vacation day is 3 hours per vacation day.

        C.       VACATION BIDDING

                 1.      Bidding for annual vacation will be accomplished in four rounds.
                         Vacation periods that are bid consecutively (adjacent periods) will
                         count as one choice. A Flight Attendant who does not bid a
                         sufficient number of choices in any round to receive an award will
                         have any remaining vacation carried into the next round.

                         Vacation periods of 10 days or fewer will be taken as one period.

                         Any vacation period of 11 days or more may be split.

                         Split vacation periods will contain one period of not fewer than 7
                         calendar days.

                 5.      Vacations may be split according to the following:

                         a.        Blocks of 7 days;

                         b.        Multiples of 7 days (e.g. 7, 14, 21);

                         c.        Blocks of 7 plus any additional days up to 13;

                         d.        10 days or fewer cannot be split.

                 6.      Vacation days may be bid at once in any one round or split in
                         accordance with the above.

                 7.      Vacation days must be bid consecutively during a vacation round.

                         Following the fourth round awards, a Flight Attendant who has
                         unawarded vacation will have that vacation assigned by the
                         Company.


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                         Vacation bidding rounds will occur as follows:

                         a.       Vacation adjustments will be made prior to the opening
                                  of the First Round Vacation Bid with company seniority
                                  and all Flight Attendant leave information (FMLA, MED,
                                  OJI, COLA, PLA, VLOA, etc.) as of August 27 of that year.


                         b.       Any leaves taken after that date will require adjustments
                                  of the leave information for those Flight Attendants.
                                  When adjustments are made, a phone call will be made
                                  to the Flight Attendant notifying him/her of the vacation
                                  accrual change in the Automated Bid System. A message
                                  will be left for the Flight Attendant if positive phone
                                  contact cannot be made.

                                  Example: Suzy Flight Attendant has 2 weeks of vacation
                                  earned to bid for the following year. If Suzy elects to take
                                  a COLA (which will reduce her accrual of vacation time)
                                  prior to the close of the vacation bid, reducing her
                                  vacation to 10 days, then Suzy's vacation will be
                                  combined into one vacation slot. However, if the COLA
                                  was awarded after the bid has closed for the vacation,
                                  then Suzy will be awarded her first round choice of 7
                                  days and her second round choice of the remaining 3
                                  days.

                 10.     No later than September 1, the Company will post the First Round
                         Vacation Bid on the Automated Bid System, covering the following
                         calendar year. Bidding will commence immediately and close at
                         1100 hours on September 15. First round bids will be awarded no
                         later than 1900 hours on September 15.

                 11.     No later than September 16, the Company will post the Second
                         Round Vacation Bid on the Automated Bid System, covering the
                         remaining vacation bid periods for the following calendar year.
                         Bidding will commence immediately and close at 1100 hours on
                         September 30. Second round bids will be awarded no later than
                         1900 hours on September 30.

                 12.     No later than October 1, the Company will post the Third Round
                         Vacation Bid on the Automated Bid System, covering the
                         remaining vacation bid periods for the following calendar year.
                         Bidding will commence immediately and close at 1100 hours on
                         October 15. Third round bids will be awarded no later than 1900
                         hours on October 15.

                 13.     No later than October 16 at 1900, the Company will post the
                         Fourth Round Vacation Bid on the Automated Bid System,
                         covering the remaining vacation bid periods for the following
                         calendar year. Bidding will commence immediately and close at
                         1100 hours on November 1. Fourth round bids will be awarded no


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                           later than 1900 hours on November 1.

                 14.       Flight Attendants may pick up Open Time or trip trades while on
                           their scheduled vacation in accordance with the terms of this
                           Agreement.

        D.       VACATION BID PERIODS

                 The following periods will be used for bidding vacations:

                  DATE (PERIOD)    DATE (PERIOD)    DATE (PERIOD)      DATE (PERIOD)
                   Jan 2 -8 (1)     Jan 9 -15 (2)   Jan 16 -22 (3)     Jan 23 -29 (4)
                   Feb 2 -8 (5)     Feb 9 -15 (6)   Feb 16 -22 (7)     Feb 23 -29 (8)
                   Mar 2 -8 (9)    Mar 9 -15 (10) Mar 16 -22 (11)     Mar 23 -29 (12)
                  Apr 2 -8 (13)    Apr 9 -15 (14)  Apr 16 -22 (15)    Apr 23 -29 (16)
                  May 2 -8 (17)    May 9 -15 (18) May 16 -22 (19)     May 23 -29 (20)
                  Jun 2 -8 (21)    Jun 9 -15 (22)  Jun 16 -22 (23)    Jun 23 -29 (24)
                  July-2-8 (25)    July 9 -15 (26) July 16 -22 (27)   July 23 -29 (28)
                  Aug 2 -8 (29)    Aug 9 -15 (30) Aug 16 -22 (31)     Aug 23 -29 (32)
                  Sept 2 -8 (33)   Sept 9 -15 (34) Sept 16 -22 (35)   Sept 23 -29 (36)
                  Oct 2-8 (37)     Oct 9 -15 (38)  Oct 16 -22 (39)    Oct 23 -29 (40)
                  Nov 2 -8 (41)    Nov 9 -15 (42) Nov 16 -22 (43)     Nov 23 -29 (44)
                  Dec 2 -8 (45)    Dec 9 -15 (46) Dec 16 -22 (47)     Dec 23 -29 (48)

                 NOTE: There will be adjustment of vacation bid periods for leap year.

                 VACATION TRADES

                 A Flight Attendant may trade vacation periods with the following constraints:

                 1.        Vacation trades must be within the same calendar year;

                 2.        Trades must be made by the 4th of the month preceding the
                           month in which the vacation trade would be effective (e.g., before
                           March 4 at 1200 for an April vacation trade);

                 3.        Trades may be made between two Flight Attendants or between a
                           Flight Attendant and posted open vacation slots;

                 4.        All trades must be submitted via the Automated Bid System. Crew
                           Planning will not submit, modify or remove any trade request from
                           the Automated Bid System;

                           No vacation trade or slide will be awarded after the pre -award
                           time frame has closed for the bid period requested. This includes
                           both the vacation slot being traded from and traded to.

        F.       VACATION SLIDES

                 1.        Vacation slides of up to 3 days are allowed. Slides may not go
                           from one bid period to another.



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                 2.      A Flight Attendant may slide his or her vacation period plus or
                         minus 3 calendar days from the first day of the awarded period.
                         Multiple slide requests will not be approved.

                         All slides must be submitted via the Automated Bid System during
                         the pre -award period.

                 4.      No vacation slide will be awarded after the pre -award time frame
                         has closed for the bid period requested.




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                                            ARTICLE 10
                                            SENIORITY

        A.       SENIORITY ACCRUAL

                 1.       The Frontier System Seniority List ( "seniority list ") in effect on the
                          date of the signing of this Agreement will be the official seniority
                          list and, thereafter, the seniority of a newly hired Flight Attendant
                          (including transferees from another department within the
                          Company) will commence on the first day a Flight Attendant enters
                          training and will continue to accrue thereafter during his/her
                          period of service with the Company, except as otherwise provided
                          for in this Agreement. A Flight Attendant's longevity will commence
                          concurrently with his/her seniority date, and will accrue thereafter
                          during his/her active service with the Company, excluding leaves
                          of absence, furlough, or other periods as may be provided for in
                          this Agreement.

                 2.       A former Frontier Flight Attendant who is re -hired as a Flight
                          Attendant for the Company, and who is not required to attend
                          initial Flight Attendant training, will be placed on the seniority list
                          as of the Flight Attendant's new date of hire. A re -hired Flight
                          Attendant who is required to attend initial Flight Attendant training
                          will be treated, for purposes of placement on the seniority list, as
                          a newly hired Flight Attendant.


                          When two or more Flight Attendants have their names placed on
                          the seniority list on the same date, their position on the seniority
                          list will be determined by their Social Security number, highest
                          number the most senior.

                          Except as otherwise provided for in this Agreement, seniority will
                          govern all Flight Attendants for retention in case of reduction in
                          force, recall from furlough, preference of vacation periods, filling
                          of vacancies, base assignments, Company-offered voluntary
                          leaves of absence, and bidding rights.

        B.       WHEN SENIORITY WILL NOT GOVERN

                 Except as otherwise provided for in this Agreement, seniority will not in any
                 respect govern: transfers into other departments outside of the Inflight
                 Department, transfers into positions within the Inflight Department not
                 covered under this Agreement (e.g., administrative positions), selection and
                 promotion to Inflight instructor, selection and promotion to supervisory duty,
                 assignment to non -flying duty (e.g., light duty), or special assignment duty.

        C.       TRANSFERS

                 1.       A Flight Attendant transferring or who has transferred to a
                          position(s) within the Inflight Services Department outside the
                          coverage of this Agreement will retain and accrue seniority for a
                          period of 2 years and if transfers back to a Flight Attendant
                          position within that time will have his/her seniority reinstated as if


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                         he/she had not transferred. After a 2 year period the Flight
                         Attendant occupying such position(s) will retain but not accrue
                         seniority.

                 2.      Any Flight Attendant who directly transfers to any position(s)
                         outside of the Inflight Department will retain (but not accrue)
                         seniority and longevity for 1 year from the effective date of the
                         transfer. Upon Company approval, such individuals may return to
                         a position covered under this Agreement prior to the end of the
                         one -year period. If such an individual does not return to a position
                         covered under this Agreement prior to the one -year expiration
                         date, his/her name will be removed from the seniority list.

                 3.      A Flight Attendant who is elected to or accepts a full -time position
                         with the Union will retain and accrue seniority and longevity while
                         working for the Union.


                 4.      If a Flight Attendant is permitted by the Company to transfer to a
                         position outside of the Flight Attendant craft or class on account
                         of physical incapacity, illness, or injury, he/she will retain and
                         accrue seniority for a period not to exceed 2 years of "continuous"
                         service in such position after which the Flight Attendant will be
                         removed from the seniority list. A period of service will be deemed
                         "continuous" service until it is broken by a transfer back to the
                         position of Flight Attendant.

                 5.      Paragraph E (Seniority Rights Forfeited) also applies to employees
                         covered under this Paragraph C. for purposes of removal from the
                         seniority list.


                 PROTEST OF SENIORITY LIST

                 1.      An employee covered under this Agreement will have 30 calendar
                         days after the posting of the seniority list to protest any omission
                         or incorrect posting affecting her seniority or position on the
                         posted list. A covered employee, who fails to protest a seniority list
                         within the time limits set forth in this paragraph, will forfeit his/her
                         right to protest the seniority list.

                 2.      The official system seniority list will be posted quarterly, no later
                         than the fifteenth day of the quarter, in each calendar year. A
                         covered employee is permitted to protest a seniority list only if it
                         varies from the seniority list immediately preceding it.

                         All protests to the seniority list must be made in writing and
                         provided to the Director of Inflight, or his/her designee, by hand -
                         delivery, via overnight mail, via express mail, U.S. mail certified -
                         return receipt requested, ore -mailed. Protests should not be
                         faxed. The employee must be able to provide a form of delivery
                         confirmation to substantiate transmission or delivery of the


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                           written protest. The Company will investigate the protest and will
                           respond to the Flight Attendant in writing within 30 calendar days.

                 SENIORITY RIGHTS FORFEITED

                 A Flight Attendant covered under this Agreement, whose employment with
                 the Company is permanently severed, will forfeit his/her seniority rights and
                 that Flight Attendant's name will be removed from the seniority list. Such
                 circumstances include, but are not limited to: resignation, discharge for
                 cause, retirement, failure to return to active service following an authorized
                 leave of absence, the covered Flight Attendant is not recalled from furlough
                 within 3 years from the date of furlough, or the covered Flight Attendant
                 does not comply with policies and procedures relating to furlough and
                 recall. The recall period for any Flight Attendant(s) can be extended 2
                 additional years by mutual agreement of the Union and the Company.

        F.       PROBATION

                 1.       A Flight Attendant will be on probation from date of hire through
                          the first 9 months of active service following completion of
                          training.

                 2.       Active service will commence upon the successful completion of
                          training. For purposes of this provision, Flight Attendants will be
                          considered to be in active service unless on medical leave,
                          furloughed, granted a leave of absence, or in another "no pay"
                          status. A Flight Attendant's probation will be extended by the
                          number of elapsed calendar days the Flight Attendant was
                          inactive. Inactive periods of less than 7 consecutive workdays will
                          not be counted.

                          Nothing in this Agreement will be construed to prevent the
                          Company from releasing a Flight Attendant, with or without cause,
                          during the probationary period. An employee may not be placed on
                          the Frontier Flight Attendant Seniority List unless he/she
                          successfully completes initial training and the period of probation.




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                                          ARTICLE 11
                                          UNIFORMS


        A.       PURCHASE OF INITIAL UNIFORM

                 1.      The Company will not provide the initial investment of the Flight
                         Attendant uniform. The Flight Attendant must purchase all
                         accessories.

                         Initial uniform costs may be deducted from the Flight Attendant's
                         paycheck or may be paid in full. Deductions will be at the following
                         rates:

                         $1 -$300            Minimum of $25 per paycheck
                         $301 -$600          Minimum of $50 per pay check ($600 cap)

        B.       UNIFORM CREDIT AND MAINTENANCE OF UNIFORM

                 1.      Flight Attendants will receive a $150 annual credit with the
                         designated uniform vendor.

                 2.      A Flight Attendant is eligible for the $150 annual credit if he/she
                         is employed with Frontier on January 1 of that year.

                 3.      The $150 will be credited to the designated uniform vendor on
                         April 1. Any credit unused by March 31 will be forfeited and will
                         not rollover into the new fiscal year.

                 4.      A maternity uniform consisting of one top and one bottom will be
                         made available at the Company's expense to a Flight Attendant
                         who has notified the Company of her pregnancy. Such uniform will
                         be returned to the Company cleaned, pressed, and in a dry
                         cleaning bag with the dry cleaning tag attached.

                         If a Flight Attendant resigns or is terminated, he /she will be
                         responsible for the remaining uniform balance.




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                                           ARTICLE 12
                                       LEAVES OF ABSENCE

        A.       GENERAL GUIDELINES

                           A Flight Attendant on a Leave of Absence will not accrue vacation
                           or sick leave hours and must pay for elected benefits.

                 2.        Holiday pay, funeral pay, or jury duty pay will not be granted during
                           a leave.


                 3.        A Flight Attendant off payroll on a Leave of Absence will not be
                           compensated for a parking permit.

                           For leaves of 30 or more days in which sick pay is applied, a Flight
                           Attendant's sick bank will be reduced on an hour -for-hour basis,
                           but no more than 82 hours per 30 day period.

                 5.        Accrued sick leave does not guarantee leave approval.

        B.       RETURNING FROM LEAVE OF ABSENCE

                 1.        To be eligible to return to work and bid for a line of flying, the
                           Flight Attendant must complete required training, if applicable. If a
                           Flight Attendant requires only Recurrent Training, he /she may bid
                           for the next bid period if Recurrent Training is scheduled and a
                           doctor's release has been submitted.

                 2.        If a Flight Attendant has been de-qualified during a leave of
                           absence, he/she will not be allowed to pick up Open Time or to be
                           assigned Reserve days until required training has been completed
                           successfully.

                 3.        A Flight Attendant returning from a Leave of Absence must
                           coordinate his/her schedule with the Inflight Services Supervisor,
                           and meet with Inflight Manager or Instructor to make certain the
                           Flight Attendant's manual is current.

                 4.        Upon returning to work from a Leave of Absence, a Flight
                           Attendant must purchase a parking permit for the first month
                           he/she is returning to work. A request must be submitted in
                           writing to Payroll for reimbursement of the parking permit
                           purchased by the last calendar day of that month.

        C.       RETURNING FROM INTERMITTENT LEAVE OF ABSENCE

                 A Flight Attendant who has missed a portion of a trip or a complete trip due
                 to an intermittent leave (FMLA, MED, OJI, etc.) and has been completely
                 released will be returned to his/her original trip, if available. If the trip was
                 picked up in Open Time, the Flight Attendant may pick up Open Time to
                 replace the trip credit. If the there are no trips that the Flight Attendant
                 wants to pick up, the Flight Attendant can opt to be placed on AVA status for


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                 the time of the original pairing. All AVA rules apply if this option is chosen by
                 the Flight Attendant. If AVA or no trips are chosen by the Flight Attendant,
                 then the original trip credit goes unpaid.

        D.       COMPANY- OFFERED LEAVE

                 1.        Company-offered leaves of absence (COLA) may be offered when
                           overstaffing occurs in order to reduce payroll. Only Flight
                           Attendants on active flight status (not on leave and currently
                           eligible to bid) may apply. Leaves are granted in seniority order.
                           Leaves are normally granted in 1 -bid period increments.

                 2.        A Flight Attendant on COLA will retain pass privileges on Frontier;
                           travel on other airlines will be according to interline agreements.

                 3.        Flight Attendants on COLA will retain and accrue seniority, and will
                           retain longevity.

                 4.        COLAs may be granted even if the Flight Attendant has scheduled
                           vacation that bid period. The Flight Attendant may trade the
                           vacation for an open slot. The Flight Attendant may keep the
                           scheduled vacation period and be paid his/her vacation credit at
                           the Flight Attendant's hourly rate. A request must be submitted in
                           writing by the last calendar day of the month.

        E.       FAMILY MEDICAL LEAVE

                 1.        Flight Attendants will receive Family Medical Leave under the
                           Family Medical Leave Act, as amended ("FMLA'), in accordance
                           with the eligibility requirements of the Act.

                 2.        Flight Attendants whose base has less than 50 employees will be
                           covered by FMLA.

                           Flight Attendants will retain and accrue seniority and longevity
                           while on FMLA leave. Pass benefits will continue while the Flight
                           Attendant is on FMLA leave.

        F.       MATERNITY LEAVE

                           A Flight Attendant is required to advise the Company immediately
                           upon confirmation of pregnancy by her doctor. The Flight
                           Attendant must present a release from her doctor to the Company
                           acknowledging her ability to perform Flight Attendant duties. The
                           Flight Attendant will also be responsible for submitting a letter
                           from her doctor each month stating that she is still fit and able to
                           perform the necessary Flight Attendant duties.

                           If qualification status will expire while on leave, the Flight
                           Attendant must attend Recurrent Training before going on
                           maternity leave.



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                 3.      Sick leave must be used, and vacation days may be used, during
                         the maternity leave; otherwise, the leave is without pay.

                 4.      The Flight Attendant will retain and accrue her seniority and
                         longevity during maternity leave.

                         A Flight Attendant on maternity leave will retain Frontier pass
                         benefits including buddy passes.

        G.       MEDICAL LEAVE

                 1.      Flight Attendants who do not meet the eligibility requirements for
                         FMLA may be provided a Medical Leave of Absence in limited
                         circumstances. Such a leave would include time off for a Flight
                         Attendant's illness, injury or pregnancy.

                         A Flight Attendant must have completed 90 days of employment
                         with the Company to qualify for Medical Leave.

                 3.      Medical Leaves may be approved in up to 30 -day intervals.

                 4.      Medical Leave may be granted up to a maximum period of 23
                         consecutive months. If the Flight Attendant is eligible and initially
                         granted leave under FMLA, a Medical Leave may be granted
                         beyond the 12 weeks allowed under the FMLA, but that extension
                         may not exceed a combined total of 23 consecutive months under
                         this policy. Periods of active service of less than 90 days will not
                         constitute a break in the period of leave.

                 5.      A Flight Attendant requiring a leave beyond 23 consecutive
                         months will be separated from the Company with the ability to re-
                         apply.

                 6.      A Flight Attendant may request an unpaid leave of absence for
                         his/her own illness or injury when he/she cannot return to work
                         after exhausting FMLA leave or if he /she is not eligible for FMLA.
                         Any Medical Leave of Absence request must have a supporting
                         doctor's statement attached. This must include the date the Flight
                         Attendant became unable to work and the expected date of
                         return, if known.

                 7.      If an Flight Attendant is on FMLA leave and anticipates that FMLA
                         leave will be exhausted before the Flight Attendant is released to
                         return to work and the Flight Attendant intends to seek a Medical
                         Leave, the Flight Attendant must certify the need for the Medical
                         Leave of absence prior to the expiration (end date) of FMLA leave.

                         If an extension of an existing Medical Leave is needed, the Flight
                         Attendant must certify the need for the extension of the Medical
                         Leave prior to the expiration (end date) of the current Medical
                         Leave.




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                         Unless an emergency exists, requests for unpaid Medical Leave
                         along with proper medical certification must be submitted at least
                         two weeks prior to the requested leave date. If the Flight
                         Attendant is unable to provide the request and medical
                         certification prior to the medically related absence because of an
                         emergency or urgent situation, the Flight Attendant's absence
                         from work will be treated as an unexcused absence and the Flight
                         Attendant will have 15 days from the date of the absence to
                         submit proper medical certification. If proper medical certification
                         is provided within the stated time period and the request for leave
                         is approved, the unexcused absence will be changed to reflect an
                         approved Medical Leave. If proper medical certification is not
                         submitted within the stated time period and /or the leave is not
                         approved, the Flight Attendant's absences will be unapproved and
                         may subject the Flight Attendant to corrective action, up to and
                          including termination.

                 10.     If the Flight Attendant has any accrued sick time, sick time will be
                         applied to FMLA or Medical Leave. If there is no accrued sick time
                         remaining and the Flight Attendant would like to continue to be
                         paid, the Flight Attendant must submit in writing to the payroll
                         department what accrued time they would like to use, i.e.
                         vacation.

                 11.      Failure to follow the policies outlined above in seeking leave
                          approval in advance of taking time off may lead to corrective
                          action.

                 12.      Leaves will be limited to 30 days with extensions allowed in
                          limited circumstances.

                 13.     While on Medical Leave, Flight Attendants will retain and accrue
                         seniority, and retain and, up to 90 days, accrue longevity. Flight
                         Attendants on Medical Leave are not eligible for pass benefits.

        H.       ON-THE -JOB INJURY (OJI)

                 1.      A Flight Attendant may file an occupational injury claim within the
                         timelines set forth by Company policy if he/she believes he/she
                         has suffered an injury or illness on the job. The state law of the
                         state in which the Flight Attendant is domiciled will govern
                         whether an individual claim is compensable.

                 2.      The first three days of OJI may be covered by sick days, or the
                         Flight Attendant may immediately be assigned light/modified duty.

                         The Flight Attendant may use pass privileges if he /she is on
                         modified duty, completing the hours necessary each week;
                         otherwise pass benefits are suspended until released.

                 4.       A Flight Attendant on OJI leave may not occupy the jumpseat
                          aboard any Frontier aircraft.



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                         In order to bid following an OJI, the Flight Attendant must have a
                         doctor's note by the 11th of the month at 1700, releasing
                         him /her back to work no later than the 15th day of the bid period
                         he /she will return to duty. The release must be given to Human
                         Resources by 1100 on the 10th of the month prior to bidding.

        I.       PERSONAL LEAVE

                 1.      A Personal Leave of Absence may be granted in limited
                         circumstances based upon staffing and operational needs. A
                         Flight Attendant who has not completed 90 active days of service
                         is not eligible to apply for a personal leave.

                 2.      Personal Leave requests must be made in writing to Inflight
                         Management.

                         Personal Leaves may be granted if the Flight Attendant has
                         scheduled vacation that month. The Flight Attendant may trade
                         the vacation for an open slot. The Flight Attendant may keep the
                         scheduled vacation period and be paid accordingly. A request
                         must be submitted in writing to the Payroll by the last calendar
                         day of the month.

                 4.      A Personal Leave will be granted for a period from 1 to 30 days
                         and must be approved by Inflight Management. Prior to the
                         expiration of the original leave, Inflight management must approve
                         any extension beyond 30 days. Personal Leave is always without
                         pay.

                 5.      A Flight Attendant on a Personal Leave will retain seniority and
                         longevity, and continue to accrue each for the original 30 days of
                         approved leave. Sick leave and vacation will not accrue during a
                         personal leave. Pass benefits for a Flight Attendant and his/her
                         eligible pass riders will be suspended for the duration of the leave.
                         Holiday, funeral pay or employer's jury duty pay will not be granted
                         during the leave.

                         Failure to follow policies as outlined above in seeking approval in
                         advance of taking time off may lead to corrective action.

        J.       FUNERAL LEAVE

                         Paid Funeral Leave will be granted for up to 4 working days to
                         attend the funeral services of an immediate family member.
                         Additional time off without pay may be granted at the discretion of
                         the Company. For purposes of this section, "immediate family
                         member" is defined as the Flight Attendant's: parents,
                         stepparents, stepchildren, stepsiblings, spouse, children, siblings,
                         parents -in -law, brother /sister-in -law, daughter/son -in -law,
                         grandparents, grandchildren, and domestic partner.



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                 2.      Flight Attendants will be pay protected for the hours they would
                         have flown during that time period. Pay will be at the regular rate
                         of pay and will not be used in the calculation of overtime.

                         An Unpaid Funeral Leave of up to 3 days may be requested for
                         attending the funeral of another family member, neighbor, or
                         friend but must be approved by an Inflight Manager. Unpaid
                         Funeral Leave is unpaid leave or available vacation may be used.
                         A request to use the vacation credit must be submitted in writing
                         to payroll by the last calendar day of the month. Documentation
                         may be requested by Inflight Management.

        K.       EMERGENCY LEAVE (EMR)

                 1.      A Flight Attendant will be authorized
                                                             Emergency Leave ( "EMR ") for
                         an unavoidable, serious circumstance with the approval of Inflight
                         Management. An Emergency Leave may be granted for up to 3
                         days. A Flight Attendant seeking EMR must contact his/her Inflight
                         Manager or designee and present verifying documentation.

                 2.      The Flight Attendant will be removed from his /her trip without pay.
                         The Flight Attendant has the option of using vacation credit that
                         has not been awarded in a monthly bid in lieu of no pay; however,
                         the request must be submitted in writing to the Payroll by the last
                         calendar day of the month.

                 3.      Off-the-job injury is a sick call, not an emergency leave. The Flight
                         Attendant should make arrangements to take care of personal
                         appointments on his/her day off. Child care issues, car problems,
                         etc., are not excused absences. Personal court appearances and
                         subpoenas do not qualify for emergency leave.

                 4.      More than two emergency leave requests in a 12 -month period
                         may be considered excessive.

        L.       JURY DUTY LEAVE

                 1.      The Flight Attendant is required to submit the jury summons to
                         his/her Inflight Manager prior to the assigned date. The Inflight
                         Manager will coordinate the removal from any assigned trips with
                         Crew Scheduling.

                 2.      Pay will be at the regular rate of pay for flight assignments missed
                         and will not be used in the calculation of overtime.




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        M.       MILITARY LEAVE

                 Flight Attendants are granted unpaid military leaves of absence, subject to
                 Federal Law. Members of the U.S. Armed Forces or National Guard are
                 granted an unpaid Leave of Absence when called for active duty or training.
                 This time is granted in addition to earned vacation and sick time. However,
                 if a Flight Attendant desires to use vacation time for this purpose, he /she
                 may voluntarily do so if you make a request in writing to the Company.




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                                          ARTICLE 13
                                          VACANCIES

        A.       STANDING BIDS

                 1.      A standing bid is a request to change bases that will remain in
                         effect until the Flight Attendant makes a change to the bid or is
                         awarded the base change.

                 2.      Flight Attendants must submit a standing bid to indicate the order
                         of preference for base vacancies. The Company may require Flight
                         Attendants to submit new or updated standing bids at least 30
                         days prior to any circumstances that may cause the existing bid
                         file to become outdated (base closures, base openings or other
                         substantial operational changes, etc.). The Company will attempt
                         to give at least 30 days notice to afford Flight Attendants the
                         opportunity to change their standing bids.

                         The standing bid file will be maintained by the Company. Standing
                         bids will be available for inspection by any Flight Attendant during
                         office hours.

                         A Flight Attendant may change his /her standing bid at any time by
                         submitting a new standing bid to the Company. A Flight Attendant
                         must submit his /her standing bid through the Automated Bid
                         System, if available, or otherwise via e -mail to Inflight.

        B.       NOTICE OF VACANCY

                 1.      The Company will determine when a vacancy exists and will post
                         the notice of when a vacancy will occur. Any vacancies, as well as
                         projected vacancies, will be posted by the Company on the 21st of
                         the month prior to the next bid period.

                 2.      Bidding will close at 1400 hours 7 days after posting the notice of
                         vacancy.

                 AWARDING AND ASSIGNMENT OF VACANCIES

                 1.      Awards will be posted no later than 1400 on the 5th of the month.

                 2.      Bids for vacancies will be awarded in order of seniority using
                         standing bids on file as of the date bidding is closed.

                         All Flight Attendants awarded a base transfer to fill a vacancy
                         must remain in the new base for at least 3 bid periods (excluding
                         base swaps). An exception may be made to this rule at such point
                         whereby the Company elects to open a new base within the 3 bid
                         periods.

                 4.      The Company will determine the effective date of an award, which
                         may be changed provided adequate notice is given and the



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                           change is not made for arbitrary reasons. The Company may
                           cancel an award at any time before its effective date.

                 5.        A Flight Attendant awarded a vacancy will fill the vacancy within
                           60 days after the effective date of the award.

                           Example: There are 3 openings in the MKE base for July. Frontier
                           will post a Notice of Vacancy on May 21st that will close on May
                           28th. Flight Attendant Donna has a standing bid requesting a MKE
                           base. On June 5th the bids are awarded and she is senior enough
                           to be granted her base transfer. In the July bid, Donna will be
                           bidding in the MKE base.

                           Example: There are 15 openings at the MKE base for July.
                           Frontier will post a Notice of Vacancy on May 21st that will close
                           on May 28th. Flight Attendant Donna has a standing bid for the
                           MKE base. On June 5th, the bids are awarded and 15 people
                           senior to Donna requested the MKE base and were awarded it.
                           Donna's request to transfer to MKE will be denied as there are no
                           more vacancies. Donna will remain in the DEN base. Donna's
                           standing bid will remain in effect until she changes it.

                           Example: There are 10 openings at the MKE base for July.
                           Frontier will post a Notice of Vacancy on May 21st that will close
                           on May 28th. Flight Attendant Donna has a standing bid for the
                           MKE base. However, Donna decides she no longer wants to go to
                           MKE and must change her standing bid. She has until May 28th
                           at 1159 local base time to change her standing bid. If she does
                           not change her standing bid and is awarded MKE, she must
                           transfer to the MKE base.

        D.       BASE SWAPS

                 Flight Attendants requesting a mutual base swap must submit a request
                 electronically if available, or otherwise via e -mail to Inflight, no later than
                 the 21st of the month prior to the bid period. Approval of a swap is subject
                 to the following:

                 1.        The Company will review the mutual swaps on file no later than
                           the 28th of the month and post awarded swaps that will become
                           effective with the following month's bid award.

                 2.        Flight Attendants may not request base swaps between entities
                           with separate operating certificates.




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                                             ARTICLE 14
                                             FURLOUGH

                 FURLOUGH

                         In the event a furlough or displacement becomes necessary, Flight
                         Attendants will be furloughed in inverse seniority order.

                         A Flight Attendant who is furloughed and subsequently recalled
                         will retain, but not accrue, longevity during a furlough, unless
                         recalled within a period of less than 30 calendar days from the
                         date of the furlough.

                 3.      Should an impacted Flight Attendant call out sick during the 14
                         calendar day period prior to the furlough start date, the Flight
                         Attendant must provide a doctor's note in order to receive sick
                         pay. Failure to provide documentation will result in a forfeiture of
                         all recall rights.

                 4.      In the event there is a planned reduction in force, the Company
                         must offer COLA prior to involuntary furloughs.

                 5.      The Company will, within 14 days prior to a reduction in force at
                         base, send certified /return receipt letters to all affected Flight
                         Attendants at that base, as well as post the reason for the
                         reduction via Company communication to all Flight Attendants.

                 6.      So long as the system is comprised of no more than two bases,
                         the specific base having a reduction in force will offer all Flight
                         Attendants being furloughed or displaced the following options in
                         seniority order:

                         a.        If the total number of Flight Attendants in the system is
                                   being reduced, then the Flight Attendant may:

                                   (i)        Transfer to vacancies at the other base;

                                   (ii)       Displace a Flight Attendant at the other base in
                                              seniority order;

                                   (iii)      Accept furlough.

                         b.        If the total number of Flight Attendants in the system is
                                   not being reduced, then the Flight Attendant may:

                                   (i}        Transfer to vacancies at the other base

                                   (ii)       Displace a Flight Attendant at the other base in
                                              seniority order

                 7.      In no event may a     Flight Attendant accept and remain on furlough
                         with recall rights if doing so would cause the Company to hire a



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                          new Flight Attendant.

                 8.       In the event more than two bases are established, then provisions
                          relating to displacement and furlough will be negotiated at that
                          time to take into account those changed circumstances.

                          Once these procedures above have been completed, all surplus
                          Flight Attendants will be furloughed and will be eligible for recall
                          based on the Furlough recall procedures.

                 FURLOUGH PAY AND BENEFITS

                 1.       A Flight Attendant who is furloughed will be paid for any accrued
                          unused vacation in a lump sum included with their final regular
                          paycheck.

                 2.       A furloughed  Flight Attendant may continue his/her medical and
                          other eligible group insurance for a period as specified under
                          Consolidated Omnibus Budget Reconciliation Act ( "COBRA ").

        C.       TRANSFER TO OTHER DEPARTMENT PRIOR TO FURLOUGH

                          If a Flight Attendant has transferred to another department within
                          the Company, and retains a position on the seniority list, and
                          subsequently receives a furlough notice from the Inflight
                          Department, he/she will retain rights to a Flight Attendant position
                          as provided for in Article 10 "Seniority" of this Agreement.

                 2.       If a furloughed Flight Attendant is terminated from another
                          department, he/she will lose his/her recall rights to the Flight
                          Attendant position. However, a Flight Attendant who resigns from
                          another department will be on furlough status and will retain
                          recall rights as provided herein.

                          A Flight Attendant may decline voluntary recall to a vacancy one
                          time during his/her furlough. Such Flight Attendant will thereafter
                          be recalled only after the remaining Flight Attendants on the recall
                          list have been contacted.

                 4.       If the Flight Attendant declines recall to Inflight a second time, the
                          Flight Attendant will forfeit all rights under this rule and will be
                          removed from the Flight Attendant Seniority List.

                          If a Flight Attendant accepts recall, the timeline for returning to
                          active status in the Inflight Department will be coordinated with
                          the Company.

        D.       RECALL

                 1.       All Flight Attendants furloughed by the Company will provide
                          current contact information to the Company at the time of
                          furlough. Any change in contact information must be supplied to
                          the Company promptly. A Flight Attendant who cannot be

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                         contacted due to failure to maintain updated contact information
                         with the Company will forfeit all seniority and recall rights.

                 2.      Recall from furlough will be in seniority order. A Flight Attendant
                         will be notified by the Company of his /her recall with the Company
                         via expedited mail, return receipt requested, e -mail, or positive
                         contact (in person or by telephone). After delivery of such notice to
                         the last address or telephone number on file with the Company,
                         the Flight Attendant must notify the Company in writing of his/her
                         intent to return to work or bypass recall within 10 calendar days.

                         A Flight Attendant may decline voluntary recall to the vacancy one
                         time during his/her furlough. A Flight Attendant who fails to
                         respond within 10 days will be deemed to have declined the recall
                         and will remain on the recall list. Such Flight Attendant will
                         thereafter be recalled only after the remaining Flight Attendants
                         on the recall list have been contacted.

                 4.      The Company will provide a furloughed Flight Attendant no fewer
                         than 15 calendar days to report for duty at the base specified by
                         the Company following his/her acceptance of recall. The Company
                         may extend this time period.




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                                         ARTICLE 15
                                       MOVING EXPENSES

        A.       ELIGIBILITY

                 The Company will pay moving expenses only when a Flight Attendant is
                 involuntarily displaced to another base for any reason.

        B.       MOVING BENEFITS

                 1.       An eligible Flight Attendant will be entitled to:

                          a.        Actual moving expenses for a professional mover,
                                    including packing materials, shipping and insurance, of
                                    household goods and effects up to a total weight of
                                    10,000 lbs. Packing, unpacking, extra insurance and
                                    storage are not covered. The mover must be approved
                                    by the Company.

                          b.        The Company will reimburse a Flight Attendant at the
                                    current Company mileage rate or $.36 per mile,
                                    whichever is greater, for up to two of the Flight
                                    Attendant's registered vehicles driven to the new base,
                                    using the most direct mileage between bases. One car
                                    may be moved prior to moving to the new primary
                                    residence, and the other (or both) car(s) would be moved
                                    in conjunction with the actual move.


                          c.        The Company will reimburse a Flight Attendant for meals
                                    and lodging for the Flight Attendant and his/her
                                    immediate family, up to five days, for the time required
                                    to travel to the base. A Flight Attendant will be removed
                                    from, and pay protected for, the trips that conflict with
                                    the time allowed for travel. A day of travel will be
                                    considered a minimum of 350 miles by the most direct
                                    AAA mileage. The daily allowance for meals will be
                                    $25.00 per day for the Flight Attendant, and $15.00 per
                                    day for each dependent traveling with the Flight
                                    Attendant.

                          d.        The Company will pay up to $200.00 for termination
                                    and /or activation fees of gas and electric utilities,
                                    telephone and cable television (excluding deposits)
                                    resulting from a move to a new base.

                          e.        If a lease is broken as a result of moving to a new base
                                    and a penalty is incurred, the Company will pay the
                                    penalty, not to exceed 2 month's rent.

                          f.        If immediate occupancy of the new residence is
                                    impracticable because of time constraints imposed by
                                    the Company, the Company will pay meal and lodging


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                                    expenses for up to 7 days. The Flight Attendant will
                                    make every effort to minimize this expense. If the
                                    moving company reimburses the Flight Attendant for
                                    these expenses, the Company will have no obligation to
                                    make any additional payment.

                 2.       The Company's liability for moving expenses will not exceed
                          $7,000. Payment for cost of moving household goods will be paid
                           directly from the Company to the moving vendor.

        C.       MOVING DAYS

                 A Flight Attendant who is moving his/her primary residence will be entitled
                 to four consecutive days off (inclusive of scheduled days off) for a move of
                 700 miles or less, plus one additional day off for each 350 additional miles.
                 These days off are to be taken in conjunction with the actual move. The
                 Flight Attendant will be paid for the value of any trip(s) missed. Moving days
                 may not be requested during the weeks of Thanksgiving, Christmas, and
                 New Year's. The Flight Attendant will coordinate scheduling days off for
                 moving with the Director of Inflight.

        D.       GENERAL

                 1.        If a Flight Attendant elects not to move, the Company will pay the
                           Flight Attendant $250.00, which need not be verified by receipts.

                 2.        When the Company is required to pay moving expenses, the
                           Company and the Flight Attendant may agree to an amount to be
                           paid to the Flight Attendant in lieu of the expenses.

                 3.        When the Company is required to pay moving expenses, the move
                           must be coordinated with the Company. Receipts verifying moving
                           expenses should be submitted within 30 days after incurring the
                           expenses. The Company will not be liable for any damages
                           incurred during moving.

                 4.       The Company will not be responsible for paying any expenses
                           after one year from the actual effective date of the Flight
                           Attendant's assignment to the new base.

                 5.        If a Flight Attendant elects to move him /herself, the rental truck
                          and/or trailer, packing materials, insurance, fuel, and $200.00 to
                          offset other costs not included in this paragraph, will be paid to
                          the Flight Attendant.

                          An eligible Flight Attendant may elect to move from a location
                          other than the base from which the Flight Attendant is being
                          transferred. However, the Company's financial responsibility will
                          not exceed the cost of moving the Flight Attendant from the
                          former base to his/her new base.




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                                         ARTICLE 16
                                       UNION ACTIVITIES

        A.       GENERAL

                 1.      The Company agrees to provide space at each Flight Attendant
                         base for the placement of a glass- enclosed secured bulletin
                         board. Such bulletin board will be purchased by the Union for
                         future bases and installed by the Company.. The bulletin board
                         may be no larger than the predominant size bulletin board used by
                         the Company for its other bulletin boards.. The Union may post
                         notices signed by authorized Union officials and related to Union
                         business on such bulletin boards. No notice posted on such board
                         will contain derogatory or inflammatory material.

                 2.      The Company and the Union will each pay half of the cost of
                         printing and distributing copies of this Agreement to the Flight
                         Attendants. Any subsequent side letters will be posted
                         electronically and will be accessible to all Flight Attendants.

                 3.      All new hires will be given a copy of this Agreement during initial
                         training.

                 4.      The Company will provide the Union with the names (in order of
                         seniority), mailing addresses, telephone numbers, and domiciles
                         of Flight Attendants after the initial assignment to a domicile.

                 5.      Upon request, but no more frequently than every three months,
                         the Company will provide to the AFA International Office a seniority
                         list that includes name, employee number, telephone number,
                         address and domicile. The list will also identify Flight Attendants
                         who have been terminated or experienced changes to their status
                         lasting longer than 30 days, such as furloughs, leaves of absence,
                         and transfers to non -flying or supervisory duties.

                         A Union representative will be permitted to address new hire Flight
                         Attendants during a training day. The Company and the Union will
                         mutually agree upon the date and time for such a meeting. The
                         time permitted will not be less than 1 hour or more than 2 hours.

                         The Union will advise the Company in writing of the names of its
                         designated representatives and such designation will remain
                         effective until revoked by written notice.

        B.       UNION BUSINESS LEAVE

                 1.      Subject to staffing and operational requirements, the Company
                         will release Flight Attendants in accordance with this Section for
                         the purpose of conducting official Union business.

                         Requests for union leave must be submitted in writing to the
                         Director of Inflight Services or his/her designee at least seven


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                         days before the requested day off. The Company may waive the 7-
                         day requirement. The request must include the names of the
                         Flight Attendants, the date and time of the release, the date and
                         time of return to duty, and specific business for which the release
                         is requested.

                 3.      Flight Pay Loss for Union Business Leave:

                         a.       Blocked Days: Union Business leave will be pre -blocked
                                  via use of PBS whenever possible. Pre -blocked Union
                                  Business leave will be credited at 5 hours per day and
                                  will be applied towards the Flight Attendant's minimum
                                  monthly guarantee.

                         b.       Days Not Blocked: When a Flight Attendant is released
                                  from previously assigned /awarded flight duty for Union
                                  Business leave, and the leave was not previously
                                  blocked out via PBS, the Company will pay the Flight
                                  Attendant the scheduled value of the trip(s) dropped. A
                                  Flight Attendant taking Union Business leave on a
                                  previously scheduled Reserve day will be credited with 4
                                  hours towards his /her guarantee.

                         c.       The Union will reimburse the Company, within 45 days
                                  after receipt of a statement from the Company, for the
                                  amount of the flight pay loss paid to the Flight
                                  Attendant, plus an override of 23% to cover the cost of
                                  fringe benefits, FICA, etc. The Company will forward such
                                  statements to the Union on a monthly basis.

        C.       UNION COMMITTEES AND INSIGNIA

                 1.      Flight attendants may wear a current official Union insignia pin on
                         their uniforms, provided it is no larger than 1" in diameter.

                 2.      The Union will supply the Company with a list of standing
                         committees. The Company will endeavor to meet with these
                         committee members as reasonably requested.




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                                     ARTICLE 17
                          UNION SECURITY AND DUES CHECK -OFF

        A.       AGENCY SHOP

                 Each Flight Attendant covered by this Agreement who fails to voluntarily
                 acquire or maintain membership in the Union will be required as a condition
                 of continued employment beginning 30 days after the signing of this
                 Agreement or completion of his/her probationary period, whichever is later,
                 to pay the Union each month a service charge as a contribution for the
                 administration of the Agreement and representation of such Flight
                 Attendant. The service charge will be an amount equal to the Union's
                 regular or usual monthly dues, initiation fee or periodic assessments, all
                 levied in accordance with the Railway Labor Act and Union's Constitution
                 and By -laws, which would be required of the Flight Attendant if a member.

                 DELINQUENT DUES

                 1.       If a Flight Attendant of the Company covered by this Agreement
                          becomes more than 30 days delinquent in the payment of service
                          charges, initiation fees, assessments and /or membership dues,
                          the Union will notify such Flight Attendant by certified mail, return
                          receipt requested, copy to Director of Inflight and the MEC
                          President that she/he is delinquent in the payment of such
                          service charge, initiation fee, assessments and/or membership
                          dues as specified herein and subject to discharge as an Flight
                          Attendant, and must remit the required payment within 15 days or
                          be discharged. The notice of delinquency required under this
                          paragraph will be deemed to be received by the Flight Attendant,
                          whether or not it is personally received when mailed by the
                          International Secretary -Treasurer of the Union by certified mail,
                          return receipt requested. postage prepaid to the Flight Attendant's
                          last known address, or to any other address which has been
                          designated by the Flight Attendant. It will be the duty of every
                          Flight Attendant covered by this Agreement to notify the Union's
                          Membership Department of every change in home address, or of
                          an address where the notice required by this paragraph can be
                          sent and received by the Flight Attendant if the Flight Attendant's
                          home address is at any time unacceptable for this purpose.

                          If, upon the expiration of the 15 day period, the Flight Attendant
                          still remains delinquent, the Union will certify in writing to the
                          Director of Inflight with a copy to the Flight Attendant that the
                          Flight Attendant has failed to remit payment within the grace
                          period allowed and is, therefore to be discharged. The Director of
                          Inflight will thereupon take proper steps to discharge such Flight
                          Attendant from the service of the Company. The effective date of
                          termination will be 15 days from the date of the Company's
                          written notice of termination. The Union will also be so advised.
                          Such discharge will be for "failure to comply with the terms and
                          conditions of Article 17 of the Collective Bargaining Agreement"
                          which is stipulated to be for just cause.


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        C.       REVIEW PROCEDURE

                 1.       A grievance by a Flight Attendant who is to be discharged as a
                          result of an interpretation or application of the provisions of this
                          Section will be subject to the following procedures.

                          a.        A Flight Attendant who believes that the provisions of
                                    this section have not been properly interpreted or
                                    applied as it pertains to her/him, may submit a request
                                    for a review in writing within five business days from the
                                    date of notification by the Director of Inflight as provided
                                    in paragraph B.2. above (not from the effective date of
                                    the termination). The request must be submitted to the
                                    Director of Inflight who will review the grievance and
                                    render a decision in writing not later than five business
                                    days following receipt of the grievance.

                          b.        If a request in writing is not submitted within five
                                    business days from the date of notification by the
                                    Director of Inflight as provided in paragraph B.2. above,
                                    the Flight Attendant will be deemed to have waived the
                                    right of appeal and will, therefore be terminated as soon
                                    as possible

                          c.        The Director of Inflight or his/her designee will forward a
                                    decision to the Flight Attendant with a copy to the
                                    International Secretary- Treasurer of the Union. Said
                                    decision will be final and binding on all interested
                                    parties, unless appealed as hereinafter provided. If the
                                    decision is not satisfactory to either the Flight Attendant
                                    or the Union, then either may appeal the grievance
                                    within 10 business days from the date of the receipt of
                                    such decision directly to the System Board of Adjustment
                                    as established in Article 18 of this Agreement. All such
                                    grievances will be processed by the System Board of
                                    Adjustment in accordance with the provisions of Article
                                    19 provided, however, that the members of the System
                                    Board appointed by the Union and the Company in
                                    accordance with the provisions of Article 19 will not
                                    participate in the hearings, deliberations, or decisions of
                                    the Board. Such grievances will be presented solely to a
                                    neutral referee selected in accordance with Article 19,
                                    who will hear and determine such grievance. Such
                                    grievances will be heard by the System Board within 21
                                    days of the receipt of the decision by the Director of
                                    Inflight. The parties to the System Board proceeding will
                                    be the Grievant, the Union and the Company.

                                    The decision of the neutral referee will be requested
                                    within 30 days after the hearing of the appeal, unless
                                    otherwise agreed by the Flight Attendant, the Union and


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                                     the Company, and will be final and binding on all parties
                                     to the dispute. The fees, charges and other reasonable
                                     expenses of such neutral will be borne equally by the
                                     Grievant and the Union.

                  2.       During the period a grievance is being handled under the
                           provisions of this Article and until the final award by the System
                           Board of Adjustment, the Flight Attendant will not be discharged
                           from the Company nor lose any seniority rights because of non-
                           compliance with the terms and provisions of this Article.

                           a.        A Flight Attendant discharged by the Company under the
                                     provisions of this paragraph will be deemed to have
                                     been discharged for cause within the meaning of the
                                     terms and provisions of this Agreement.

                           b.        The Union agrees that it will indemnify and hold the
                                     Company harmless against all forms of liability that will
                                     arise out of or by reason of action taken by the
                                     Company, which action was requested by the Union
                                     under the provisions of this Section or arising out of the
                                     Company's compliance with this Section.

        D.        DUES CHECK -OFF

                  1.       The Company will deduct from the pay of each Flight Attendant
                           covered by this Agreement an amount equal to the standard
                           monthly membership dues, service charges, initiation fees and
                           assessments, uniformly levied in accordance with the Railway
                           Labor Act, as amended, and the Constitution and By -laws of the
                           Union, provided such Flight Attendant Union executes the
                           following agreed upon form known as a "Check -Off Form."

                  2.       For Flight Attendants who have executed a Check -Off Form,
                           deductions will be made in the following manner:

                           a.        One -half of the deduction for dues or service charge will
                                     be made in the first paycheck of the month, and one -half
                                     of the deduction will be made in the second paycheck of
                                     the month.

                                     Initiation fees will be split into equal payments each
                                     paycheck over the period of 6 months.

        ASSIGNMENT AND AUTHORIZATION FOR VOLUNTARY CHECK-OFF OF UNION DUES
        TO: FRONTIER AIRLINES, INC.

        I                hereby authorize and direct FRONTIER AIRLINES to deduct from my
        pay dues, in an amount equal to such monthly dues, service charges, initiation fees,
        and/or assessments, as now or may hereinafter be established in accordance with
        the Constitution and By-laws of the Union, for remittance to the Association of Flight
        Attendants-CWA.


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        Iagree this authorization will be irrevocable for one (1) year from the date hereof or
        until termination of the Check-Off agreement between Frontier Airlines and the
        Association of Flight Attendants-CWA, whichever occurs sooner.

        If the Check -Off agreement Is terminated this authorization will be automatically
        terminated. In the absence of a termination of the Check-Off agreement, this
        authorization may be revoked effective as of any anniversary date of the signing
        hereof by written notice given by me to Frontier and the Association of Flight
        Attendants-CWA by certified mall, return receipt requested, during the ten (10) days
        Immediately preceding such anniversary.

        Signature of Flight Attendant
        Company Seniority Date
        Infiight Seniority Date
        Base
        Date of First Deduction

        (The Company will have this form and the process in place no later than 30 days
        after date of signing of the Agreement)

                  3.       During Flight Attendant's initial training, the Company will make
                           known the dues Check -Off provisions of this Agreement. Those
                           desiring to participate in the payroll deduction plan for the
                           remittance of dues will at the time complete 2 copies of the above
                           Check -Off form.

                           a.        One copy of each completed form will be forwarded to
                                     the Union's headquarters office and the other copy to
                                     the Company's Payroll Department. On the first
                                     paycheck of the month following completion of the Flight
                                     Attendant's probationary period, the Payroll Department
                                     will begin the appropriate deduction.

                           b.        The Company will also make available to the Union the
                                     names and base assignments of those Flight Attendants
                                     from each graduating class who have elected not to
                                     participate in the Check -Off arrangement.

                           All other Check -Off forms will be submitted from the Union's
                           headquarters office to the Company's Payroll Manager. A properly
                           executed Check -Off form, filed before the 15th of any month, will
                           become effective the 1st of the month following its receipt by the
                           Company's payroll personnel. Illegible or improperly executed
                           forms will be returned to the MEC President.

                           Any notice of revocation as set forth in the Check -Off must be in
                           writing, signed by the Flight Attendant, and delivered by certified
                           mail, return receipt requested, addressed to the Company's
                           Payroll Manager with a copy to the MEC President as soon as it is
                           processed through the Company's payroll procedures. Check -Off
                           forms and notices so received by the Company will be stamp -
                           dated on the date received and will constitute notice to the


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                          Company on the date received, not mailed.

                 6.       With 30 days notice from the Union, the Company will deduct from
                          Flight Attendant's earnings any assessments levied by the Union.

                          The Company will prepare a monthly report that provides to the
                          Union a list of all Flight Attendants on leave of absence, newly
                          hired with probation end date, furloughed or recalled and Flight
                          Attendants who have terminated employment. This list will be
                          provided to the MEC President and can be transmitted in
                          electronic format.

        E.       DUES DEDUCTION

                 1.       Deductions of total membership dues, service charges and
                          assessments will be split at the time of the issuance of the first
                          and second paychecks issued each month provided there is a
                          sufficient balance due the Flight Attendant at those times after all
                          other deductions authorized by the Flight Attendant or required by
                          law have been satisfied. Within fifteen (15) days after each
                          payday, the Company will remit to the Union via Electronic Money
                          Transfer all dues, service charges and assessments collected on
                          each payday pursuant to the outstanding and unrevoked Check-
                          Off forms. The Company will promptly send to the Union via
                          electronic medium a separate list of names, bases, pay periods
                          and total amounts deducted for those Flight Attendants for whom
                          such deductions have been made.

                 2.       No dues, service charges or assessments will be deducted from
                          the wages of any Flight Attendant who has executed a Check -Off
                          Form and who has transferred to a job not covered by this
                          Agreement, who is on furlough, or who is on leave without pay.
                          Upon such Flight Attendant's return to work within a classification
                          covered by this Agreement, whether by transfer, return from a
                          leave without pay, or a recall from furlough, payroll deductions of
                          dues will automatically be resumed, unless the Flight Attendant
                          has revoked his/her Check -Off Form in accordance with the
                          appropriate provisions of this Article and Railway Labor Act, as
                          amended.

                 3.       In the event of a strike or work stoppage by the Union, the
                          Company's obligation under this Article will be suspended and be
                          of no force or effect for the duration of such strike or work
                          stoppage.




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                                           ARTICLE 18
                                      GRIEVANCE PROCEDURE

        A.       GENERAL

                 Unless otherwise provided in this Agreement, a Flight Attendant, or the
                 Union on behalf of a Flight Attendant, may file a grievance concerning any
                 dispute:

                 1.         Arising out of the interpretation or application of any of the
                            provisions of this Agreement; or

                 2.         To dispute discipline or discharge that the Flight Attendant
                            believes was imposed without just cause.

        B.       INVESTIGATIONS - DISCIPLINE AND DISCHARGE

                 1.         Investigatory Meetings

                            a.        A Flight Attendant will not be disciplined or discharged
                                      without just cause and without previously being afforded
                                      a meeting before the Director of Inflight or his /her
                                      designee, provided that the Flight Attendant has made
                                      him /herself available for the meeting.

                                      The Flight Attendant will be notified of the time and
                                      place of the meeting and the nature of the matter to be
                                      discussed. When a Flight Attendant is required to attend
                                      an investigatory meeting, the Flight Attendant will be
                                      permitted to have Union representation if a
                                      representative is reasonably available on the date and
                                      time of the scheduled investigatory meeting.

                            c.        If a Union representative is not reasonably available or if
                                      the Flight Attendant declines Union representation, the
                                      Flight Attendant may request the presence of another
                                      available Frontier Flight Attendant during the
                                      investigatory meeting. The Company may deny the
                                      presence of a particular Flight Attendant(s) pursuant to
                                      this paragraph if that Flight Attendant is involved in any
                                      manner in the incident under investigation. Upon
                                      agreement of the parties, the Flight Attendant may be
                                      permitted to attend an investigatory meeting via
                                      telephone conference.

                 2.         Nothing herein will prevent the Company from holding a Flight
                            Attendant out of service with or without pay during an
                            investigation. Flight Attendants will not be eligible for pass travel
                            benefits while held out of service, except to attend an
                            investigatory meeting.



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                 3.       When a Flight Attendant is disciplined or discharged, the Company
                          will furnish him /her with a written statement of the precise
                          charge(s) against him /her.

                 4.       A documented verbal discussion, verbal counseling or verbal
                          warning does not constitute an action of discipline.

                 5.       A notice of discipline or discharge will be delivered to the Flight
                          Attendant and the Union by any of the following methods: hand -
                          delivery in person; v -file or e -mail (in either case, emailed
                          concurrently to the Union); regular U.S. mail; U.S. certified
                          mail/return receipt requested; or express delivery (e.g., DHL, UPS,
                          FedEx, USPS, etc.).

        C.       THE GRIEVANCE PROCESS

                 1.       Discipline and Discharge

                          a.        To be considered timely, a grievance challenging an
                                    action of discipline or discharge will be in writing, signed
                                    by the affected Flight Attendant or the Union
                                    representative and must be submitted to the Director of
                                    Inflight no later than 14 calendar days following the date
                                    upon which the Flight Attendant receives written notice
                                    of the discipline or discharge.

                          b.        Grievances must be submitted to the Director of Inflight
                                    or his/her designee and will be deemed filed upon
                                    receipt.

                          c.        Failure to file a grievance within the specified time limits
                                    constitutes a waiver of the grievance.

                          d.        An investigation and hearing will be held by the Director
                                    of Inflight or his/her designee no later than 30 calendar
                                    days following the Flight Attendant's submittal of the
                                    grievance to the Director of Inflight. Such hearing will not
                                    be conducted by the same person who initiated the
                                    disciplinary action, or by anyone subordinate to that
                                    person.

                          e.        The parties may agree to hold a Hearing for the
                                    purposes of hearing multiple grievances (i.e.,
                                    "consolidated Hearing "). If that is the case, then the 30
                                    calendar day time period above may be extended for the
                                    grievances to be heard during the consolidated Hearing.

                                    Upon agreement of the parties, Hearings may be held
                                    telephonically.

                          g         Within 14 calendar days following the date of the


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                                   Hearing, the Company will issue a decision in writing to
                                   the affected Flight Attendant and the Union. For group
                                   grievances or consolidated Hearings, the Company will
                                   issue a decision in writing to the Union within 30
                                   calendar days following the hearing date.

                                   The decision of the Company may be appealed to the
                                   System Board of Adjustment in accordance with Article
                                   19 "System Board of Adjustment" within 14 calendar
                                   days of receipt of the Company's written decision
                                   provided pursuant to Section 1.g. above.

                                   A Flight Attendant disciplined or discharged during
                                   his/her probationary period may not dispute or
                                   challenge such discipline or discharge through the
                                   grievance procedure.

                          Non -Disciplinary Grievances

                          a.       A Flight Attendant or the Union on behalf of a Flight
                                   Attendant or group of Flight Attendants may file a
                                   grievance concerning any action of the Company
                                   affecting them that they believe violates the terms of
                                   this Agreement. Prior to filing such a grievance, the Flight
                                   Attendant should discuss the matter with his/her
                                   supervisor, and the Union should discuss the matter with
                                   the Director of Inflight in an effort to resolve the matter.
                          b.       Non -Disciplinary Grievances will be in writing, signed by
                                   the affected Flight Attendant or Union official and will
                                   state in reasonable detail the facts upon which the claim
                                   is based, identifying the specific provisions of the
                                   Agreement claimed to have been violated and the relief
                                   sought. The grievance must be submitted to the Director
                                   of Inflight or his/her designee within 30 calendar days
                                   from the time the Flight Attendant knew or reasonably
                                   should have known, of the event(s) giving rise to the
                                   grievance, whichever is earlier.

                          c.       An investigation and hearing will be held by the Director
                                   of Inflight or his/her designee no later than 30 calendar
                                   days following the Flight Attendant's request.

                          d.       The parties may agree to hold a Hearing for the
                                   purposes of hearing multiple grievances (i.e.,
                                   "consolidated Hearing "). If that is the case, then the 30
                                   calendar day time period above may be extended for the
                                   grievances to be heard during the consolidated Hearing.
                          e.       Upon agreement of the parties, Hearings may be held
                                   telephonically.

                          f.       Within 14 calendar days following the date of the


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                                    Hearing, the Company will issue a decision in writing to
                                    the affected Flight Attendant and the Union. For group
                                    grievances or consolidated Hearings, the Company will
                                    issue a decision in writing to the Union only within 30
                                    calendar days following the hearing date.

                          g.        The decision of the Company may be appealed to the
                                    System Board of Adjustment in accordance with Article
                                    19 "System Board of Adjustment" within 14 calendar
                                    days of receipt of the Company's written decision
                                    provided pursuant to Section 2.f. above.

        D.       GRIEVANCE REVIEW MEETINGS

                 The Company and Union will schedule meetings regularly to review
                 grievances pending at the System Board level in an effort to resolve as
                 many grievances as possible. Both Company and Union will be represented
                 by individuals with full authority to approve binding settlement agreements.
                 Rejected offers of settlement made by the Company or Union and all other
                 case evaluation(s) and discussion(s) will be without prejudice to either party
                 and will be inadmissible in any System Board of Adjustment hearings. The
                 parties may mutually agree to bypass this step in the grievance process.

        E.       TIME LIMITS & SUBMISSIONS

                 1.       Any time limits set forth in this Article for holding a grievance
                          hearing may be extended by mutual agreement.

                 2.       If any action or decision made by the Company is not grieved or
                          appealed by the Union or Flight Attendant within the time limits
                          set forth in this Article, the action or decision of the Company will
                          become final and binding.

                 3.       If the Company fails to render a decision within the time limits set
                          forth in this Article, unless extended by mutual written agreement
                          by the parties, the Union may advance the grievance to the next
                          level in the Grievance process.




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                                       ARTICLE 19
                               SYSTEM BOARD OF ADJUSTMENT

        A.       ESTABLISHMENT

                 In compliance with Section 204, Title it of the Railway Labor Act, as
                 amended, there is hereby established a System Board of Adjustment for the
                 purpose of adjusting and deciding disputes which may arise under the
                 terms of the Agreement, and which are properly submitted to it as set forth
                 in Article 18, which Board will be known as the "Frontier Flight Attendants'
                 System Board of Adjustment."

        B.       MEMBERSHIP

                 1.       The Board will be comprised of a Company Board Member, a
                          Union Board Member, and a single neutral member (i.e., the
                          Chairperson).

                 2.       Each Board member will be free to discharge his/her duty in an
                          independent manner, without fear that his/her individual relations
                          with the Company or with the Union may be affected by action
                          taken in good faith in his/her capacity as a Board member. Board
                          members who are employees of the Company will be granted time
                          off to attend the hearing and subsequent executive session(s).

                 3.       The parties will agree on a panel of nine approved arbitrators from
                          which neutral members will be selected using the alternate strike
                          method. The panel will be established within 45 calendar days of
                          the signing of this Agreement. Once selected, a party may
                          permanently remove a neutral from the panel after one year;
                          however, the neutral may not be removed from any case to which
                          he/she has already been assigned without agreement between
                          the Company and the Union. If a panel member is removed by a
                          party, voluntarily removes him /herself from the panel, or can no
                          longer act as a neutral (e.g., death, illness, retirement), the parties
                          will select a mutually agreeable permanent replacement.

                 4.       Notwithstanding the foregoing, the parties may at any time agree
                          to select a neutral who is not a member of its standing panel to sit
                          as the Chairperson of the System Board of Adjustment.

        C.       JURISDICTION

                 1.       The Board will have jurisdiction over any grievance between any
                          Flight Attendant and the Company, or the Union and the Company,
                          growing out of grievances or out of interpretation of any of the
                          terms of this Agreement; provided, however, that the jurisdiction
                          of the Board will not extend to changes in hours of employment,
                          rates of compensation or working conditions. The Board will
                          consider any grievances properly submitted to it by the Union or
                          the Company when such grievances have been previously


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                           submitted to, but not settled, in accordance with the grievances
                           procedure provided for in this Agreement.

                 2.        Each grievance presented to the Board will be treated as a
                           separate case, unless the parties mutually agree otherwise.

                 3.       Appeals to the Board will be made in writing with a copy of the
                          grievance attached, and will contain the following:

                           a.        A statement of facts;

                           b.        The question(s) at issue;

                           c.        The position of the appealing party;

                           d.        The understood position of the other party;

                          e.         Specific provisions of the Agreement alleged to have
                                     been violated; and

                          f.         The remedy sought by the appealing party.

        D.       DOCUMENTS, WITNESSES, EVIDENCE AND REPRESENTATION

                          The Union will designate its representative and the Company will
                          designate its representative. Evidence may be presented either
                           orally, in writing, or both.

                 2.        Witnesses may testify telephonically, provided that the party,
                           whose witness(s) will testify telephonically, has notified the other
                           party prior to the hearing date.

                          The number of witnesses summoned at anytime will not be
                          greater than the number which can be spared from the
                           Company's operation without interference with the services of the
                           Company.

                           Unless the parties mutually agree otherwise, a stenographic report
                           is to be taken.


        E.       EXECUTIVE SESSION

                 Following the hearing, or at any time prior to the issuance of a final decision
                 in the matter, upon the request of any member of the Board, the members
                 of the Board will convene in executive session.

        F.       LOCATION OF BOARD HEARINGS

                 Board hearings will be held at a location agreed to by the parties on a case
                 by case basis. If the parties are unable to agree to a location, the case will
                 be heard at the Company's corporate headquarters or within the general
                 vicinity of the Company's corporate headquarters.


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        G.       EXPENSES - ARBITRATOR/WITNESSES/HEARING

                 1.       The parties will each pay the cost and expenses of their own
                          attorneys and/or advocates, witnesses and Board Members.

                 2.       Unless otherwise provided in this Agreement, all fees and
                          expenses of the arbitrator and those related to the conduct of the
                          hearing will be borne equally by the Company and the Union (eg.,
                          hearing room rental, arbitrator fees and travel expenses, court
                          reporter, transcript, etc)

                 3.       The grievant (whether an employee of the Company or not),
                          employee witnesses, employee board members, and
                          representatives who are employees of the Company will be
                          provided roundtrip positive space transportation on the lines of
                          the Company from their point of duty or assignment, if applicable,
                          to the location at which they must appear as witness or
                          representatives.

                 4.       Should a hearing before the Board be postponed or canceled
                          without mutual consent ofthe Company and the Union, the party
                          postponing or cancelling will bear any and ail expenses incurred
                          by the arbitrator and those related to the postponement or
                          cancellation of the hearing (e.g., arbitrator cancellation fee and
                          travel expenses, hearing room rental, etc.).




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                                     ARTICLE 20
             MISSING, INTERNMENT, HOSTAGE, OR PRISONER OF WAR BENEFITS

        A.       GENERAL

                 Any Flight Attendant who, while in the performance of duties for the
                 Company, through no fault of his/her own becomes illegally interned (e.g.,
                 jailed, confined, etc.), is held as a prisoner of war, is hijacked or is held
                 hostage (hereafter collectively referred to as "illegally interned ") will accrue
                 seniority and longevity, and will receive the following benefits until he/she
                 returns to active employment with the Company or as otherwise provided in
                 this Section:

                           The Flight Attendant will be paid his/her average monthly
                           compensation received during the last 3 months of the last 6
                           months she /he worked with the Company, less legally mandated
                           deductions and deductions and contributions previously
                           authorized by the Flight Attendant. Where the Flight Attendant
                           would be entitled to longevity raises, the Flight Attendant will be
                           paid in accordance with those raises.

                 2.        Full vacation and sick leave credit will continue to accrue.

                 3.        This Article does not apply in situations where the Flight Attendant
                           is interned/held /retained legally in another country (e.g. held
                           pursuant to Canada's Immigration and Refugee Protection Act) or
                           otherwise missing.

                 4.        To the extent permitted by law, travel agreements (including
                           interline agreements) and Company policy, continuation of travel
                           benefits for dependents of the Flight Attendant will continue.

        B.       DEATH AND SURIVOR BENEFITS

                 1.        If death of a Flight Attendant is established, or if there is sufficient
                           presumption of death, all benefits set forth in paragraphs A (1)
                           through (3) above will cease and death /survivor benefits, if any,
                           will be paid.

                           If the parties are unable to confirm whether a Flight Attendant
                           falling under this Section is alive or dead, compensation and other
                           benefits under this Section will continue to be paid by the
                           Company to the beneficiaries (or trust account) indicated in the
                           Flight Attendant's letter of instruction to the Company until
                           death/survivor benefits, if any, are paid or until a twelve -month
                           period has passed, whichever occurs first.

                           The Company will require each Flight Attendant to execute and
                           deliver to the Company a written direction in the form set forth in
                           Paragraph 5 below. The monthly compensation set forth in
                           Section A. above will be credited to such Flight Attendant and will



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                           be distributed according to written directions from the Flight
                           Attendant.

                 4.        If a Flight Attendant due compensation under this Article has not
                           completed a direction as per Paragraph 3 above, such
                           compensation will be held in an interest bearing account at a
                           federally- insured financial institution until the Flight Attendant is
                           found or released and is able to claim the compensation. In the
                           event of the Flight Attendant's death, the proceeds of said
                           account will be paid to the legal representative of the Flight
                           Attendant's estate.

                 5.         Form Of Written Direction

                 WRITTEN DIRECTION FOR DISBURSEMENT OF BENEFITS

                 TO:   Frontier Airlines

                 DATE:

                 In the event payment directly to me is not possible, you are hereby directed
                 to pay all monthly compensation due me and any other benefits stipulated
                 in the Agreement as follows:


                 $              or           % per month to (name)              (address)
                                                      as long as living, and thereafter to
                                                           ,

                 (name)                                                         (address)
                                                The balance, if any amounts accruing
                                                    .


                 after the death of the persons named above will be held for me and
                 distributed as stipulated by Article 20 of the Collective Bargaining
                 Agreement.

                 The foregoing directions may be modified from time to time by letter
                 addressed to the Company and signed by the undersigned. Upon receipt by
                 the Company, any such modification will become effective as of the
                 postmarked date.


                  (Signature)


                  (Print name)


                  (Employee number)




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                                        ARTICLE 21
                                 DRUG AND ALCOHOL TESTING

        A.       The Company will maintain and administer drug and alcohol testing
                 programs in accordance with applicable federal laws and regulations and
                 the Company's drug testing program.

        B.       A Flight Attendant will be considered to be on duty for pay purposes during
                 the time he /she is required to undergo random drug/alcohol testing. If the
                 testing occurs after scheduled release from duty at the end of a duty
                 period, the Flight Attendant will notify Crew Scheduling of his/her release
                 time immediately following such test.

        C.       No Flight Attendant will be required to take a random alcohol /drug test on a
                 scheduled day off.

        D.       A Flight Attendant ordered to submit to a "reasonable suspicion" test will be
                 permitted to contact a Union representative prior to the test provided that
                 doing so does not delay the test.

        E.       A Flight Attendant who is removed from a trip for drug/alcohol testing that
                 does not result in a positive result will be made whole for any time lost.

        F.       All Flight Attendants will be provided a copy of the Company's FAA approved
                 drug and alcohol program.




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                                        ARTICLE 22
                             SAFETY, SECURITY, HEALTH AND EAP

        A.       GENERAL

                 1.       The Company recognizes that safety, security and health are
                          subjects that are an essential part of the Flight Attendant's
                          working environment and will work with the Union's Safety,
                           Security, ASAP, EAP and Health committees to resolve concerns.

                           Flight Attendants are not responsible for security sweeps, except
                           in extreme circumstances.


                 3.        In the event of a bomb threat, Flight Attendants will
                                                                               not be
                           required to search for bombs and /or suspicious and potentially
                           dangerous items on an aircraft, or to remain on board during such
                           a search while the aircraft is on the ground.


                 4.       The Company will maintain zero tolerance for assaults and/or
                          interference involving crew members.

                 5.       The Company will notify a Flight Attendant upon learning that
                          he/she may have been exposed to Hepatitis B, Tuberculosis
                          and /or HIV virus in the course of his/her duties and will provide
                          testing should an exposure event occur.

                 6.       Reasonable efforts will be made to standardize the configuration
                          of safety/emergency equipment on each series of aircraft.

                 7.       Whenever the Company refers Flight Attendants for voluntary
                          participation in the Company EAP, either verbally or in writing, the
                          Company will also inform the Flight Attendant of the existence of
                          the Union EAP.

                 8.       Professional Standards - When a conflict between Flight
                          Attendants is brought to the attention of the Company in the first
                          instance, the Company may refer the matter to the Union EAP.

        B.       AFA SAFETY, SECURITY AND HEALTH COMMITTEE

                           Upon request, the Company will meet with the Union's Safety,
                           Security and Health Committee Chairs and EAP Chairs to address
                           important issues.

                           Upon request the Company will provide the Union a copy of the
                           OSHA300A report as provided to OSHA.

                          The Company recognizes the Union Accident Investigation Team
                          ( "Go Team ") as potentially active participants in an accident

                          investigation under the purview of the NTSB.




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        C.       ACCIDENT /HIJACKING

                 1.       Upon learning of an aircraft accident or hijacking involving a
                          Company aircraft with a Flight Attendant onboard, the Company
                          will promptly notify the MEC President or designee.

                 2.       The Company will provide the Union with the reports pertaining to
                          accidents or hijackings, provided such reports:

                          a.       Are reasonably related to the duties and responsibilities
                                   of the Union as representative of the Frontier Flight
                                   Attendants;

                          b.       Are reasonably available or producible without undue
                                   burden to the Company;

                          c.       Do not contain or refer to confidential information of the
                                   Company or its employee, partners, or affiliates; and

                          d.       Are not precluded from disclosure based on state or
                                   federal privacy laws or any other law or regulation.




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                                              ARTICLE 23
                                               GENERAL

        A.       COMMUTER POLICY

                          The Company recognizes Flight Attendants' desire to live in
                          locations other than their base. The Company's commuter policy
                          is intended to protect registered Flight Attendant Commuters
                          ( "FACs ") from, a dependability infraction when unable to report for

                          duty in base. Once registered with the Company as a commuter,
                          the Flight Attendant is responsible for reporting to assignments in
                          a timely manner and rested for a full duty period. The following
                          provisions are not intended to relieve Flight,Attendants of that
                          responsibility.

                          The FAC policy does not alleviate the FAC's responsibility to attend
                          mandatory personal meetings scheduled with Company
                          management.

                 3.       Commuting crew members are not exempt from the Company's
                          carry-on baggage policy which has been approved and is
                          monitored by the FAA. This policy is in effect for Flight Attendants
                          traveling to and from work. Please refer to the carry -on baggage
                          policy posted on the Company's public website,
                          www.FrontierAirlines.com, for the current policy.

                 4.       Registered City

                          A FAC must register his /her commuter city with the Company.
                          Flight Attendants may commute from sister- cities that are within
                          180 milesof their commuter city. The commuter city may not be
                          changed more than three times a year unless individual
                          authorization is given by Inflight Management. The FAC policy
                          applies only on Frontier Airlines and to carriers on which the
                          Company has direct access to their computer reservation system.

                 5.       Flight'Listing.

                          a.         The FAC will select a primary and back -up flight with
                                     available seats. "Available" is defined as at least one
                                                              /
                                     seat open through https: /ifc.id90.com /, or other
                                     designated online flight listing system, when the Flight
                                     Attendant lists within 12 hours of departure from the
                                     FAC's registered city. The number of non -revenue
                                     passengers listed does not impact this policy.

                          b.         The back -up flight, per the published schedule, must
                                     allow the FAC to report at base and check -in on -time.

                          c.         The cabin jumpseat may be utilized as the FAC's primary
                                     flight but may not be considered as his /her back -up
                                     flight. At times, Company management or training

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                                   personnel (e.g., Check Flight Attendants, Instructors on
                                   Company Business) will occupy the additional jumpseat,
                                   and the FAC must plan accordingly.

                          d.       A FAC receives no preferential treatment regarding
                                   priority for the cabin jumpseat in either direction from
                                   his/her registered city; all published jumpseat guidelines
                                   are in effect.

                 6.       Documentation

                          The FAC must be able to provide documentation to his/her Inflight
                          Manager to substantiate listing and standing-by for two available
                          flights. Listing and standing -by documentation includes:

                          a.       Printout of F9- generated listings (e.g., auto -confirmation
                                   generated from website);

                          b.       Boarding coupon;

                          c.       Printout from customer service agent displaying non -
                                   revenue stand -by list;

                          d.       ACM form_

                 7.       Corrective Action Protection

                          a.       The FAC policy protects the FAC from the dependability
                                   corrective action if a circumstance beyond the FAC's
                                   control prevents reporting at base on -time for their trip.
                                   The four excusable incidents are:

                                   (i)        Weather delay or cancellation;

                                   (ii)       Mechanical delay or cancellation;

                                   (iii)      Denied jumpseat due to seniority, or by ACM on
                                              Company Business;

                                   (iv)       Unforeseen significant event (e.g. weight &
                                              balance, airport security breach, etc.).

                                   If the FAC's flights are significantly delayed and the
                                   revised scheduled arrival into base is within 30 minutes
                                   prior to the FAC's report time, he/she must contact with
                                   Crew Scheduling and advise a Crew Scheduler of the
                                   delay and anticipated arrival into base. The FAC must be
                                   on the aircraft 40 minutes prior to departure in order to
                                   take the trip.

                          c.       Any issues other than the four types of events listed
                                   above will not be excused for the FAC under this policy


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                                     (e.g., traffic, car problems, weather on the drive to the
                                     airport).

                 8.       Responsibilities

                          a.         A FAC unable to report to the aircraft within 20 minutes
                                     of his /her scheduled report time in base may be
                                     removed from that trip and replaced with a Reserve
                                     Flight Attendant.

                          b.         The Flight Attendant may be released from duty without
                                     pay for the portion of the trip he/she missed. The Flight
                                     Attendant may use the Automated Bid System, or Will Fly
                                     to replace the hours lost. A FAC must pick up time to
                                     meet the 60 hours requirement if the missed trip brings
                                     the Flight Attendant's hours below 60. If the trip missed
                                     is the last trip of the month, the FAC must contact the
                                     Company.

                          c.         The Flight Attendant may resume the original trip, if
                                     applicable, on its return through base, The Reserve
                                     Flight Attendant would be removed at that time, and the
                                     FAC would resume the trip and paid according to hours
                                     flown for the remainder of the trip. The FAC will not be
                                     allowed to resume the trip out of base. The FAC must
                                     make every effort to reach base to complete the
                                     assigned trip.

                 9.       Training

                          Training assignments for FACs will be treated the same as
                          reporting for a scheduled trip, and the FAC must follow all
                          procedures outlined in this Section A and Article 7. The FAC is
                          responsible for contacting the Training Administrator for
                          rescheduling the missed class. The FAC is solely responsible for
                          maintaining in- flight qualification.

                 10.      Reserve

                          A Flight Attendant on Reserve may be registered as a FAC. Using
                          the above -stated reporting procedures, the Reserve FAC must be
                          able to arrive in base prior to 0001 of Day 1 of a series of days on
                          Reserve. A Reserve Flight Attendant pre -assigned a trip, if
                          released by Crew Scheduling until report time, may utilize the
                          above-stated reporting procedures with regards to reporting in
                          base for the assigned trip. Reserve FACs will not receive, nor
                          request, preferential treatment from Crew Scheduling with regard
                          to trip assignment or scheduling.

        B.       INFLIGHT RETIREMENT RECOGNITION

                 The steps to take when preparing for retirement as a Flight Attendant from
                 the Company are:

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                 1.       A Flight Attendant must have at least 5 years in Inflight Services to
                          qualify for Inflight Retirement Recognition.

                 2.       The Flight Attendant will make an appointment with his /her
                          Inflight Manager at least 30 days prior to his /her last flight,
                          preferably prior to the Flight Attendant's last bid.

                 3.       The Flight Attendant will not set a date for his/her last flight until
                          he/she has met with the Inflight Manager; this is the time the date
                          will be set.

                 4.       The Flight Attendant may have up to four family members join
                          him/her on his /her last flight. The Flight Attendant will provide the
                          names to the Inflight Manager at least a week prior to the last
                          flight, so positive space reservations may be made.

        C.       RETAINED MANAGEMENT RIGHTS

                 1.       Except as restricted by the express terms of this Agreement, the
                          Company will retain all rights to manage and operate its business
                          and work force, including but not limited to: the right to sell or
                          discontinue all or part of the business; to sell or lease aircraft or
                          facilities; to determine where and when to operate scheduled or
                          unscheduled flights; to determine its marketing methods and
                          strategies, and to enter into code sharing, affiliation or marketing
                          agreements with other carriers; to invest (including equity
                          investments) in other business entities including, without
                          limitation, other air carriers; and to determine the number and
                          type of aircraft it will utilize.

                          The exercise of any right reserved herein to management in a
                          particular manner, or the non -exercise of such right, will not
                          operate as a waiver of the Company's rights hereunder, or
                          preclude the Company from exercising the right in a different
                          manner.

                          Nothing in this Agreement will restrict the right of Inflight
                          Management to fly as crew members to maintain proficiency and
                          to provide expertise and assistance to Flight Attendants in the
                          form of supervision, instruction and demonstration to achieve the
                          goal of superior service to all passengers. When a Flight Attendant
                          is displaced from his /her scheduled flight assignment by a
                          management/supervisory/inflight Flight Attendant, he /she will be
                          released from all duty and paid as if flown. The Company will
                          provide as much notice as possible of the displacement to the
                          Flight Attendant.




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                                            ARTICLE 24
              EQUITY, PROFIT- SHARING, AND WAGE & BENEFIT SNAPBACKS



        A.       EQUITY PARTICIPATION

                 Flight Attendants will be entitled to equity in the Company (the "Equity
                 Participation ") as described herein:

                 1.       The value of the Equity Participation is $16.0 million.

                 2.       The Equity Participation value will be converted to first dollar
                          equity in the Company at a ratio of the greater of $0.18 per dollar
                          of new equity invested in the Company. or any higher rate offered
                          to any other key stakeholder in the restructuring process.

                 3.       The terms of the Equity Participation by and for the benefit of the
                          Participating Flight Attendants will be equal to the terms obtained
                          by a third party investor in an Equity Event or, if the Equity Event is
                          a public offering of securities in the Company, the form of
                          securities offered in the public offering.

                 4.       Other minority investor rights by and for the benefit of the
                          Participating Flight Attendants will be negotiated, including
                          tagalong rights and customary dragalong rights.

                          Vesting: The Equity Participation will vest in proportion to the
                          actual Investments as set forth in the letter dated October 11,
                          2011 between the Company and the Union entitled "Flight
                          Attendant Restructuring Investments ". To the extent the
                          Investments as set forth in the referenced letter cease or are not
                          made, the value of the Equity Participation in Paragraph A.1.a
                          above will be reduced by the net present value discount rate of
                          15%

        B.       PROFIT SHARING PROGRAM.

                 The Company has established a Profit Sharing Plan (the "PSP ") for
                 employees participating in the Company's restructuring efforts. According to
                 the terms of the PSP, the Company will make contributions as follows:

                 1.       For pre -tax earnings greater than 2 %, but less that 4% of total
                          Company revenue, 50% will be contributed to the PSP.

                          For pre -tax earnings greater than 4 %, but less than 6% of total
                          Company revenue, 25% will be contributed to the PSP.

                          For pre -tax earnings greater than 6% of total Company revenue,
                          10% will be contributed to the PSP.

                          50% of contributions to the PSP will be allocated to the Frontier


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                           pilots and the remaining 50% will be allocated to the other
                           participating Frontier employee groups in proportion to their
                           contribution. The proportional share of the Flight Attendant group
                           is 18% of the 50% share of the non -pilot groups.


                          The Company will distribute all profit sharing payments no later
                          than April 30 of each year based on the audited results from the
                          preceding calendar year.

        C.       SNAPBACKS

                 1.       The overtime threshold, per diem and holiday pay will be
                           reinstated if the Company is profitable for two consecutive years
                           with pretax profits in excess of 5 %, after profit sharing.

                 2.       The Company's matching contribution to the 401K Plan will be
                          reinstated if the Company posts 2 straight years of pre -tax profits
                          in excess of 5 %, after profit sharing. The Company retains the
                          right to restore the Company's matching contribution partially or
                          fully in its discretion. Effective with the first paycheck in July 2016,
                          the Company's matching contribution to the 401k Plan will be
                          reinstated.

        D.       ADDITIONAL PROVISIONS

                 Equity Participation as set forth in Paragraph A above and participation in
                 the PSP as set forth in Paragraph B above, will be exclusively for Frontier
                 Flight Attendants on the Frontier Flight Attendant Seniority List as of
                 January 1, 2012. This exclusion includes anyone who changes Class and
                 Craft as outlined in Article 10 Seniority of this Agreement.




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                                             ARTICLE 25
                                              DURATION

        A.        This Agreement will become effective on the date of signing and will
                  continue in full force and effect until March 1, 2016 and will renew itself
                  without change until each succeeding March 1 thereafter unless written
                  notice of an intended change is served in accordance with Section 6, Title
                  1, of the Railway Labor Act, as amended, by either party hereto at least 30
                  days, but no more than 240 days, prior to March 1, 2016 or any March 1 of
                  any subsequent year.

        B.        Notwithstanding paragraph A. above, during the duration of this Agreement
                  should Frontier Airlines, Inc. earn more than a 5% annual pretax profit, after
                  payment of profit sharing payments, if any, for any two consecutive years,
                  then the Association may reopen this Agreement for the limited purpose of
                  negotiating over rates of pay, with the goal of achieving rates consistent
                  with peer group (LCC) Flight Attendants.

        C.        This Agreement shall be effective August 29, 2011 and shall remain in full
                  force and effect as outlined by the terms of this Article.

                  IN WITNESS WHEREOF, the undersigned parties have signed this
                  Agreement this         day of October, 2011.


             FOR ASSOCIATION OF FLIGHT
             ATTENDANTS - CWA, AFL -CIO                   FOR FRONTIER AIRLINES, INC.




             Veda Shook                                   Ron Henson
             International President                      Vice President - Labor Relations



             Erika Schweitzer                             Jacalyn Peter
             MEC President                                Sr. Manager of Labor Relations



             Darol Glasscock
             Negotiating Committee Member


             Theresa Owens
             Negotiating Committee Member


             Suzanne Balzer
             AFA-CWA Negotiator




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